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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &     FOR COURT USE ONLY
 Email Address
 Richard M. Pachulski (CA Bar No. 90073)
 Jeffrey W. Dulberg (CA Bar No. 181200)
 Malhar S. Pagay (CA Bar No. 189289)
 PACHULSKI STANG ZIEHL & JONES LLP
 10100 Santa Monica Boulevard, 13th Floor
 Los Angeles, CA 90067
 Telephone: 310/277-6910
 Facsimile: 310/201-0760
 Email: rpachulski@pszjlaw.com
        jdulberg@pszjlaw.com
        mpagay@pszjlaw.com

      Attorney for: Debtor

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                     CASE NO.: 2:19-bk-24804-VZ

 YUETING JIA,                                                               CHAPTER: 11

                                                    Debtor(s).
                                                                                      NOTICE OF OBJECTION TO CLAIM

                                                                            DATE: May 7, 2020
                                                                            TIME: 1:30 p.m.
                                                                            COURTROOM: 1368
                                                                            PLACE: 255 East Temple Street
                                                                                   Los Angeles, CA 90012


1. TO (specify claimant and claimant's counsel, if any):                    Beijing Huaxing Mobile Asset Mgt Center

2.   NOTICE IS HEREBY GIVEN that the undersigned has filed an objection to your Proof of Claim (Claim #27) filed in
     the above referenced case. The Objection to Claim seeks to alter your rights by disallowing, reducing or modifying the
     claim based upon the grounds set forth in the objection, a copy of which is attached hereto and served herewith.
3. Deadline for Opposition Papers: You must file and serve a response to the Objection to Claim not later than 14
   days prior to the hearing date set forth above.
     IF YOU FAIL TO TIMELY RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE
     RELIEF REQUESTED IN THE OBJECTION WITHOUT FURTHER NOTICE OR HEARING.

Date:     April 2, 2020                                                          PACHULSKI STANG ZIEHL & JONES LLP
                                                                                 Printed name of law firm

                                                                                 /s/ Malhar S. Pagay
                                                                                 Signature
Date Notice Mailed: April 2, 2020                                                Malhar S. Pagay
                                                                                 Printed name of attorney for objector




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2012                                                          Page 1                          F 3007-1.1.NOTICE.OBJ.CLAIM
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                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, CA 90067
                                                                   4   Telephone: 310/277-6910
                                                                   5   Facsimile: 310/201-0760
                                                                       Email: rpachulski@pszjlaw.com
                                                                   6            jdulberg@pszjlaw.com
                                                                                mpagay@pszjlaw.com
                                                                   7
                                                                       Attorneys for Debtor and Debtor in Possession
                                                                   8

                                                                   9                                   UNITED STATES BANKRUPTCY COURT
                                                                  10                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                  11
                                                                                                                  LOS ANGELES DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   In re:                                                  Case No.: 2:19-bk-24804-VZ
                                        LOS ANGELES, CALIFORNIA




                                                                  13   YUETING JIA,1
                                           ATTORNEYS AT LAW




                                                                                                                               Chapter 11
                                                                  14                                       Debtor.             DEBTOR’S NOTICE OF OMNIBUS
                                                                                                                               OBJECTION AND OMNIBUS OBJECTION
                                                                  15                                                           FOR AN ORDER DISALLOWING
                                                                                                                               DUPLICATE CLAIMS; MEMORANDUM OF
                                                                  16                                                           POINTS AND AUTHORITIES AND
                                                                                                                               DECLARATION OF LUETIAN SUN IN
                                                                  17                                                           SUPPORT THEREOF
                                                                  18                                                           This Objection Affects The Following Claimants:
                                                                                                                               Beijing Huaxing Mobile Asset Mgt Center, Claim 27
                                                                  19                                                           (Duplicate of Claim 20023)
                                                                                                                               Beijing Jiaxin Tengda Information Consulting Co.,
                                                                  20                                                           Ltd., Scheduled Claim 220000060 (Duplicate of Claim
                                                                                                                               20019)
                                                                  21                                                           China Soft Growing Invest Wuxi Partshp, Claim 61
                                                                                                                               (Duplicate of Claim 19)
                                                                  22                                                           Chongqing LeTV Commercial Factoring Co., Ltd.,
                                                                                                                               Claims 21 and 24 (Duplicates of Claim 20015)
                                                                  23                                                           E-Town Intl Holding (HK) Co Ltd., Claim 16
                                                                                                                               (Duplicate of Claim 20017)
                                                                  24                                                           Honghu Da, Claim 6 (Duplicate of Claim 20008)
                                                                                                                               Huizhou Speed Secondcurve Management LP, Claim
                                                                  25                                                           20002 (Duplicate of Claim 20001)
                                                                                                                               Jiangyin Hailan Invest. Holding Co. Ltd., Claim
                                                                  26                                                           20009 (Duplicate of Claim 7)
                                                                                                                               Linfen Investment Group Co., Ltd., Scheduled Claim
                                                                  27
                                                                       1
                                                                        The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is
                                                                  28   91 Marguerite Drive, Rancho Palos Verdes, CA 90275.


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                                                                   1                                                220000540 (Duplicate of Claim 30)
                                                                                                                    Nanchang O-Film Photoelectric Technology Co., Ltd,
                                                                   2                                                Claim 38 (Duplicate of Claim 33)
                                                                                                                    O-Film Global (HK) Trading Limited, Claim 34
                                                                   3                                                (Duplicate of Claim 33)
                                                                                                                    O-Film Global (HK) Trading Limited, Claim 37
                                                                   4                                                (Duplicate of Claim 33)
                                                                                                                    Pingan Bank Co Ltd Beijing Branch, Claim 20041
                                                                   5                                                (Duplicate of Claim 20036)
                                                                                                                    Shenzhen Yingda Capital Management Co.,
                                                                   6                                                Scheduled Claim 220000860 (Duplicate of Claim
                                                                                                                    20034)
                                                                   7                                                Tianjin Jairui Huixin Corp. Mgt LLC, Claim 42
                                                                                                                    (Duplicate of Claim 20027)
                                                                   8                                                Tianjin Jairui Huixin Corp. Mgt LLC, Claim 43
                                                                                                                    (Duplicate of Claim 20029)
                                                                   9                                                Tianjin Jairui Huixin Corp. Mgt LLC, Claim 44
                                                                                                                    (Duplicate of Claim 20030)
                                                                  10                                                Tianjin Jairui Huixin Corp. Mgt LLC, Claim 45
                                                                                                                    (Duplicate of Claim 20031)
                                                                  11                                                Tianjin Jairui Huixin Corp. Mgt LLC, Claim 46
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                    (Duplicate of Claim 20032)
                                                                  12                                                Tianjin Jairui Huixin Corp. Mgt LLC, Claim 47
                                                                                                                    (Duplicate of Claim 20039)
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                Tianjin Yingxin Xinheng Investment Consulting Co.,
                                           ATTORNEYS AT LAW




                                                                                                                    Ltd., Claim 28 (Duplicate of Claim 20020)
                                                                  14                                                Weihua Qiu, Scheduled, Claim 220000960 (Duplicate
                                                                                                                    of Claim 12)
                                                                  15                                                Weihua Qiu, Claim 39 (Duplicate of Claim 12)
                                                                                                                    Western Securities Co., Ltd., Claim 32 (Duplicate of
                                                                  16                                                Claim 20028)
                                                                                                                    Wuxi Leyike Investment Enterprise, Claim 20025
                                                                  17                                                (Duplicate of Claim 20007)
                                                                                                                    Xizang Jinmeihua Investment Co., Ltd., Scheduled
                                                                  18                                                Claim 220001030 (Duplicate of Claim 29)

                                                                  19                                                Date:        May 7, 2020
                                                                                                                    Time:        1:30 p.m.
                                                                  20                                                Place:       Courtroom 1368
                                                                                                                                 Roybal Federal Building
                                                                  21                                                             255 E. Temple Street
                                                                                                                                 Los Angeles, California 90012
                                                                  22
                                                                                                                    Judge:       Hon. Vincent P. Zurzolo
                                                                  23

                                                                  24          PLEASE TAKE NOTICE that, on May 7, 2020, beginning at 1:30 p.m. (Pacific Time), or
                                                                  25   as soon thereafter as counsel may be heard before the Hon. Vincent P. Zurzolo, in Courtroom 1368
                                                                  26   of the Edward R. Roybal Federal Building and Courthouse, located at 255 E. Temple Street, Los
                                                                  27   Angeles, California 90012, pursuant to the Order (I) Approving the Fourth Amended Disclosure
                                                                  28   Statement; (II) Approving the Voting Procedures and Tabulation Procedures; (III) Setting the Date

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                                                                   1   and Time for the Confirmation Hearing and Related Deadlines; (IV) Waiving Certain Local Rules

                                                                   2   and Procedures Related to the Timing and Approval of the Fourth Amended Disclosure Statement

                                                                   3   and Confirmation of the Third Amended Plan; and (V) Granting Related Relief [Docket No. 485]

                                                                   4   (the “Disclosure Statement Order”), which provides, in pertinent part, that if the Debtor has served

                                                                   5   an objection or request for estimation as to a claim by April 2, 2020, such claim shall be temporarily

                                                                   6   disallowed for voting purposes only (and not for purposes of allowance or distribution), except to the

                                                                   7   extent and in the manner as may be set forth in such objection or as ordered by the Court before the

                                                                   8   voting deadline, i.e., April 30, 2020 at 4:00 p.m. (Beijing Time),2 Yueting Jia (the “Debtor” or

                                                                   9   “YT”), debtor and debtor in possession herein, hereby objects to and moves to disallow (the

                                                                  10   “Objection”) the claims (the “Duplicate Claims”) listed below in the column entitled “Duplicate

                                                                  11   Claims to Be Disallowed” filed by the listed claimants (the “Claimants”) on the grounds that the
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                                                                  12   Duplicate Claims are identical to those claims listed in the column entitled “Surviving Claims.” The
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Debtor requests that the Court take judicial notice of both the Duplicate Claims to Be Disallowed
                                           ATTORNEYS AT LAW




                                                                  14   and the Surviving Claims, which are annexed as Exhibits 1-27 to the Request for Judicial Notice (the

                                                                  15   “RFJN), filed concurrently herewith.

                                                                  16                                      Duplicate
                                                                                                                                                                    Exhibit No. to
                                                                             Name of Claimant            Claim to be   Surviving Claim        Explanation
                                                                  17                                                                                                   RFJN
                                                                                                         Disallowed
                                                                  18        Beijing        Huaxing
                                                                            Mobile Asset Mgt                   27          20023         Duplicate Claim                  1
                                                                  19        Center
                                                                            Beijing Jiaxin Tengda                                        Creditor, Beijing Jiaxin         2
                                                                  20        Information                                                  Tengda Information
                                                                            Consulting Co., Ltd.                                         Consulting Co., Ltd.,
                                                                  21                                                                     also uses the name
                                                                                                                                         Jiaxindechuang BJ Tech
                                                                  22                                                                     Group Co Ltd. The
                                                                                                                                         Debtor scheduled
                                                                  23                                      220000060                      Beijing Jixain Tengda
                                                                                                          (scheduled       20019         Information Consulting
                                                                  24                                        claim)                       Co., Ltd. in the amount
                                                                                                                                         of $1,458,406.
                                                                  25                                                                     However, the creditor
                                                                                                                                         asserted the same debt
                                                                  26                                                                     using the name
                                                                                                                                         Jiaxindechuang BJ Tech
                                                                  27                                                                     Group Co Ltd. in filed
                                                                                                                                         claim number 20019 in
                                                                  28
                                                                       2
                                                                           Disclosure Statement Order, 6 at ¶ 17(e).

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                                                                   1                               Duplicate
                                                                                                                                                              Exhibit No. to
                                                                         Name of Claimant         Claim to be   Surviving Claim         Explanation
                                                                   2                                                                                             RFJN
                                                                                                  Disallowed
                                                                                                                                  the amount of
                                                                   3
                                                                                                                                  $1,975,674.74, and,
                                                                                                                                  consequently, has
                                                                   4
                                                                                                                                  received two separate
                                                                                                                                  ballots to vote a single
                                                                   5
                                                                                                                                  debt in connection with
                                                                                                                                  the Debtor’s Plan. The
                                                                   6
                                                                                                                                  filed proof of claim
                                                                                                                                  should supersede the
                                                                   7
                                                                                                                                  scheduled claim despite
                                                                                                                                  the difference in names.
                                                                   8

                                                                   9    China Soft Growing
                                                                                                      61              19          Duplicate Claim                   3
                                                                        Invest Wuxi Partshp
                                                                  10    Chongqing LeTv
                                                                        Commercial Factoring          21            20015         Duplicate Claim                   4
                                                                  11    LLC
                                                                        Chongqing LeTv
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                                                                  12    Commercial Factoring          24            20015         Duplicate Claim                   5
                                                                        LLC
                                        LOS ANGELES, CALIFORNIA




                                                                  13    E-Town Intl Holding                                                                         6
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                                                                                                      16            20017         Duplicate Claim
                                                                        (HK) Co Ltd
                                                                  14    Honghu Da                     6             20008         Duplicate Claim                   7
                                                                        Huizhou Speed                                                                               8
                                                                  15    Secondcurve                 20002           20001         Duplicate Claim
                                                                        Management LP,
                                                                  16    Jiangyin Hailan Invest                                    Creditor, Jiangyin                9
                                                                        Holding Co Ltd.                                           Hailan Invest Holding
                                                                  17                                                              Co. Ltd. filed Claim
                                                                                                                                  20009 in the amount of
                                                                  18                                                              $89,635,814.27,
                                                                                                                                  however, the back-up
                                                                                                    20009             7
                                                                  19                                                              attached to Claim 20009
                                                                                                                                  totals $69,635,814.27,
                                                                  20                                                              which amount is
                                                                                                                                  duplicative of Claim 7.
                                                                  21                                                              Therefore, Claim 20009
                                                                                                                                  should be disallowed.
                                                                  22    Linfen Investment                                         This creditor filed a            10
                                                                        Group Co. Ltd.                                            proof of claim for the
                                                                  23                                                              same debt under a
                                                                                                                                  similar but different
                                                                  24                                                              name (Linfen
                                                                                                                                  Investment Construction
                                                                  25                                                              Development Co. Ltd.)
                                                                                                  220000540           30
                                                                                                                                  and, consequently,
                                                                  26                                                              received ballots for both
                                                                                                                                  scheduled and filed
                                                                  27                                                              claims. The filed proof
                                                                                                                                  of claim should
                                                                  28                                                              supersede the scheduled
                                                                                                                                  claim and, with respect

                                                                                                                          4
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                                                                   1                              Duplicate
                                                                                                                                                             Exhibit No. to
                                                                         Name of Claimant        Claim to be   Surviving Claim        Explanation
                                                                   2                                                                                            RFJN
                                                                                                 Disallowed
                                                                                                                                 to the Plan, the amount
                                                                   3
                                                                                                                                 to be voted on account
                                                                                                                                 of the scheduled claim
                                                                   4
                                                                                                                                 should be disallowed.
                                                                   5
                                                                        Nanchang OFilm
                                                                   6    Photoelectric Tech Co        38              33              Duplicate Claim              11
                                                                        Ltd.
                                                                   7    O-Film Global (HK)                                           The creditor, in its         12
                                                                        Trading Limited                                            complaint against the
                                                                   8                                                             Debtor, describes it and
                                                                                                                                     Nanchang OFilm
                                                                   9                                                              Photoelectric Tech Co
                                                                                                                                 Ltd. as sister companies
                                                                  10                                                              and co-plaintiffs. The
                                                                                                     34              33
                                                                                                                                  lawsuit asserts a single
                                                                  11                                                             claim of $24,095,428.00
                                                                                                                                    against the Debtor.
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                                                                  12                                                               Accordingly, multiple
                                                                                                                                   claims asserted in the
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                                  same amount are
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                                                                                                                                        duplicative.
                                                                  14    O’Film Global (HK)
                                                                                                     37              33          Duplicate Claim                  13
                                                                        Trading Limited
                                                                  15    Pingan Bank Co Ltd                                                                        14
                                                                        Beijing Branch             20041           20036         Duplicate Claim
                                                                  16
                                                                        Shenzhen Yingda                                          This creditor                    15
                                                                  17    Capital Management                                       inadvertently received
                                                                        Co.                                                      ballots both for
                                                                  18                                                             scheduled and filed
                                                                                                                                 claims, so the amount to
                                                                                                 220000860         20034
                                                                  19                                                             be voted on account of
                                                                                                                                 the scheduled claim
                                                                  20                                                             should be disallowed.

                                                                  21
                                                                        Tianjin Jairui Huixin                                                                     16
                                                                                                     42            20027         Duplicate Claim
                                                                  22    Corp. Mgt LLC
                                                                        Tianjin Jairui Huixin                                                                     17
                                                                                                     43            20029         Duplicate Claim
                                                                  23    Corp. Mgt LLC
                                                                        Tianjin Jairui Huixin                                                                     18
                                                                                                     44            20030         Duplicate Claim
                                                                  24    Corp. Mgt LLC
                                                                        Tianjin Jairui Huixin                                                                     19
                                                                                                     45            20031         Duplicate Claim
                                                                  25    Corp. Mgt LLC
                                                                        Tianjin Jairui Huixin                                                                     20
                                                                                                     46            20032         Duplicate Claim
                                                                  26    Corp. Mgt LLC
                                                                        Tianjin Jairui Huixin                                                                     21
                                                                                                     47            20039         Duplicate Claim
                                                                  27    Corp. Mgt LLC
                                                                        Tianjin Yingxin                                                                           22
                                                                                                     28            20020         Duplicate Claim
                                                                  28    Xinheng Investment


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                                                                   1                               Duplicate
                                                                                                                                                              Exhibit No. to
                                                                          Name of Claimant        Claim to be   Surviving Claim          Explanation
                                                                   2                                                                                             RFJN
                                                                                                  Disallowed
                                                                         Consulting Co. Ltd.
                                                                   3
                                                                         Weihua Qiu                                                This creditor                    23
                                                                   4                                                               inadvertently received
                                                                                                                                   ballots both for
                                                                   5                              220000960                        scheduled and filed
                                                                                                  (scheduled           12          claims, so the amount to
                                                                   6                                claim)                         be voted on account of
                                                                                                                                   the scheduled claim
                                                                   7                                                               should be disallowed.

                                                                   8     Weihua Qiu                                                                                 24
                                                                                                      39               12          Duplicate claim

                                                                   9     Western Securities                                                                         25
                                                                         Co., Ltd.                    32             20028         Duplicate Claim
                                                                  10
                                                                         Wuxi Leyike                                                                                26
                                                                                                     20025           20007         Duplicate Claim
                                                                  11     Investment Enterprise
                                                                         Xizang Jinmeihua                                          In Chinese, Tibet is             27
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12     Investment Co., Ltd.                                      called Xizang. The
                                                                                                                                   creditor filed its claim
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                               using the name Tibet
                                           ATTORNEYS AT LAW




                                                                                                                                   Jinmeihua Investment
                                                                  14                                                               Co. Ltd. and,
                                                                                                  220001030                        consequently, has
                                                                  15                              (scheduled           29          received two separate
                                                                                                    claim)                         ballots to vote a single
                                                                  16                                                               debt in connection with
                                                                                                                                   the Debtor’s Plan. The
                                                                  17                                                               filed proof of claim
                                                                                                                                   should supersede the
                                                                  18                                                               scheduled claim despite
                                                                                                                                   the difference in names.
                                                                  19

                                                                  20          True and correct copies of the Claims are attached to the Notices of Objection to Claims,

                                                                  21   which have been served on each claimant, attaching their corresponding claim(s).

                                                                  22          PLEASE TAKE FURTHER NOTICE that the Objection has been served upon the

                                                                  23   Claimants and all parties entitled thereto and is based upon the supporting Memorandum of Points

                                                                  24   and Authorities and Declaration of Luetian Sun, the statements, arguments and representations of

                                                                  25   counsel who appear at the hearing regarding the Objection, the files and records in the above-

                                                                  26   captioned case, any evidence properly before the court prior to or at the hearing regarding the

                                                                  27   Objection and all matters of which the court may properly take judicial notice.

                                                                  28


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                                                                   1            PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-1(f),

                                                                   2   responses to the Objection must be filed with the Court and served upon the Debtor’s counsel at the

                                                                   3   address in the upper left-hand corner of this Objection no later than fourteen (14) days prior to

                                                                   4   the hearing date. Responses must contain a written statement of all reasons why the Objection is

                                                                   5   opposed and must include declarations and copies of all documentary evidence on which the

                                                                   6   responding party intends to rely. Responses must be filed either electronically or at the following

                                                                   7   location:

                                                                   8
                                                                                                           United States Bankruptcy Court
                                                                   9                                         Attention: Clerk’s Office
                                                                                                                255 E. Temple Street
                                                                  10                                          Los Angeles, CA 90012
                                                                  11            IF YOU DO NOT OPPOSE THE OBJECTION YOU DO NOT NEED TO FILE ANY
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                                                                  12   PAPERS, SIGN ANY FURTHER AGREEMENTS OR TAKE ANY FURTHER ACTION.
                                        LOS ANGELES, CALIFORNIA




                                                                  13            PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-1(f),
                                           ATTORNEYS AT LAW




                                                                  14   the failure to timely file and serve written opposition may be deemed by the Court to be consent to
                                                                  15   the granting of the relief requested in the Objection.
                                                                  16            PLEASE TAKE FURTHER NOTICE that if a response is timely filed and served upon the
                                                                  17   Debtor’s counsel, the Court, in its discretion, may treat the initial hearing as a status conference if it
                                                                  18   determines that the Objection involves disputed factual issues or will require presentation of
                                                                  19   substantial evidence or argument.
                                                                  20            WHEREFORE, the Debtor respectfully requests that the Court enter an order (i) sustaining
                                                                  21   the Objection; (ii) disallowing the Duplicate Claims in their entirety; and (iii) granting the Debtor
                                                                  22   such other and further relief as may appropriate under the circumstances.
                                                                  23
                                                                       Dated:      April 2, 2020                      PACHULSKI STANG ZIEHL & JONES LLP
                                                                  24

                                                                  25                                                  By        /s/ Malhar S. Pagay
                                                                                                                                Richard M. Pachulski
                                                                  26                                                            Jeffrey W. Dulberg
                                                                                                                                Malhar S. Pagay
                                                                  27
                                                                                                                                Counsel for Debtor and Debtor in
                                                                  28                                                            Possession

                                                                                                                            7
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                                                                   1                            MEMORANDUM OF POINTS AND AUTHORITIES

                                                                   2                                                      I.
                                                                   3                                             JURISDICTION
                                                                   4           This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 157 and 1334.

                                                                   5   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief

                                                                   6   sought herein are sections 102, 105 and 502(b) of title 11 of the United States Code, 11 U.S.C. §§

                                                                   7   101, et seq. (the “Bankruptcy Code”), and Rules 3007 and 3018(a) of the Federal Rules of

                                                                   8   Bankruptcy Procedure (the “Bankruptcy Rules”).

                                                                   9                                                     II.
                                                                  10                                             BACKGROUND
                                                                  11   A.      Commencement of the Chapter 11 Case
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                                                                  12           On October 14, 2019 (the “Petition Date”), the Debtor commenced this case (the “Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Case”) by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the
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                                                                  14   United States Bankruptcy Court for the District of Delaware (the “Delaware Bankruptcy Court”).

                                                                  15   The Debtor continues in possession of his property and manages his affairs as a debtor in possession

                                                                  16   pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                                                                  17           On October 25, 2019, the U.S. Trustee appointed the Official Committee of Unsecured

                                                                  18   Creditors pursuant to section 1102(a)(1) of the Bankruptcy Code (the “Committee”) [Docket No.

                                                                  19   45]. The Committee consists of the following members: (a) Ping An Bank., Ltd. Beijing Branch; (b)

                                                                  20   China Minsheng Trust Co., Ltd; (c) Shanghai Leyu Chuangye Investment Management Center LP;

                                                                  21   (d) Jiangyin Hailan Investment Holding Co., Ltd; and (e) Shanghai Qichengyueming Investment

                                                                  22   Partnership Enterprise.

                                                                  23           On November 13, 2019, the Court entered an order setting January 24, 2020, as the general

                                                                  24   deadline (the “Bar Date”) for the filing of proofs of claim or proofs of interest against the Debtor’s

                                                                  25   estate. In accordance with the Court’s Order establishing the Bar Date, notice of the Bar Date was

                                                                  26   given by mail to the Debtor’s creditors and interest holders.

                                                                  27           On December 18, 2019, Judge Karen B. Owens of the Delaware Bankruptcy Court

                                                                  28   transferred the Chapter 11 Case to this Court.


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                                                                   1   B.      Approval of the Debtor’s Disclosure Statement

                                                                   2           On March 20, 2020, the Court entered the Disclosure Statement Order, pursuant to which the

                                                                   3   Court approved the Debtor’s Fourth Amended Disclosure Statement with Respect to Debtor’s Third

                                                                   4   Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 465] in

                                                                   5   respect of the Debtor’s Third Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy

                                                                   6   Code [Docket No. 464] (the “Plan”), and granted other relief.

                                                                   7           The Disclosure Statement Order provides, in pertinent part, that if the Debtor has served an

                                                                   8   objection or request for estimation as to a claim by April 2, 2020, such claim shall be temporarily

                                                                   9   disallowed for voting purposes only and not for purposes of allowance or distribution, except to the

                                                                  10   extent and in the manner as may be set forth in such objection, or as ordered by the Court before the

                                                                  11   voting deadline, i.e., April 30, 2020 at 4:00 p.m. (Beijing Time). Disclosure Statement Order, 6 at
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                                                                  12   ¶ 17(e).
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                      III.
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                                                                  14                                                 ARGUMENT
                                                                  15   A.      Procedural Requirements for Objections to Claims
                                                                  16           Bankruptcy Rule 3007 governs the procedure for objections to claims. It provides as

                                                                  17   follows: “An objection to an allowance of a claim shall be in writing and filed. A copy of the

                                                                  18   objection with notice of the hearing thereon shall be mailed or otherwise delivered to the claimant

                                                                  19   . . . at least thirty days prior to the hearing.” Fed. R. Bankr. P. 3007.

                                                                  20           Pursuant to Bankruptcy Rule 3007, a copy of the Objection will be mailed to Claimants at the

                                                                  21   addresses provided by Claimants in the Claims, and, where available and if different from the

                                                                  22   address provided on the proof of claim, on each Claimant’s address registered with the National

                                                                  23   Enterprise Credit Information Publicity System (http://www.gsxt.gov.cn/index.html), a government-

                                                                  24   run, national, enterprise credit inquiry system in the People’s Republic of China, at least thirty days

                                                                  25   prior to the hearing date for consideration of the Objection. Accordingly, by the time of the hearing

                                                                  26   hereon, the Debtor will have complied with Bankruptcy Rule 3007.

                                                                  27

                                                                  28


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                                                                   1
                                                                       B.      The Court Must Determine the Allowance of a Claim Subject to Objection
                                                                   2
                                                                               With certain exceptions, section 502(b) of the Bankruptcy Code requires, in relevant part,
                                                                   3
                                                                       that if a party in interest objects to a claim, “the Court, after notice and a hearing, shall determine the
                                                                   4
                                                                       amount of such claim in lawful currency of the United States as of the date of the filing of the
                                                                   5
                                                                       petition, and shall allow such claim in such amount, except to the extent that -- (1) such claim is
                                                                   6
                                                                       unenforceable against the debtor and property of the debtor, under any agreement or applicable law
                                                                   7
                                                                       for a reason other than because such claim is contingent or unmatured ….”
                                                                   8
                                                                       C.      Burden of Proof
                                                                   9
                                                                               All allegations set forth in a properly filed proof of claim are taken as true and, if the
                                                                  10
                                                                       allegations set forth all facts necessary to establish a claim and are not self-contradictory, the proof
                                                                  11
                                                                       of claim constitutes prima facie evidence of the validity and amount of the claim. 11 U.S.C.
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                                                                  12
                                                                       § 502(a); Fed. R. Bankr. P. 3001(f). However, a claimant must attach copies of writings upon which
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                                                                  13
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                                                                       claims are based in order to carry its burden of establishing a prima facie case against the debtor.
                                                                  14
                                                                       Hardin v. Gianni (In re King Investments Inc.), 219 B.R. 848, 858 (B.A.P. 9th Cir. 1998). Further, a
                                                                  15
                                                                       claim should not be allowed if that claim is unenforceable against the debtor and property of the
                                                                  16
                                                                       debtor, under any agreement or applicable law. 11 U.S.C. § 502(b)(1).
                                                                  17
                                                                               Once the objector raises “facts tending to defeat the claim by probative force equal to that of
                                                                  18
                                                                       the allegations of the proofs of claim themselves,” Wright v. Holm (In re Holm), 931 F.2d 620, 623
                                                                  19
                                                                       (9th Cir. 1991), then “the burden reverts to the claimant to prove the validity of the claim by a
                                                                  20
                                                                       preponderance of the evidence.” Ashford v. Consolidated Pioneer Mortgage (In re Consolidated
                                                                  21
                                                                       Pioneer Mortgage), 178 B.R. 222, 226 (B.A.P. 9th Cir. 1995), aff’d, 91 F.3d 151 (9th Cir. 1996).
                                                                  22
                                                                       “[T]he ultimate burden of persuasion is always on the claimant.” Holm, 931 F.2d at 623. In
                                                                  23
                                                                       considering an objection to a claim, a bankruptcy court may take judicial notice of the underlying
                                                                  24
                                                                       records in a bankruptcy case. O’Rourke v. Seaboard Surety Co., (In re ER Fergert, Inc.), 887 F.2d
                                                                  25
                                                                       955, 957-958 (9th Cir. 1998).
                                                                  26
                                                                       D.      Disallowance for Plan Voting Purposes
                                                                  27
                                                                               Courts recognize that Bankruptcy Rule 3018(a) permits a party in interest to seek to disallow
                                                                  28
                                                                       a claim for voting purposes. Ultimately, the determination of whether to temporarily allow a claim

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                                                                   1   for voting purposes lies within the discretion of the bankruptcy court. See Armstrong v. Rushton (In

                                                                   2   re Armstrong), 294 B.R. 344, 354 (B.A.P. 10th Cir. 2003) (“There is no guidance in the Bankruptcy

                                                                   3   Code to courts as to determine whether to permit the temporary allowance of a claim; it is left to the

                                                                   4   court’s discretion.”). Indeed, courts have broad authority to determine whether to allow or disallow

                                                                   5   a claim for purposes of voting under Bankruptcy Rule 3018(a). See, e.g., In re Mangia Pizza Invs.,

                                                                   6   L.P., 480 B.R. 669, 679 (Banker. W.D. Tex. 2012); In re Zolner, 174 B.R. 629, 633 (Bankr. N.D. Ill.

                                                                   7   1994) (noting that a court must exercise its discretion to allow or disallow a claim under Bankruptcy

                                                                   8   Rule 3018(a) based on reasoned analysis); In re Goldstein, 114 B.R. 430, 433 (Bankr. E.D. Pa.

                                                                   9   1990); Collier on Bankr. ¶ 9-3018[5] (16th ed. rev. 2012) (“The court, however, regardless of the

                                                                  10   circumstances, has the discretion to allow or disallow all or part of the claim for voting purposes.”).

                                                                  11            In some cases noted in the chart below, the Debtor has been advised that a Claimant
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                                                                  12   inadvertently has been provided with multiple ballots to vote on the Debtor’s Plan on account of a
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                                                                  13   single debt. Where that has occurred, the Debtor has requested that the Court disallow one of those
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                                                                  14   Duplicate Claims for voting purposes.

                                                                  15   E.       The Objection and Request for Relief

                                                                  16            In most instances, the Duplicate Claim and the relevant Surviving Claim are the exact same

                                                                  17   claim in the same amount filed by the Claimant using the same name, and therefore the Duplicate

                                                                  18   Claim can be disallowed readily. The chart below provides further explanation for the request for

                                                                  19   disallowance where the claims may not be exact duplicates of one another, but fall within the

                                                                  20   Duplicate Claims category that is the subject of this Objection. For example, slight variations in the

                                                                  21   name or entity utilized by a Claimant to assert a debt against the Debtor or issues of translation from

                                                                  22   Chinese to English have required a more careful review to determine that two claims are, in fact, the

                                                                  23   same.

                                                                  24                                   Duplicate
                                                                                                                                                                 Exhibit No. to
                                                                            Name of Claimant          Claim to be   Surviving Claim         Explanation
                                                                  25                                                                                                RFJN
                                                                                                      Disallowed
                                                                  26        Beijing        Huaxing
                                                                            Mobile Asset Mgt              27            20023         Duplicate Claim                  1
                                                                  27        Center
                                                                            Beijing Jiaxin Tengda     220000060                       Creditor, Beijing Jiaxin         2
                                                                  28        Information               (scheduled        20019         Tengda Information
                                                                            Consulting Co., Ltd.        claim)                        Consulting Co., Ltd.,

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                                                                   1                                  Duplicate
                                                                                                                                                                Exhibit No. to
                                                                           Name of Claimant          Claim to be   Surviving Claim        Explanation
                                                                   2                                                                                               RFJN
                                                                                                     Disallowed
                                                                                                                                     also uses the name
                                                                   3
                                                                                                                                     Jiaxindechuang BJ Tech
                                                                                                                                     Group Co Ltd. The
                                                                   4
                                                                                                                                     Debtor scheduled
                                                                                                                                     Beijing Jixain Tengda
                                                                   5
                                                                                                                                     Information Consulting
                                                                                                                                     Co., Ltd. in the amount
                                                                   6
                                                                                                                                     of $1,458,406.
                                                                                                                                     However, the creditor
                                                                   7
                                                                                                                                     asserted the same debt
                                                                                                                                     using the name
                                                                   8
                                                                                                                                     Jiaxindechuang BJ Tech
                                                                                                                                     Group Co Ltd. in filed
                                                                   9
                                                                                                                                     claim number 20019 in
                                                                                                                                     the amount of
                                                                  10
                                                                                                                                     $1,975,674.74, and,
                                                                                                                                     consequently, has
                                                                  11
                                                                                                                                     received two separate
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                                                                                                                                     ballots to vote a single
                                                                  12
                                                                                                                                     debt in connection with
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                                                                                                                                     the Debtor’s Plan. The
                                                                  13
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                                                                                                                                     filed proof of claim
                                                                                                                                     should supersede the
                                                                  14
                                                                                                                                     scheduled claim despite
                                                                                                                                     the difference in names.
                                                                  15

                                                                  16      China Soft Growing
                                                                                                         61              19          Duplicate Claim                  3
                                                                          Invest Wuxi Partshp
                                                                  17      Chongqing LeTv
                                                                          Commercial Factoring           21            20015         Duplicate Claim                  4
                                                                  18      LLC
                                                                          Chongqing LeTv
                                                                  19      Commercial Factoring           24            20015         Duplicate Claim                  5
                                                                          LLC
                                                                  20      E-Town Intl Holding                                                                         6
                                                                                                         16            20017         Duplicate Claim
                                                                          (HK) Co Ltd
                                                                  21      Honghu Da                      6             20008         Duplicate Claim                  7
                                                                          Huizhou Speed                                                                               8
                                                                  22      Secondcurve                  20002           20001         Duplicate Claim
                                                                          Management LP,
                                                                  23      Jiangyin Hailan Invest                                     Creditor, Jiangyin               9
                                                                          Holding Co Ltd.                                            Hailan Invest Holding
                                                                  24                                                                 Co. Ltd. filed Claim
                                                                                                                                     20009 in the amount of
                                                                  25                                                                 $89,635,814.27,
                                                                                                                                     however, the back-up
                                                                                                       20009             7
                                                                  26                                                                 attached to Claim 20009
                                                                                                                                     totals $69,635,814.27,
                                                                  27                                                                 which amount is
                                                                                                                                     duplicative of Claim 7.
                                                                  28                                                                 Therefore, Claim 20009
                                                                                                                                     should be disallowed.

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                                                                   1                                  Duplicate
                                                                                                                                                                 Exhibit No. to
                                                                           Name of Claimant          Claim to be   Surviving Claim         Explanation
                                                                   2                                                                                                RFJN
                                                                                                     Disallowed
                                                                          Linfen Investment                                          This creditor filed a            10
                                                                   3
                                                                          Group Co. Ltd.                                             proof of claim for the
                                                                                                                                     same debt under a
                                                                   4
                                                                                                                                     similar but different
                                                                                                                                     name (Linfen
                                                                   5
                                                                                                                                     Investment Construction
                                                                                                                                     Development Co. Ltd.)
                                                                   6
                                                                                                                                     and, consequently,
                                                                                                                                     received ballots for both
                                                                   7
                                                                                                     220000540           30          scheduled and filed
                                                                                                                                     claims. The filed proof
                                                                   8
                                                                                                                                     of claim should
                                                                                                                                     supersede the scheduled
                                                                   9
                                                                                                                                     claim and, with respect
                                                                                                                                     to the Plan, the amount
                                                                  10
                                                                                                                                     to be voted on account
                                                                                                                                     of the scheduled claim
                                                                  11
                                                                                                                                     should be disallowed.
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                                                                  12
                                                                          Nanchang OFilm
                                        LOS ANGELES, CALIFORNIA




                                                                  13      Photoelectric Tech Co          38              33              Duplicate Claim              11
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                                                                          Ltd.
                                                                  14      O-Film Global (HK)                                             The creditor, in its         12
                                                                          Trading Limited                                              complaint against the
                                                                  15                                                                 Debtor, describes it and
                                                                                                                                         Nanchang OFilm
                                                                  16                                                                  Photoelectric Tech Co
                                                                                                                                     Ltd. as sister companies
                                                                  17                                                                  and co-plaintiffs. The
                                                                                                         34              33
                                                                                                                                      lawsuit asserts a single
                                                                  18                                                                 claim of $24,095,428.00
                                                                                                                                        against the Debtor.
                                                                  19                                                                   Accordingly, multiple
                                                                                                                                       claims asserted in the
                                                                  20                                                                      same amount are
                                                                                                                                            duplicative.
                                                                  21      O’Film Global (HK)
                                                                                                         37              33          Duplicate Claim                  13
                                                                          Trading Limited
                                                                  22      Pingan Bank Co Ltd                                                                          14
                                                                          Beijing Branch               20041           20036         Duplicate Claim
                                                                  23
                                                                          Shenzhen Yingda                                            This creditor                    15
                                                                  24      Capital Management                                         inadvertently received
                                                                          Co.                                                        ballots both for
                                                                  25                                                                 scheduled and filed
                                                                                                                                     claims, so the amount to
                                                                                                     220000860         20034
                                                                  26                                                                 be voted on account of
                                                                                                                                     the scheduled claim
                                                                  27                                                                 should be disallowed.

                                                                  28
                                                                          Tianjin Jairui Huixin          42            20027         Duplicate Claim                  16

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                                                                   1                                  Duplicate
                                                                                                                                                                Exhibit No. to
                                                                           Name of Claimant          Claim to be   Surviving Claim        Explanation
                                                                   2                                                                                               RFJN
                                                                                                     Disallowed
                                                                          Corp. Mgt LLC
                                                                   3
                                                                          Tianjin Jairui Huixin                                                                      17
                                                                                                         43            20029         Duplicate Claim
                                                                   4      Corp. Mgt LLC
                                                                          Tianjin Jairui Huixin                                                                      18
                                                                                                         44            20030         Duplicate Claim
                                                                   5      Corp. Mgt LLC
                                                                          Tianjin Jairui Huixin                                                                      19
                                                                                                         45            20031         Duplicate Claim
                                                                   6      Corp. Mgt LLC
                                                                          Tianjin Jairui Huixin                                                                      20
                                                                                                         46            20032         Duplicate Claim
                                                                   7      Corp. Mgt LLC
                                                                          Tianjin Jairui Huixin                                                                      21
                                                                                                         47            20039         Duplicate Claim
                                                                   8      Corp. Mgt LLC
                                                                          Tianjin Yingxin                                                                            22
                                                                   9      Xinheng Investment             28            20020         Duplicate Claim
                                                                          Consulting Co. Ltd.
                                                                  10      Weihua Qiu                                                 This creditor                   23
                                                                                                                                     inadvertently received
                                                                  11                                                                 ballots both for
                                                                                                     220000960                       scheduled and filed
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                                                                  12                                 (scheduled          12          claims, so the amount to
                                                                                                       claim)                        be voted on account of
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                                 the scheduled claim
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                                                                                                                                     should be disallowed.
                                                                  14
                                                                          Weihua Qiu                                                                                 24
                                                                                                         39              12          Duplicate claim
                                                                  15
                                                                          Western Securities                                                                         25
                                                                  16      Co., Ltd.                      32            20028         Duplicate Claim

                                                                  17      Wuxi Leyike
                                                                                                       20025           20007         Duplicate Claim
                                                                                                                                                                     26
                                                                          Investment Enterprise
                                                                  18      Xizang Jinmeihua                                           In Chinese, Tibet is            27
                                                                          Investment Co., Ltd.                                       called Xizang. The
                                                                  19                                                                 creditor filed its claim
                                                                                                                                     using the name Tibet
                                                                  20                                                                 Jinmeihua Investment
                                                                                                                                     Co. Ltd. and,
                                                                  21                                 220001030                       consequently, has
                                                                                                     (scheduled          29          received two separate
                                                                  22                                   claim)                        ballots to vote a single
                                                                                                                                     debt in connection with
                                                                  23                                                                 the Debtor’s Plan. The
                                                                                                                                     filed proof of claim
                                                                  24                                                                 should supersede the
                                                                                                                                     scheduled claim despite
                                                                  25                                                                 the difference in names.

                                                                  26

                                                                  27           By this Objection, the Debtor simply seeks to have disallowed the Duplicate Claims leaving

                                                                  28   the Surviving Claims unaffected by this Objection.


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                                                                   1                                                     IV.

                                                                   2                                 GENERAL RESERVATION OF RIGHTS

                                                                   3            The Debtor expressly reserves the right to amend, modify or supplement this Objection, and

                                                                   4   to file additional, other, or further objections to any proofs of claim filed in this Chapter 11 Case,

                                                                   5   including, without limitation, objections as to the amounts asserted therein, or any other claims (filed

                                                                   6   or not) against the Debtor, regardless of whether such claims are subject to this Objection. Should

                                                                   7   one or more of the grounds of objection stated in this Objection be denied, the Debtor reserves his

                                                                   8   rights to object on other stated grounds or on any other grounds he discovers during the pendency of

                                                                   9   this Chapter 11 Case. In addition, the Debtor reserves the right to file counterclaims against the

                                                                  10   holders of any such claims.

                                                                  11                                                      V.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                   NOTICE
                                        LOS ANGELES, CALIFORNIA




                                                                  13            The Debtor will serve copies of this Objection on: (a) the Claimants, (b) the Office of the
                                           ATTORNEYS AT LAW




                                                                  14   United States Trustee, (c) counsel to the Committee, and (d) all parties who have requested notices

                                                                  15   in this Chapter 11 Case pursuant to Bankruptcy Rule 2002.

                                                                  16                                                     VI.

                                                                  17                                               CONCLUSION

                                                                  18            WHEREFORE, the Debtor respectfully requests that the Court enter an order granting the

                                                                  19   relief requested herein and granting the Debtor such other and further relief as is just and proper.

                                                                  20   Dated:               2020
                                                                                    April __,                         PACHULSKI STANG ZIEHL & JONES LLP

                                                                  21

                                                                  22                                                  /s/ Malhar S. Pagay
                                                                                                                      Richard M. Pachulski
                                                                  23                                                  Jeffrey W. Dulberg
                                                                                                                      Malhar S. Pagay
                                                                  24
                                                                                                                      Attorneys for Debtor and Debtor in Possession
                                                                  25

                                                                  26

                                                                  27

                                                                  28


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                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): DEBTOR’S NOTICE OF OMNIBUS
 OBJECTION AND OMNIBUS OBJECTION FOR AN ORDER DISALLOWING DUPLICATE
 CLAIMS; MEMORANDUM OF POINTS AND AUTHORITIES AND DECLARATION OF LUETIAN
 SUN IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner
 required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 April 2, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) April 2, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.

 United States Bankruptcy Court
 Central District of California
 Attn: Hon. Vincent Zurzolo
 Edward R. Roybal Federal Bldg./Courthouse
 255 East Temple Street, Suite 1360
 Los Angeles, CA 90012
                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___________, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 2, 2020      Nancy H. Brown                                                            /s/ Nancy H. Brown
 Date                      Printed Name                                                       Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

    x    Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
    x    Jerrold L Bregman ecf@bg.law, jbregman@bg.law
    x    Jeffrey W Dulberg jdulberg@pszjlaw.com
    x    Lei Lei Wang Ekvall lekvall@swelawfirm.com,
         lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
    x    Stephen D Finestone sfinestone@fhlawllp.com
    x    Richard H Golubow rgolubow@wghlawyers.com,
         pj@wcghlaw.com;jmartinez@wghlawyers.com;Meir@virtualparalegalservices.com
    x    Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
    x    Ben H Logan blogan@omm.com
    x    Robert S Marticello Rmarticello@swelawfirm.com,
         gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
    x    David W. Meadows david@davidwmeadowslaw.com
    x    John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
    x    Kelly L Morrison kelly.l.morrison@usdoj.gov
    x    Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
    x    Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
    x    Victor A Sahn vsahn@sulmeyerlaw.com,
         pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;cblair@ecf
         .inforuptcy.com;dlee@metallawgroup.com;dlee@ecf.inforuptcy.com
    x    Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
    x    Benjamin Taylor btaylor@taylorlawfirmpc.com
    x    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    x    Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
    x    Claire K Wu ckwu@sulmeyerlaw.com,
         mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
    x    Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
    x    David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                            F 9013-3.1.PROOF.SERVICE
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  United States Bankruptcy Court for the Central District Of California - Los Angeles Division

                                                                                                                                             For Court Use Only
   Name of Debtor: Yu0ti11g Jia
                                                                                                                                             Claim Number:
                                                                                                                                                              Filed: USBC • Central District of California



                                                                                                                                                             r~~~Jv~~
                           19-24804                                                                                                          FIie Date:
   Case Number:

                                                                                                                                                                               1101
  Proof of Claim                          (Official Form 410)
                                                                                                                                                                                      1111111111111111111111111
                                                                                                                                                                                                 0000000027

  Read the instructions before filling out this form. This form ls for making a claim for payment in a bankruptcy case. With the exception of 503(bl{9),
  do not use this form to make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
  Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copie5 of any
  documents that support the claim, such as promissory note,, purchase orders, Invoices, itemized statements of running accounts, contracts, judgments
  mortgages, and security agreement5. Do not send orlglnal documents; they may be destroyed ,lfter scanning. If the documents are not available,
  e)(plain in an attachment
  A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to S years, or both. 18 U.S.C. §§ 152,157, and 3571.
  Fill in all the information about the claim as of the date the case was filed. That date Is on the notice of      ptcy (Form 309) that you received.




                                                                                                                                                                                                        04/19




               Identify the Claim

I 1.  Who is the current creditor?
1 Name of the current creditor {the person or er1tlty to be paid for this claim):


 Other names the creditor u;ed with the debtor: --------·----


  z.      Has this claim been acquired from someone else?



  3.      Where should notices and payments to the credit                                       le of Bankruptcy Proct•dur-e (FRBP) 2002(g)

 Where should notices to the creditor be sent?                                                         Where should payments to the creditor be sent? (If different)

                 BEI.IING HUAXING MOBIU                                                                Name
                                                                                                                                              --------·--·-=~""""' · - - - - -
  Address
                No-1077, m:nrnsourns·                                                                  Address
                GAOBEJDIAN

                CIIAOY/\NG DISTRICT
               ------------------
                 BEIJING
  City                                                                                                 City

  State                                                                                                State                                                      ZIP Code _ _ _ _ _,,,,,,•._,.._____

  Country (ii International):     _c_Tr_rN_-' - ' - - - - - · - · - - · - - · - - - - · - - - - -      Country (if International):
                 •008613810354868
  Phone:                                                                                               Phone:
                21 ll61 I O@qq.1:0111
  Email:                                                                                               Email:


  4, Does this clalm amend one already flied?                                                          s. Do you know If anyone else has filed a proof of claim for this claim?
  [ill No                                                                                              ti7.! No

  0    Ves,                                                                                            D Yes,
       Claim number on court claims register (if known) · · - - - - · - - - - -                            Who made the earlier filing?

       Filed on _--··-..-------
                                  --MM I DD/ YYY'Y
                                                                                                               .....,,,. ,,,,,...._,.,.,.,   ____
                                                                                                    Page 1 of3
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                                                                             the Date the Case Was Filed
     6. Oo you have Jny numb;;r you u,e to                                                                                       8. What Is the basis of the claim?
                                                               7. How much is the d,1im?
           identify the debtor?                                   ">N }~Hi J ")J ,.;3                      unliquida,.:,d
                                                                s.2:: · -·_·_·____                                              Exarnpte~: Gt.1(1ds sold, rnoney loaned/ la,ast1 1 sorvlce!i
     [] No
                                                                                                                                personal injury or wronghil death, or credit card. Attach
     yl' Yes.                                                 Dcms this amount include in!orest or othN
                                                                                                                                 eoph?~ of any donm·1ents supprn ting the dalrn rPQtdred
     Lt1st 4 digits. nf the debtor'1 acccun tor any                                                                             Rule 3001{c). Um!t disclosing information tl111i ,s !'n titiod
                                                              charges?
     r1umber you use to identify the dr!btor;                                                                                    ,t1ch as h0,1llh ca,·" information.
                                                              [] No
                                                                                                                                 Comn1c1/Excctaory Comrn,t
                                                              GJ{ Vr1s.    Attach 1tatetnent it•1n-1fiing: 1ntere~t, fol~Si
                                                                           e~penses, or other                         by



     9. Is all or part of the daim secured?                                                                                                     11. is this daim subject to a right of setoff?



     [] Ye5,      Tht:: dam1 l::i se<:lJred by a Hen on property.
     Nature of properly:

     [J    Rmil r,it,Hc. If thn claim ic, ,ecurmJ bv the debtor\ principal
     ies!dence, tife a tWortgage ProojofC:laim Attochment {offa:i3I r-orm
     410-.1-1) with tfm !'roofo{Cloim.

     [] Motor vehlde                                                                                                                                                   A clmm may be par Uy priority and
                                                                                                                                                                       partly non priority. For ~Y.an1ple, in
     ['1   O!h;er [lPsrrib<!:                                                                                                                                          some Gttegorles 1 me law limit~ thre1
                                                                                                                                                                       amount entitled to priority.

t Basis for perfecti,m:                                                                                                                                                Amount entitled to priority

                                                                                                                                                                       $, _ _ _ _ _ __
IIAtti!ch rNiacted copier; of dncurnents, if           ;m~:       that shnw evidence of
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· certitkatt" o1 Utic, 1lnancing r.itatorn~nt, or ottrnr doc;.HTH:~nl lh.Jt                  [I Up to $3,025' otu.tposit, toward purcha1<!, lea,<!, c,r
  shows the tien has been filed or recorded.)                                               rental of pr        .;;e'r',fl;;(i:. for per,onal, family, or
     Value of property:                                                                                       lh~:c. l507{a)(7).
                                                                                                                                                                       $ _ _ _ _ _ _ __
     Amount of the dalm that I; s,;cured:

     Amount of the claim that is unsecured:$-··------
                                                                                                                                                                       $ _ _ _ _ _ __
     {Tlu.1 ~um of the st-cured and unsecured arnounts should rnatch the
     ;,mount in line 7.1                                                                              ;.s. or penn;WP~• owed   t(}   governmentol unit,: .
                                                                                                    .C. § "!J7{;i)(ll).                                                $_____
     Amount necessary to cure any
     default as of the date of the petition:            $                                                                                            11   u.s.c. §
                                                                                                                                                                       $_ _ _ _ _ __
     Annual lnMrnst Raw (wlwn C'l,C war. tiled)
                                                                                                           Specify sub•.,ection of 11 USC§ 507 (;,)
                                                                                  ...J that app!les.
                                                                      ' AMo,mts are ,ubje:r,t to ;;djustrn1.mt "" 4/0l/l2and ev~ry l yPa« after that for cases l1egu11 nn
                                                                      or after the date of adjustment._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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     13. Does !hi, ch,im qualify as an Admi11lstrativ1, E>pense umfor 1l U.S.C. § 503(b){9)?
     lil'f Nn
     [] v,:s. Amount Urnt qu~li!ies a,         ,111   Adrninlstrnlive El\pensc undnr 11 U.S.C.        § S03(b)(9J: $ ___________________ .. _____ .. ___ _




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             Sign Below
The person completing       Check the appropriate liox:
this proof of claim must    r/ I arn the creditor.
sign and date It. FRSP      0   I am the creditor's attorney or authorized agent.
9011(b).
                            0   I an, the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim      0 I am a guarantor, surety, endorser, or other co-debtor. Bankruptcy Rule 300S.
electronically, FRBP
5005(a)(2) authorizes       I understand that an authorized signature on this ProofofClaim serves as an acknowledgment that when calculating the ,1mount of the daim,
courts to establish local   the creditor gave the ckibtor credit for any payments received toward the debt.
rules specifying what a     I have examined the information in this ProofafC/e1im and have a reasonable belief that the information is true and correct.
signature is.
                            I declare under p,malty of per jury that the foregoing is true and correct,
A person who files a
fraudulent claim could
be fined up to $500,000,
                            Signature                                                                       Date
Imprisoned for up to S
years, or both. 18 U.S.C.   Provide the name and contact Information of the person completing and signing th!s elaim:
§§ 152,157, and 3571.
                                        Xin Wang
                            Narnc

                            Address No. I 077. Ir uihc South Strcc,t

                                      Gao bcidian

                                        Chaoyang District

                                        Beijing
                            City

                            State
                                                        Chin··,
                            Country (in international) __· _·_ _ __

                            Phone     ~-~'.~~-''.1__:81 o_J_5_48_6_8_______
                            Email




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                                               Proofs of Claim List



               Lmrn Contract· English Translation



              Supplementary Agreement· English Translation



              Commitment Letter- English Translation

         4.   t\tri"t::X-;!:xfU f)J,t5( <Investor Rights Agreement) - i~Yf Jt (In English Only)
         s.   rhtOtliE- 1.p;t
              Certificate ofTe!egrnphic Transfer- English Translation



              Bank Electronic Receipt- English Trnns!ntion
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                                    Statement of Proofs of Claim

              The loan amount is RMB I 00 million Yuan, and the Interest on borrowings

             is 15% per year, the loan period is three years, sta1iing from the date when

             the borrowing is actually received and ending at the expiration of the three~

             year period. In addition, ff the Leview Mobile & Intelligent Information

             Technology (Beijing) Co., Ltd. (hereinafter referred to as the "target

             company*') does not repay the loan after the due date, the lender has the

             right to recover the loan. And according to bank regulations, a five over

            ten thousand penalty fee will be charged per day.

            On June 17, 2015, Beijing Huaxing Mobile Asset Management Center

            (LLP) transferred the first part of loan to the target company. On October

            15, 2015, Beijing Huaxing Mobile Asset Management Center (LLP)

            transferred the second part ofloan to the target company, Later, the target

            company was unable to repay the debts when the loan was due. According

           to the attached Co_mmitment Letter, Leshi Holding (Beijing) Co Ltd.,

           promises and guarantees that if the target company fails to fully fulfill its

           repayment obligations in accordance with the agreement in the transaction

           document, Leshi Holding (Beijing) Co Ltd. will assume the repayment

           obligation to Beijing Huaxing Mobile Asset Management Center (Limited

           Partnership) and its affiliated companies in accordance with the relevant

           agreements in the transaction documents.

          We hereby, pursuant to the below attached four contracts and two proofs,
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           propose the claim for the debt. The total claim amount is RMB i 93 million

           Ym:m, including the principal RMB l 00 million Yuan, the three year's

           interest RMB 45 million Yuan, the overdue interest RMB 22 million yuan,

           the overdue penalty foe          27 million yuan. The claim amount is

                                      US dollars at the exchange rate of $1 equivalent
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                                                  Loan
            Lender: BEIJING HUAXING MOBILE ASSET MANAGEMENT CENTER (LLP)
            Borrower: LEVIEW MOBILE & INTERLUGENT INFORMATION TECHNOLOGY
            (BEIJING) CO., LTD.,


           In order to carry out business activities, the borrower applies for a loan from the lender.
           Atter consultation between the two parties, the contract is hereby concluded for mutual

           compliance.
           l. Type of Lmm: RMB
           IL The purpose of borrowing: required for business
           Ill. The amount of the loan is RMU !00 million yuan (lOO, 000, 000 yuan).
           IV. Interest on bonowings is 15% per year

           V. Borrowing and repayment period: The borrowing period is three years, starting from
           M:iv 29. 2015 and ending on Mnv '.N. 201lt

           VI. Repayment Method: Cash
           VIL The lender remits the Imm to the following bank accounts of the borrower:
               Account name;
               Account number:
               Account bank:
           VIII. Guarantee Clause

           1. The borrower must use the Imm for the purpose specified in the loan contract. They
               shall not be diverted for other purposes and not be used for illegal activities.
          2.    The borro,vcr must pay the principal and interest within the time limit stipulated in !he

                contract

          3.    The borrower ls obliged to accept the inspection of the lender, supervise the use of the

                loan, 1.mderstanc!ing tht~ borrower's plan cxccution 1 business management, fimrnciai
                activities, material inventory, etc. The borrower shall provide relevant plans, stutistics,
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 l                financial accounting statements and information.
              4. Lcshi Holding (Beijing) Co Ltd. and its actual controller, Jia Yucting, provide joint


 I                 guarantees for repayment responsibilities.
              IX. Liability For Breach of Contract

 II           1. If the borrower does not repay the loan afier the due date, the lender has the right to
                  recover the loan. And according to bank regulations, a five over ten thousand penalty
 i
 •                foe will be charged per day,
             2. The lender foils to provide the loan on schedule. They shall pay the borrower a penalty
                 fee based on the amount of default and the number of days of extension. The
                 calculation of the amount of liquidated damages shall be the same as the calculation
                 of penalties added to the borrower.
             X. Dispute Settlement: Disputes arising from the execution of this contract shall be
                 resolved through consultation between the parties. If the negotiation fails, the two
                parties agree that The People's Court which has jurisdiction over the place where the
                lender is located.
            XI. Others
             I. In this contract, no party may alter or terminate the contract without authoriz.ation,
                except a result of force majcure. If either party meets force majcure, they shall promptly
                notify the other parties in writing and providing proof.
            2. This contract can be changed or cancelled after mutual agreement. If the contract is
                terminated, the borrower's occupied loans and interest payable shall still be repaid in
                accordance with the provisions ofthis contract.
            3. The lender has the right to transfer the creditor's rights of this agreement to its related
               parties during the borrowing period. The borrower hereby promises and is aware of the
               above transfer. The transfer of the creditor's rights do not affect the borrower's
               continued performance of its obligations under this agreement.
            4. Jfthere are unfinished matters in this contract, supplementary provisions shall be made
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               through mutual negotiation between the parties to the contract. The supplementary
               provisions have the same effect as this contract.
            5. The original of this contract is made in duplicate, each of the lender and the borrower
               shall hold one copy.


           Lender (stamp) : BEIJING HUAXING MOBILE ASSET MANAGEMENT CENTER
           (LLP)

           Signature of the legal representative or authorized representative (Signature):




           Borrower (stamp) : LEVIEW MOBILE & INTERLLIGENT INFORMATION
           TECHNOLOGY (BEIJING) CO.,           r:m.,
           Signature of the legal repl'esentative or authorized representative (Signatnre):




                                                              Signing date: May 28, 2015
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                            & INTERLLIGENT INFORMATION
                                  (BEIJING) CO.,lTD.

                                          AND

                             MOBILE             MANAGEMENT        (LLP)

                                    the




                                 HEMING, CHINA
                                           2015
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                                            Supplementary Agreement
           This Supplemental Agreement to the <Loan Contract> (hereinafter referred to as the
           "Agreement,") was signed by the following parties in Beijing on June 9, 2015:
           First Party: LEVIEW MOBILE & INTERLLIGENT INFORMATION TECHNOLOGY
           (DEi.JING) CO.,LTD.
           Address: 16th floor of Lcshi Building, I05 Yaojia Yuan Road, Chaoyang District, Beijing.
           Legal representative: Jia Yuemin


          Second Party: BEi.JING HUAXING MOIULE ASSET MANAGEMENT CENTER (LLP)
          Address: Room 707, 7th Floor, No. 8 Yongan East Lane, Jianguo men wai Road, Beijing.
          Person in charge: Ge Jiusong


          Given these situations:
          l. The parties have signed the <Loan Contract> ("original agreement") in Beijing on May 18,
          2015. The agreement has taken effect and all parties are performing according to the agreement.
          2. Article S of the original agreement stipulated that "the borrowing period is three years, starting
          from May 29, 2015 and ending on May 29, 2018." However, as the lender, second party has not
          yet been issued for some reason as of the date of this agreement The payment of the loan
          substantially affected the starting date of the interest on the loan, and the two parties agreed to     r,ffi
          modify the fonnulation of the clause.                                                                   r

          Therefore, the following clauses arc formulated for mutual compliance:


          Article l Modify Content
          The parties agreed to change the original agreement in article 5 oflhe following contents:
          "The borrowing period is three years, starting from May 29, 2015 and ending on May 29, 2018."
          into:
          "The borrowing period is three years, starting from the date when the borrowing is actually
          received and ending at the expiration of the three-year period (if otherwise agreed by other
          tramaction agreements, such agreement shall prevail),
          Article 2 Other Terms Modified
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         All parties ,:onfirmed that, with the exception of the amendment to Article 5, other provisions of
         the original agreement remained unchanged.
         Article .3 Other Matters of'This Agreement
         3.1 Each party understands and agrees that the parties have made contacted, negotiated, negotiated,
        drafted, modified, signed, executed, executed !he contract / agreement, the terms and conditions
        of any contrncl I agreement, and pmvidcd to the other party any information related to thi:;
        transaction in this agreement Without the prior consent ofthc other party, neither party can make
        it public or disclose to any third party. ff disclosure is required by laws, regulations, stock exchange
        mies, or mandated by a government authority, the disclosing pmty shall (within its ability and
        pem1ittcd by relevant laws or requirements), vvithin a reasonable time before making such
        disclosure, communicate with others The parties nego!ial.,~ and do thdr best (in coopcmtion with
        the other party) to ()btain confidentiality of the disclosed information. The obligation of
        confidentiality stipulated in this article does not affect its legal binding force due to any
        circumstances such as the performance, termination, release or invalidation or non-enforcement of
        ibis agreement, and it is pcrm1:ir1c11tly valid.
        3.2 If the original agreement docs not agree with this agreement, it shall be implemented in
        accordance with this agreement: if there is no agreement in this agreement, it shall still be
        implemented in accordance with the original agreement.
        3.3 This agreement takes effect after being signed or stamped by authorized representatives of
        each party, in duplicate, each party retains one, each of this agreement !ms the same legal be,~


        (No text below this line)


        First Party: LEVIEW Mrnnu: & lNTfmLUGENT INFORMATION TECHNO
        (lJEUING) CO.,LTD. (STAMP)
        Signer:
        Position;
        Second                                              ASSin MANAGEMENT CENTER (LLP)


        Signer:
        Position:
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             HEI.HNG !WAXJNG

             l.£Vmvv MOIHLE & INTELlJGENT l:\fFORMATlON TE(:HNOLOGY
                                 (HEU ING)       LTD.,

                               LEVmw MOBIL1,: L

                                      LE LTD.,

                                         and

                                    YUETING ,HA




                                  DHfod May 18, 2!H 5
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         I NV ESTO~ RIGHTS AGREEJVIEN'f (this "Ag.rcL·m.::nt") maJc on May . 1015,
         AMONG:

         ( l)       LEVrnW MOUff,E            INTELUGENT INFORMATION TECHNOLOGY
                    omI.HNG) CO., LTD. (Jf-:p,4_\;fi;z/11¥fl~ta.ID.t.k:h:: U~JjO      !Sli1}h'J), a
                   company organized ,md existing under the Jaws of China ,vith ifs n:giswnxl
                   office at No. 2. Linkong ErJu, Wcn!maying C'.mmtry, Gaoliying Tmvn, Shunyi
                   District, Beijing, PRC (tht:· "l1\J!IQ1.Y~();

         (2)       LEVH(\V                        nn cxt:mptL·d company incorpcm.ill:J and existing
                   under the ln\vs or !he Cayman Island\ with ib <.'omp,tny numh1;:r l')<iJ 1Sand
                   rcgJst,;;red dlicc at Scrtus Chambers, P.O. Box 2547, Cassia Court. Carnmm
                   Bay. Grand Caymnn. Caynrnn hl:u1ds (the "5,:.mumm.x'');

         ( J)      u,: L     un exempted cnrn pany irKt)rporntcd and cxisti ng under the lmvs of
                   the Cayman Islands with its company mm1bcr .?.95848 aml rt·gistert:d office at
                   Scrtus Chambers. P.O. Box 2547. Cassia Court. Cumana Bay. Gnmd C,iyrmm,
                   CaynHHJ Islands (the "[..J_rm~1J.LC~1"):

         f4J       YlJETING ,HA (Jjf~;~t). holder of PRC lJentificution Card Number or
                   1·426231973 l 21508 J X. Un fen City. Shanxi Pmvim:c. PRC (the ''Ql:\JJ.~I"): and

         (5)       BEi.JIN(; HUAXlNG MOHILI~ ASSET MANAGEMENT CENTER
                   (LLP)( :ib}U~>~ftiJJ~j"r.1pf:g{Ut1 ,e,, (f:fr!ilittk) ), a limitt~d partncrnhir,
                   established and existing under the laws of China with its registered offkc at
                   Room 707, 7th Floor. No. 8 Yongan Dong!i, Jiangucl td.cnwui A venue, Beijing.
                   PRC (the "lim:stn[").

         RECITALS;

         (1\) r!1c fnvcstor intend'> to invest into the Company or the Cayman Co;

         (B) To facilitati: the inv,~simcnt by the fnvcstor in the Company or lhc Cayman Co,
             prior to or on the dak· of the execution of this Agreement. the Bornrn·er, tlw
             Investor and the affiliates of the lnwstor cnLl·rcd into un hmn agreement (the "Loan
             Agn.:,·mcnt"), pursuant to which the Investor and its al111iatcs will ofti.:r -:crtuin lom1
             ·with a principal amount pf RMB l 00.000.000 (the "Debt"); and

         (C)    The Parties dcsin;   w cmcr imo this Agn:cmt:nt and make the respective
                reprcsentatiom;, warmntks, covcmrnts and agreements sci. forth hcn:in on the h:nns
                and c(mditions sd forth hcrdn.

         AG
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                                                             SECTION I
                                                      f;i,J'fERPRE'I'ATl(}N

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              is (\rntni\kd         or is       crnm11;m Contrn\ with ih" S                                n1
              the l:as1.: ni' u naturnl person, uny other !\:rsun that dfrt:ctly or imlinxt!y ls
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              which co:mm:n:ia!. banks in the PRC. I !KSAR or Cayman h;lunds ;11c 11.'1.p1in:d
              or aurlwri;:ed    law or eX1.'.Cttlh1.· urckr tu be d\)sed 1)1' on which a tropical
                                no. 8 or           rn· a "h!ack" rainstfinn warning          i:, ln,isted
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               "Conwan,y   C!wrttT l)t>t:wm:nts" n11.:am, the M.cmorundum of A.ssodation and
               Arlidcs of Associmion of the Company.

               "Control'' of a Person mt.~,ms (a) ownt:r5hip of nwrc 1han 5(Wn of the shares in
               issue or other ,:quity inrercsts or rcgisicn.:d capital ot':mch Person or {h) the
              power to dir1.;c( tlic rnm1agcn1t'.nl or pol ides of such Person. whether through the
              ownership of motL' than 50(~;,, or the voting power of such Pcrnon. through the
              pO\vcr lo appoinl a majority of the members of the board of directors or similar
              governing body of sut:h Person, through contra1:ttml ,unmgcm1:ms or otherwise .

              "lins:11111l?H!n£it:'' 1ncans (a) any mortgage. dmrgc (whdber nxcd or floating).
              pledge, !iL'n (other than lien created by oix:ration of law), hypothccmfon.
              assignment dctx! of!rnst, titlt· retention, security interest nr other cncumhnuice
              of any kind securing, or conforring. uny priority of payment in rcspeet o[ any
              obligation uf any Person, lnduding any right gnmtt:d hy 11 trammc1io11 which, in
              legal icl'ms, is not the grnnling of security bul which has an 1..•connmic or
              limmda! effect similar to the granting or security umkr nppliei1bk lm.v, and (b)
              any proxy. power of attorney, voting tnist agreement, interest, option, right of
              first offer, negotiation or refusal or trans for rcsirk:tion in favor of any Person.

              ''liS~!!lLilL!)gJ.~Lldll" has the meaning set forth in Section 5. I(b)(i) of this
              Agreement.

              "Eilltl!.Y.~.gct1dti.t'.s:· tm.•mrn, with respect lo any Person, such Person's capitul
              s10ck. rnernbership interests. partnership interests, rcgistt~rcd cnpitaL Joint
              venture or other ownership interests or any options, wammb or other s,!curitks
              that art~ directly or indirectly convertible into, nr excrdsabk or exchangeable
              for, sud, <:apital stoi.:k, membership interests. partnership interests. n:gistcn:d
              c.apital
                     1.ir joint vcntm·c or other ownership interest.


              "B.xL~tu.1gJltmJns:ss" means the business or researching, designing, dcvL·loping,
              1.mmufacturi11g. selling and mmkcting or mobile phones and other personal
              devices, us well as other relmcd internet M mobile internet business.

              "(1Q\.'.l:1:!l!Hi:ll1Jil.lll:Lthm:itf' means any nation or govcmnwnt or any province or
              state or any other political subdivision tlwrcof; any entity. authority or body
              exercising executive. kgislativc, judicial, n:gulatory or administrativ(.' functions
              of or pertaining to government. including any government nuthority. agency,
              dcpartrmml, board. cmmnission or instrumentality or any political subdivision
              thcn..'nf, any court, tribunal or arbitrator, !he governing body of any securities
              exchange and any other scJ!'..n:gulatory organization.

              "Qrmm" means cn!lcctively the BVI Co, the Cayman Co, the Company. thl.'. l !K
              Co, the WFOE (upon its incorporation) the Onshore Companies and any other
              Person in ,vhich the BVi Co, the Cayman Co. the Company, the l iK Co(>!' tl1-:
              WFOF dit-c;•ct!y or indin.::etly owns 11 majority i111crcst nnd "Qroup.J~.:1_~,mh~(
              means any of them.




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             Borrower pm:mmn !n tl1,' Lt1,m

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             PRC.



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              "PmJy" or "Pnrtl~~" mcm1s any signa!ory or the signatories to this ;\gn..:cml)l1t
              and imy Person whn subsequently becomes a party to !his Agreement pursuunt
              to the terms and conditiom; hereof

              ''!:<£I~UJJ" means any natural person, firm, rompany, governmental authority,
              joiw vcn!l1n•, partnership, association or o!hcr entity (whether or not having
              separate kgal pcrsomi!ltyL

              ''B,gi,!~m1ptjmLf):1t9" has the meaning set forth in Sct:rion 5.1(,·)(ii) of this
              /\grccm1..~n1.

              ugfJU!~JLl:.tJr!y'' means (n) any :,;hardwlckr nf any Group ivfcmber, ! b) m1y
              director t}!' any Group iVicmbcr, (c) any ,if!iu:r or nn)' Group Member, {d) an:
              Rdatln: t'ifa sh::uchoidcr, din:ewr or oflker 1if any Group :vkmbcr, (el any
              Person in which any Croup Member, any sh,m:ho!d1.,r, director or nllkt:r of any
              Grnup 1Vk·mhL'I' has any ltl!crcs! other than a passive shard1oldi11g of less than
              five pcrccll! in a publidy lis!e<l company, or over \Vhkh u Relntcd Party
              exercise~ Conlrn! or signi ficanl inllucncc through contrnctuul arrangements,
              voting. rnarmgemcnt or directorship p(>sition or o\vn..:rshlp, mid (I) any other
              /\/'filiak of any Group Mcmb-:r,

              "!si;dr;.m.rukmJ'.rl££11 has the meaning set forth in Scetion 5.J(c)(iii) ,)fthis
              Agreement.

              "Rt;,;L~YnnLS.~GErlt)g~" means Qualified Finandng Sccuritit:s or other securities
              into which the Noic or the Convertible: NGtc may be convertible,

              "QlillJJf1g_cLJ:J_11micing1' means any bsuc of preferred shares ur equity-linked
              convertible debt securities or the Company alter !he Issuance Date bu! 1H1 or
              before the J'vfotudty Date to institutional investors (oth,:r than the lnvcstt1r) on
              terms and cnnditions that would be n:asonubly acccptabk to prudent.
              sophisticated investors in light of' tlw cir1,;ums1am.:cs, or any o!ht:r issuarn:c of
              equity securities of the Company atkr Issuance Dat1:.

              "UmiUfu,:c-1 firrundq_g_~.£.\L!ldJir§''
                                             1rn::am; the securities to be issued by tht:
              Company in connection with the Qualilkd Financing.

              "B,l"14Li.~'f 1 of u natural person irn::ans the spouse of sw.:h person, and any pun:nt.
              gmndp:.m:nl, child, grandd1ild. sibling, undc, aunt. nephew, or nie!.:e of such
              person or such person's spouse.

              ''Restructuifog" memis the restructuring !hi: result \If ,vhid1 (i) is !he corporak
              structure scl forth in fa·h~~l\!l!Y .Uio hereof as of' the date of this Agm.:mem and as
              of the lssmmce Date respectively; am! (ii) will be th,; corporntc sirm;turc set
              forth in                ht•reo!\, ithin lht~ limefrmm: aikr ihe Issuance Datr agreed
              upon by the Jnvestor, the Owner and the Company in this Agn:cmcnL

              ''RM.H" means the rcnminbi yuan. the !aw fol c1irrcncy of the PRC.




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         l ,J    In tcrprntat iI HL

                 (a)      L!ixe,:!Jy_JI!.Jm.llg:_t:!h:'.· The phrnse ''IJig:<;.!b'.....Qij11!Jin;1,;Jb'." means dirn,t!y.
                          or indirectly through om.• or rnon: imcrmt·diat1.; Pcr!':cms or through
                          cnmractunl or other un-.mgcmcnts, and '\lir~~L9r..l.ndfr.~s;r' has dw
                          corrdativc meaning.

                 (b)      Gi:ndcr and Number. Unless the context otherwise rcquin:s. n!I words
                          (whether gender-spccifo: or gender neutral) slrnll be deemed to inclmk
                          each of the masculine, fbnininc and rn:ukr genders, and words
                          importing tht: 1,ingnlnr include the plural and vice vern,L

                 (c)      U.s.mJJng~_. l kadings arc included foi- l'Onv,:nience ,mly and slmH not
                          affect the construction ol' any provision of this Agrecnwm.

                 (dJ      1.m:lude notLimi1ing. "lncfudc,'' "inclutiing." "qn: inclusive.or· and
                          similar expressions arc not expressions of !imitation and shaH b,:
                          cm1strut'd .is if folimvt'.d by the words "1r.ilh.mH.lixni.l.Htim1.''

                 ((,.')   t,;u_y. Reforcm:es to "Jim~" shall include al! applicable !aw::;, regulations.
                          rules and ord0rs of any Govcmmcntal Authority, securities exchange or
                          other sdf-r1:gulating body. any common or ct1stnmm-y !aw, constitution.
                          code, ordirnmcc, statuw or other !cgislath·c measure and any regulation.
                          rnlc, treaty. order, decree or judgment; and "lnwiul!' shall bt.i consirucd
                          accordingiy.

                 ( f)     Rcl.en:nccs IQ. Documents. References to this Agreement irn:luck the
                          Schedules and Exhibits, which Itlrm an integral part hereof. A n:ft.:n::nce
                          to any Section, Schedule or Exhibit is. unless otherwise spedficd. lo
                          such St·ction of: or Schedule or Exhibit tu this Agreement The words
                          "hereQf:' "h£.!.:t;tmder" and ''hcJ:£11..!,'' and ,vords of like import, unlcss th.:
                          context requires otherwist\ refer tu this Agn.:crncnt as a whok am.I not to
                          any pmticular Section hereof or Schedule or Exhibit h,:rcto. A n:fcrcm.:e
                          w any document (im:lmling this Agrcc,mmt) is to that documt:nt as
                          arnemlcd, consoliduted. supplcnwntcd, noval\xl or replaced from time to
                          time.

                 (g)      Jin:1~. If a period of time is spccifkd and dates from a given day or the
                          dn:l of'a given -.Kl or event. sm:h period sha!J be cnku!atc<l t:xclusivi.: of
                          that duy.

                 (h)      lYIJJing. References to writing and written include m1y mock o/'
                          reproducing words in a kgibk and nrnHnmsitory form indmiing cmaili,
                          und fi1xcs.

                 (l)                 This Agrccm,:11! is drawn llp in the English languagy. lf !his
                          Agreement is mmslnh.:d into uny            other than English. th~:
                          English lnnguugc texl slw!I prevail.
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                                                                   SECTH)N 2
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              lnvc:slor in writing,                 that iL:ny nf tht: frlllowing condi1iorh i;; m1iv.:d
              ilii.: Investor 011 1ir bdbn: 1.hc: lssmmct~          tht· Cnmpany, th1:.i (Jwncr         1h1i
              nonnwcr :;hnll L,.\its.: ,,ud1 ..:om!it1on:, hl h1: fo!iilk:d             1.1Ht·r liw lssu,t1w1;
              lhl1: if               by 1h,.~ lnvt:s!nr in

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                      respects on the issuance Dak' :ts pnn·kkd in St:t:tinn 4.5. 1.:xccpt fi.it
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                                       vvh icl1               and
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                      qualifii.:d as ofth,: b:mant;;.: I

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                      having pcrfonnl:d mid complied in nil nmt,:ria[           with all or its
                      agn:c:inemh and obligatir.ms contnined in ihL'. Basic Documents 10 ,vllk.h
                              i.< jJdH) llii:lt d<V l<:qt;Jl<i<..i t~J UV
                       or !n.:forc                       Dnk;

                       the Investor                    completed                   kgal and l.im1m:ml due
                                      n:v11:w of the Company and its subsidiaries and lhL· n:sult.~ of
                       iha! rL'Vtc:w shall be                          to the lnvcsior;




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                                      on or prior to th..: bswmce Dale), );lwli havi: hccn obtained nr
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                ( fJ    th,;rc being no Govcmmcntul 1\wl1,>rity or other Person that has:

                        (i)       insti!Ulcd 11r thn:atcncd in writing any legal, arhitrnl or
                                  administrat.ivc proceedings against tlu.: Owncr, any Group
                                  1v1cmber, or tJw Onshon.: Companics to restrain. prvhibit or
                                  ntht·n,ise cha!kngc the purchase or the Note by the Investor or
                                  any of the ntlwr transactions co11tcrnplatcd under thi.; Basic
                                  Documents (im:lttding without lirnitation. the R1..islnu:turing); or

                        ( ii}     proposed iir ennc!l'd any statute or rngulntion which would
                                  rm)hibit niutcriulf y restrict or matcria!ly delay impkim:nt;Hicm or
                                  the trnnsm:timrn contemplated under the Basie Ducuments
                                  (including without limitation., the Restructuring), or the operation
                                  of tbc Ciro up us a whok alkt the lssrnmt:L' Date as con(,:mplated
                                  in the Basic Documents:

                (g)     the !nvcstol' having received (i) a kgal opinion from Wa!hm,. tht:
                        Caynwn Islands counsel of the Company. and (ii la lcgnl opinion from
                        King & \Vood tv!all,:sons, the PRC comiscl of the CompHny. in each
                        ease, <lalc'.d as ilf the Issuance Date and in the form and substance
                        satisfactory io the Investor.

         2 ·;   Conditions Prcccdt~nt_to Obligations of(:ormiany .at Cornplction. The
                Company's obligation to pmcurc the Borrower lo complete the issuanci.' of the
                Note at the Issuance Date is sul~jcc! to the fulfillment prior to or simultaneou!:lly
                with the bsmmce Date. of the following conditions, any one or more or v.;hich
                may be waivt·d by the Company or the Borrower:

                (a)     th.:! Investor \Varrnntics remaining true and correct in nil ma!i:rial
                        respects on the issuance Date as provided in Si:ction 4.5, l;.'Xccpl for
                        those rcptcscntations and warranties that already eontnin any materiality
                        qualification, which n:pn.·scmations and warranties, to the extent already
                        w qualified, shall instead be true and con\:ct in all rcspci..:ts as so
                        qualified as of the Issuance Date;

                {h}     the Investor having performed and cumplied in all mnletial n:spects wiih
                        all of its ugrcemcn!s and obligations contained in this Agrccmtmt and lhc
                        other Busic Documents to \Vhich h is a party thal an: required to be
                        perfonned or complied with by it on or before th.: Is~uancc lJa!c;

                (c)     the Investor having duly attended to and canted out ail corporati.:
                        procedures that are required LHH.lcr the laws of its place of incorporntim1
                        or cswblis!m)cnt to effect its execution. Jdh·(:ry awJ pcrformunce or thi1;,
                        Agreement and the other Basic Documents to whid1 it is n pmt)\ and the
                        trm1sactions contemplated hcrcby and thereby; am!

                (d)     each of the Ba.<;it Documents to which nn Investor is a party having ht·t·n
                       CXL'CU!Gd  hy the Investor and delivered 10 the Cnmpw1y or the H,HTowcr.




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                                                SECTlON J
                            OHUGATIONS OF THE COMPA'.\Y, THE O\V~ER AND THE
                             t"!VESTOR UETWEl:N KX.ECFHON 1\NH C{)."vH'L!i:Tm~,

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                                        bsuarn:c                           in Hw fti,;ic ! )ne,mwnts
                 or .ithenvist: as con!emplctkd                            nm! t!w Borrn1\\.'r sfnlL
                 nnd th,: (              the Owner shall cnuse eud1 ol the' 1,!lwr          \it:rnbi:rs
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                 oflht: hs;ti:mcc Date as
                 Hnrniwt:r and tl1L: O,vncr
                 CCH1t.Ution or cirtlH11\L:!i1CC
                 1.:on,-;titn!c n fm:nd1 ,lf ;my
                 nwd,: :hat ,my      beiwc,:n the tfa1..:, hcrGnJ' :md the ls:m,mc,: Dntc. or that
                 would constitute;, bn;uch ol'rmy !cnns and ,mndiii,Hh c,mhiirh.:d 111 this:


                                       Frum the date                until the !ssuanc,: Dak. \he: (\.1m1Hm:
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                 wht:rc npplruibk !n, (i) emTy on thi.:ir                  busirn.:ss in the                comsc:.
                 (ii)        in a!! nwtcrial ri::;pc..:1.s with all      icahle law tmd uther
                 :,:,,,,,!' ,.uh;nb   tc:1<1<!H~t 1.0 Utt upc1auu11 m i :1,'.H lt'.!,p,:i.;H     ou"'.1rn:ssc:,:     HHd ( rn .l
                 wi!h no ks:,;               and cl'fnns !hat would be: applkd in lh~- abs,mci: of!IH:
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                 occurn.:rn:c or m1noccurrt:m.:t: of any cv,:m nr which it \J; n\v;m:         will or L
                              likdy to l\.'.st!ll in any of1!1t· conditions sci forth in Section 2
                                               of

                                          I he Panies sha!i ma: al! rc:asoiwbk cflims to tnku, or cmFw                                 to
                                                     w.:lion, w do or c:m:;e in he          ;ii!    ncc1.~ss:1ry,
                 prnpcr 1)r ,Hlvh,abk                                   ,md tu 1:xcci!I.,' nnd ddiver such
                 ,fo,iun11.:ms .:md u!h1:r pap,:r,;. a~; may be                      to curry ow the
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                                                           S[CTION 4
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         ,U     };;J!QYYL~;ggi;;J.1JClui1n~. Ko inn.:stigation hy or on bdw!f ofany Parly shall
                pr~jm!kc any claim made by such Party under the indemnity l.'ontaincd in
                Scctlon 8 or Of'lt'rnk: to reduce any amount rccovt:rab!c tlwn:nnder. provided tliut
                a Pm:ry shall have no liability for (i} any bn:ad1 uf or inaccurm:y in the
                Warrnntks made by such Pnrty to the extent th,~ ln<knmiJicd Pnrty bus m:!md
                kn1nvlcdg1..~. at or prior to the f'isuance Date of :;uch bn.!ach or imn:c11rw.:y. (ii)
                any brend1 of or failure io perform ,my covenant or obligati,ms of :;udt Pany
                1,rhich arc rcquir,:d to be pcrformvd at or prior Iii t.hc ls:suancc Dale: hc1\.!tmckr.
                t<'J t!w cxtcut t!im the lmk:nmificd Party has m:rual knowh:x!ge. af or prior to the
                Issuance Dati: of 5uch brcad1 nr foilun:.

         4.4                                The Collective Wurrnntic:-i :~hat! bG s1.'.p,1ratc und
                independent aml ~ave tis expn.:s;,;1) provided shall not he limited by rcfi.:1\:nc(~   lo
                any other paragraph m· anything in lhis Agn:erm~nt or the Schedules.

         ,t~i   Bring-Down lo Conu,foti<.in. Th.:.' Warranties shall be dt:l·nwd 10 hi:. rcpcal!.:d m,
                nt the Issuance Datt.: as if they were made on and w, of the lssuance Datc, other
                than sw: 11 \Varrnntics as arc mndc specifically as of tmothcr spccifo:d date.
                which shall be true and concct as of such date. and .ill rcforcm:cs th,.:rcin to the
                dati;, of thi:; Agreement were references to tht !ssuan1:c Date.

         4.6    Survhial of Warrnntics. All of !ht· Warranties shall survive th.: issuam.'.C Date
                for a period of 18 months alter the Jssuam:c Datt:. p1.·m·idcc/ that the warranties
                set forth in s~:ctions 2, l Oand l 2 of Schedule 2 and Sections 2 and 4 of
                fu.'.h~~ittl£.J. should survive indefinitely.
                                                       SECTION 5
                                                  .INVESTOR RIGHTS



                (a)     B~i.!£Dm\1gn211J\1Illl!I!II, The lnvcsttw shall have the right to require !he
                        Borrnwcr to reek-cm Lhc Note on the Malurity Date or upon or
                        immediately following the sc,'.o!ld-ycnr anniversary of the Issuance Date
                        at tht'. Redemption Prkc (defined m; below) by dclinTing a pri,Jr Vffit!cn
                        notkc (the ''K.Gfig1mtio!iliqJj~") to the Horniwcr following the
                        Redemption Procedure sci forth in Section 5. J(cJ.

                (b)     Red(·mptionon Event of n ..,Jholt.

                        Ol      The rn.'.cun·cncti of any one or more of the following events shall
                                constitute an "Event ofI)cf1ndt'':

                                ( !)    the Horrnwcr or the Compnny shall fail tn pay debt thal is
                                        due and puynbk· or any other amount (if any) wlwn du.: i11
                                        accord,mc.:: with the tenm; hereof:

                                (2)     the diang,· of actual controller of the Company m !he
                                        Borrn1,,\ er;




                                                       IJ
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                                               or !he Bmnnvcr in any !Jasic l)ocwrn:nt:, ur in
                                   nnr ccni l!cate or other docun11;:1u ddiv1:red pmsmmt
                                   !hc:n;·tn shall hav1: been                lncvrr1.:c\, rniskmlin!!
                                   or foist:. in ,my
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                                          thirty (JO}                       m,tin,:d in writing of
                                                      tht· Investor; provitkd rhm ~:uch Breach
                                   lms caw,cd or i:,;         10 cat1sc a rnmcrial adv,Tsc
                                   mi the hu:;iness of the            as n \Vhn!c nr on the
                                   nnd liahililh!s of the lnvcsror           the

                                   any brcm:h nf1!u: w1di:rtnkings am! covcnanls tts sp,:cilied
                                   in St:ctiom,        5. 7 and 5.8 of thb; Agn:crncnt.

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                                   f,ignifa:ant nr mal1;;rial i\Hiliatcs shall corrm1(~ncc nny
                                   cnsc,               nr othcr nction (i) under nny             or
                                   futun.· lrrn of any j urisdlctinn,            or forvign,
                                   rnlming w h,.mkn1p1t.;y, insnlvency, renrgm1iration (!!'
                                   rdier nr debtors. st:c!dnµ to have an cmkr fr,r !'(.'.lief
                                   entere,I with n:spe0( w nny On.iup                , ur seeking lo
                                   mljudknk uny Ornup \ikmbtll' bankrupt or insoin.im, or
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                                   winding··tip. liqHidntinn. dis.sol mi on, c:ompnsitinn or other
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                                   rvlernhcr rn· frw all or any ,;ubstantial pan t,f its Hssets;

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                                   Tcdrno!og~ Cmp., Beijing (                                     ,;i:)
                                               , 300!04.Cll);

                           (7)     !ht:           shnl! frti I to deliver thl' Rdev:m\ Sccmifo:~
                                   when such Rckvnnt                   are rvquin:d to be
                                   ddiH:rcd following                           Not..:: tH' dw
                                   Convt:nibls: Not,:                          in au:ordm1cc \,ith
                                   the ttHrns hm\:oC

                                  rlw n,:('.nrrcnce of an Event of              the               shal!
                                 the fnvcnwr             no!.icto nf the nrTmrcnc,: ,11" ;;ud, l<vem
                           of DefanilL

                  {iii)                                          die CDlltimumet:     ur
                                                                                       an Fven1 uf
                                                            l1!1ti1.:,: in         m the Borrower
                                                                the Even! of Default 111 be
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                   (iv)     Upon the Iklrrowcr's or any orirs appJkabk Anili,ites· failure to
                            t't:mcdy the default in uccorJm1cc with the lkfoult No!ict\ the
                            Investor shall be entitled tn declare the Note in \Vhok, and
                            require the Borrower to n:dccm the Note on the Rcdcmptinn
                            Date at !he Hcdtmption Price by dc!in~ring a f{('.dcmption Notkc
                            to the Bom>Wt'r following the Redemption Procedure         M!l   liinh in
                            Section 5. l(c).



                   (i i     On or before the Redemption Date. the Investor shall surrender n
                            rcque&t for redemption (the '·R,;dt~mptionJJcqucsr'J to the
                            Born1wer, in lhc manner and HI the pl act: dc11igm1t,..:d in the
                            Redemption Notice. Upon the surrender of the lkdemption
                            Request to the Born)'\ver, the upplicab!c Rcdemptivu Pril;c shall
                            be payable.: to tlw order of the lnv~:stnr.

                   (ii)     The Redemption Dut<.• for Section 5. l(n) shall bt:: Mawrily Date
                            or the second-year anniwrsury of'thc bsmmcc Date, as the case
                            may be. and for Section 5. l(b) shall be yJ Business Day alkr th.:
                            dale of Redemption Notice.

                   (iii)    The rnvestor upon exercise of its redemption right shall have the
                            right to redeem the Nole at the Redemption Price. v,hich is
                            calculatc<l as the total outstanding principal mnount with respect
                            to the Note, plus any accrued and unpaid intcn:s1 at. l 5'Vo per
                            annum cakulatnl by using the then outswnding prim:ipal amount
                            multiplied by actual number of days dapsed since the ls;<,;uance
                            Date dividcd by 365 days; the payment is to bt: made hy cash,
                            and the Investor may request for !ht) cash pnym-.·,nt to come fnim
                            the Owner or other companies and iustitutiom; designated by the
                            Owner,

                   (iv)     The payment shall btetime due and payable on the Redemption
                            Date, and calculated from and indmling th1.,: bswmcc Date until
                            the payment date, plus any accrued and unpaid interest.

                   (v)      If prior to the l'vlaturity Date the Investor is unable hl exercise its
                            right to convert the Note into any shares in the Company or lhe
                            Cayman Co, as the ca~c may be, as the result or th..: nnn~
                            occuncnce e of any Qualified Financing for a reason utrriburnhlr.:
                            to the Bo1To,vc1<, the Company, the CaynHm Co or ihc (hnwr, Hw
                            Inwstor upon exercise ofits redemption right slrn!l have the right
                            to rcde1.;'.m the Note al n new redemption price. whkh h;
                            calculated as the total uutstanding principal amount with rc:;pecL
                            to the Note, plus any accrued and unpaid interest at 25% per
                            annum calculated by using the then outstanding principal amount
                            nml!iplkd by m:tual numbi..'.i' of days elapsed siiict.: the hsuancc
                            Date divided by J65 days; the payment is lo be mmk hy rnslL
                            and th1.., Investor nmy n:qutist for the cash pay rm:nt ro come from


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                   ( \ i)   If the lnve:.,tur. a! ils o·w11 dt:cti,1n. dm;s n,it
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             (a)

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                            !ii<.'. Convcrtihk '\fot,', th'.               Sh;m.:s sh:dl he
                            to the lnvcsttn l(ll' Hli.: lx'.n.:!1t of the Inv1;stor tu sccun: thi:
                            pay men! and nthc1 obl!ga! inns of the
                                       tr:.msnclion ckicttmc'n!s.

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                                          and the (hvnu· slw!! 1.''.Hh,' th<: Borrower ro,                               to
                                                         i,·nbk PR(' l;nvs and 1hc                                      nt'
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                                    ( J)       use th1: {nvcs1rnenl Consideration to redeem the Note.• aml
                                               release the fnvcstor· s payment oh!igution undt:r the Note;
                                               or
                                    (2 l       use otlicr fomb to redeem the Nute nnd n::kas,,) thi:
                                               Investor's obfigmion w1tkr the Note, the mnnurn u(
                                               which shn!! be equal 1.0 the fnv<..'s!mcnt Consideration.

                        (h·)        The (hvni.:r and t!w Cayman Co und1:rlukc, and shall pn.n:urc to
                                    !he extent pcrmilld by law, that tht' Investor shall enjoy the
                                    smnc rights :,;1;~t forth under this Section 5, in the c·vt,nt th<1t the
                                    Nok or the Convertible Note held by tlw Investor rs convcrkd to
                                    the Cayman Co shares, at ths: election of the Investor, on !ht:
                                    Qualifo.•d Financing us ;;pccificd under this ~kction 5.1.

              (11)      Cqnvcrnlo11_on Qual.iJfod Finandng. The Investor slw.!I he l'lltitkd to
                                 its right of' conwrsiun as specified under this Section 5.2(b).

                        (i)         Should a Qualified Financing occur prior to the ,\,Jaturi1y Dal.i:,
                                    !he Investor shall have the right, but not the obligation, to
                                    convert the then outstanding: amount o,ving under Note or the
                                    Conve11iblc Note. in who!c, into prcfon:ncl.' shares subj ..x:t to
                                    Section 5.2{c) in accordance with the method m; fbllows:

                                    ( l)       ifronver1cd to the Company shares:
                tHJ(S1\1n(iin,Rprinc1pafJ\1110(U)()( .Ll .....1'. .. J 5% X}l{,;IUdf <lm:s eiapscd_~im:c J,,tWIJCl' DHli: 1;6~1
                                           80"·i1 ., per ,hare prk,· a, at the Company's Qualified Finmwing:

                                    (2)        if conv~ned to Cayman Co shares nnd by then Cayman
                                               Co has had a first Qualified Financing:


                                             80% x per shar<.' price as ar Cayman Co's first Qualifkd Fimmung

                                   or

                                    (J}        if converted to Cayman Co shares um! by then the
                                               Cayman Co hns not had u first Qualified Finnm.:ing. the
                                               lnvestur shntl m::gotime with the Owner of tlw vnhmli1m
                                               (the "Y1!!.t15!Jiml") oflhc Caynwn Cn and the slmrns shall
                                               be 1;aku!ated as follows:


                                               80% :-.: per share price as at 1hc Va!tmlion

                        {ii)        Within 30 Bw,iness Days atkr the requ.:sl of the Investor. !he
                                    Ov,w,:r slrnlf prnt.:ure tlrnt the Cornpnny shall ddher to the
                                    lnveslor all legal, fimtm:ial und business inform,Jtion, the final
                                    form of tlw !rnnsacti\m dncumenb with n:sp"•,:1 t\l Lhe nn:mLing,
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                                                 h1v4::,;tnr.




                                                                                    bi: ,'.n1i1kd lu
                                                            Qualified Financing d1.:finitive
                                         iii   the c,1se mny    on        \>vlth ihe investors
                          thereuiickr.



                  (i)                                                                       in Sc1,;tiun
                                 lht'. cmwcr:,ion           sd. ti)rth in this                shaH he
                                         hy the lnvt:stor at any lime duri11g usual business hours
                                               D.ay, at the              office or llK~ Company (or
                                  o!ht:r uffo.;c or agency of ih1.: Company as thu Ct)tnpany mid
                          the lnvestor may ngn:i.::), accmnpanied by a. c.:rnwersion 110tki:
                          (lh\'.                             specilying (i) that th,! lnvt:stur ckcts
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                                        in ;,vhich a ccr!iffoate or c,:r!i!katcs for        Rckvcmt
                          Scemities an: to be issued.

                  (ii l    /\s ,,,,on as practicahk and in any event 1vifhin :', lh1sit1c·,'., Lhay,;,
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              (d)   frnctiom1l_S!wrcs. If the conversion of the Note or the Convt:rtibit· Note
                    would result in !he issuam:e of any fractional shan.\ 1he Company shnlJ,
                    at its option. round upwards and issue one additional shurn 11r pay to 1he
                    Investor the portion of the principal amount c:rnwcrtib!t: intu such
                    fractional shai\·.

              (c)   A vnilabi!Jtv of Eq1ti1v Sq:uritics. T!w Company covcmmts that it will m
                    all tlnies n:-serw and maintain authority to issue the maximum 1mmbcr
                    of Equity Scrnritks issuable upon rnnvcrsion or the Note or the
                    Convcrtibk~ 1'fotc. The Company covcmrnt.'> that all Equity Sct:uritfos,
                    when issued or delivered pursmmt lo                 5.2(ct shall bt: duly a11d
                    validly is1>ttcd, shall nmk JYari Jhisslf with all other Equity ScrnritkH
                    issued in the Qualified Financing. as !he case mny be, nnd w!v.·1\? they
                    an.' in the form of equity st'.'curi1ics m11Htsscssable, fully paid, free ttnd
                    elem of all Encumbranc,;.~s, other dmn Encmnbram.:cs arising um.for thL·
                    Bask Documents or crt'.'atcd, imposed 01· agreed in writing by the
                    l11wstor.

              (!)   Iscorgilliizallil!b Rcclnssificalion. Suhjc~:t lo Hie terms ;,)f !he appfo:abk
                    agrcc1rn:nl with rcspcr.:t to the Note or the Convertible Note, in case of
                    any merger, nmalgamation, arrangement or consolidation of the
                    Company or any capital reorganization, reclassification or other clmugc
                    of outstanding Ordinary Shares (cuch, a ''I1:n11~fI£il9J.(), the Company
                    shall execute and deliver to the Investor at knst 30 days prior to
                    effecting such Tmrnmction a certHkntc. signed by n director of the
                    Company. stating that the rights of the Investor shall continue to be
                    recognized and not prejudiced by the Transaction and uppropriat('.
                    provision shall be made therefor in tht! agreement, if any, rdnting to
                    such Transaction. The provisions of this Section 5.2(f) and any
                    equivalent thereof in any such ccrtilkate similarly shall apply to
                    successive transactions.

              (g)   l&&l<;mi. The Investor shall ugrcc to the ilnprinting, so long as required
                    by law, of a legend on ccrlificntes reprcsc:nting all ofthc Invi.:swr·s
                    Relevant SL'curities issuable upon convert>inn oftbe Note or !IK!
                    Convertible Note in suln,lantially the following fnrm:

                    LEV!E\V MOBILE LTD. (THE ''COl\tPANY'') IS/\ COI'vlP/\NY
                    iNCORPORATED UNDER THE LAWS OF THE CA Yi'vi!\N
                    ISLANDS, AND THE SE.CURITIES REPRESENTED BY Tll!S
                    CERTIFICATE SHALL NOT BE SOLD, ASSIGNED,
                    TRANSFERRED. EXC! lAN<.am, :\10RTGAOED, PU'.DGED OR
                    OT!iERW!SE DISPOSED OF OR ENCUMBFlU:'.D wrnlOCT
                    COl\!lPL!ANCE wrn r THE AlrrICLE:S OF ASSOCIATION OF Tl IE
                    COivlPANY, DATED FEBRUARY 3, 2015. 1\MONG nu:
                    COl'vlP/\NY AND THE SI !AREi !OLDE RS or THE COl\,JPAJ\,Y. AS
                    AMENDED AND RESTATED FROfv1 TIME TO TIME. COPIES 01:
                    SUCH ARTICLES OF ASSOCIATION ARE ON F!IX'. AT Tl IE
                    PR!NCfPAI. OFHCE OF TUE CO\.tPANY. THE COIV1PANY \VlU.
                    NO r REOISTER THE TRANSFER OF SUCI r SECURITIES OH


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                   LmOKS OF Tl IE CO'.VU\\NY UNJ ,i:ss At<U UNTIL ll l!'
                   l'lL\\'SFLR    !Jl:T'.\i \UDE !N CO:VJPI   T      'l l Tl!l:
                   l'ERMS OF SUCH ARTH'LES OF ASSOC!:\ nu:0.




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                                      cnsc, as if 11n a                hnsi;:; irnm ..~diatd:-, prim lo
                   di~: is;:;wmc,.: or tlK, \cw Sc:,.:uritics         !'nil cniwcr~jon n!' .:rll
                   pn:forr,:d ~;lwres and foll conn·rnion or exwrcis,· of all oulstanding
                   convertible                 rights.        nnd wnrrants hdd hy !ht: lnvcstrin.
                   lU (U/   im:   lUli.li IH.lHll)C!   ol        .':!lmrt::j   ililL"IUl.llll!2        ·,!1;11~·:, tHl
                   an                  ba:;is J.nd m,suming thal all ornstanding options or
                   \Varrants> then outstanding imrm:Jiatcly prior w (he i,:,mmw,: (\f '.\,,w
                   Securities (as':.t11ning foll c<H1vcrsion of preferred :,hm\:s and ful !
                   C(1Hversion or (!Ks:n.:is1; ol' url oub!anding eunv.:rtibk: :,,1:cmiti,:'l,
                   options and wmnmts).

             (t)   In the t:vent lh1.• Ctnnpany prnpost:s to undcrtnkt.· a.n i\isumtn'. ot' \1.·w
                   Sccurit.ks. ii slwll giv,: 1h0 lnvtt:m,r              nntic,: n( its inwntinn.
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                   ,,.fod1 the (            propos,;:s to issu,: the same. Th:: Investor :c;ludl have
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                   thi.: lnvestor's Pro Rain Shure nf such :\cw Sccuritici, und to indicar.c
                   whd.her- t!K investor dcsi1·e:s lO ,':<,:rr:i,,,: i1,               Ri      li1r tilt'
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                   any within •;aid IO                                                     the C\,mpanv
                   shall hav,,, l 20          l.ln.:rcarter Iv :,d! u1· cnk:r into nn agrvt:men!
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                       Jay pmfod fo!lmving the Ekt!llon Period, or :..uch 12(kfoy period
                       following the date of said agtel:'im:nt. the Company shuU not thereafter
                       issue or sci! uny New Securities, wi1hout first again offoring sud1
                       St:curitks lo llh, Investor in the m!mncr provided in lhii:; Section 5.3.

         5A    Tat!-alon~ Ri.ght.

               (H)     Following any conversion ot'thc Note or the (\mvcrtihlc Not.: hdd by
                       the lnwstor, if any of the shares (the "l)i"rmscd Sh~trcs") in the
                       Company directly or indin:ctly hdd by the Owner b to be snld to any
                       third party {the                         ), the Investor may ckct to t..:x-:n::isc its tag-
                       a!ong right {the "J'mkHhll1tL.Ri1,,tbl''i and partidpalc on a prn-rata bm,is in
                       tbe Dbposition on the :mmc t.enns and condition;; as set forth in the
                       written nutii:e (1li1.: "l'?i1-i!?Sti;ifjgJJffQtii,:i,;0) lo the Company and lh('.
                       lnvvslor t>c:nt by the Ov,.,ncr. which noli.:c shall statdi) tlw mum: nfthc
                       Owner, (ii) the name and m:ldress of thc proposed purchaser. (iii) the
                       number of shnn.'s lo be disposed; (iv) the mnmmt and form of the
                       proposed consideration for the Dispo11ition, (v) nny other material
                       business rdations bel,veen the O,vner and the pun:haser. and (vi) thr:
                       other h:rms und conditions of tbe proposed Disposition . in tlw event lhut
                       the proposed ..:011s.ideration for the Disposition includes cons.idcrntion
                       other than cash, the Disposition Notice shall include a calculation of
                       tlk:n fair market vnlur of such consideration and an explanation oflhe
                       basis for sud1 calculation.

               (b)     To exercise its Tag-alnng Right, the Investor rmwt give the Owner, as
                       applicable. written notic1: to that effect within 40 days alter delivery of
                       the Disposition Notice, and upon giving such notice the Investor shall be
                       deemed to have crfoctivcly exercised the Tag.along Right The Investor
                       1nay sell ull or any part of that number ofSh,m:s (lhc "I1\£.::Jt!s2Dll.
                       Slrnnt!:i") held by the Investor equal to the product obtairn:d by
                       multiplying (x) the number of Disposed Shares by (y) a li'm.:tion, the
                       numerator or which is th1.· number of Ordinmy Shares (calculated on an
                       ns-convcrtcd and fully-diluted ha5is) al the tini.c owned by !he Investor
                       and the denominator of whkh is the aggregate nrnnber of Ordinary
                       Shares (calculated on an as-convcrk•d and fully··di luted hasis) owned hy
                       the lnvt:stor and oll1t.:r conV<.·t·liblc Hote holders plus lhl' nt!lllbcr of
                       Ordinary Slmn:s (cakulatcd on an a~H:onvcrtcd nnd !hl!y-di!uted basis)
                       then owned by the Owm:r, as applicnbic.

         5.5                          After the [s:mancc Date. the Company or the Borrower
               shall regularly deliVt,r to th,: Investor infomwtimi re.luting to the daily busines~
               npcrntion ol'th~: Company and the Borrn,wr. including but not limited. to the
               following documi:.·nts m n:.•porls:

               (a)     within 90 days ancr the end nl' cad, fiscal year or thi.: Company and the
                       Htirrnw1..~1-. a consolidated income statement and statement or cash llmvs
                       fr,r 1!11.• Comptmy and th<.' BornlWl'l' ror sm:h fiscal year (llld a
                       consolidated balance slK'et for the Compnny and thu Borniw1..,r w; uftlie
                       ~·nd of the Hscnl yc;;u·. auditL:d and ccvti         one (1!'thl' Big hmr


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                                                                   all           in         and iu
                      uccmdnncc \Vith                    Swnd:mls eou~iiswnlly
                      lhmughoul tht: period:

             fh)      (il within 45 days nlkr the
                      statc:rn('nl and statement nf

                                           Borrnwcl' ,is of          or such qunrwr.              in
                                :;md in accordanct'. with lhc Accounting Swndmds
                      npplkd thwughout the period, and (ii) promptly following tht:
                      each                                                 :md hNh hems (ii nnd (
                      shall ht! ct:rtiiicd   th;.; chief finnnda! orlkt~I' nr the nnancial contwlkr
                      of!hc             and lhc Bmrowcr;

                      within 20

                      ctm:,:.olidatcd balance 5l1e,:1 for   Company and the Borrmvi.:r as tb..:
                      end of sud1 rnnnth. nll             in Engli!ih and in         with th,~
                      Accounting Stnndnnls consistently applied 1l1rnuglwul the period (t:xcept
                      !1-,r                  adjustm,:nl,, and except for the absence of notes)
                      and c,~nfficd  ihe t:hid' fi1wm:ial offk,:t' nf the Compm1y and the
                      H( \lT(IW<}l':

             (d   l   a con1prdwnsive op0rating                        the Company's and 1iw
                      Borrower·~ n•vcm1c!i, ex111.:nses. aml cash position for the following
                      fiscal year within JO days prim to the end of c;,ch fiscal year. in
                      rcasrnmble detail on n monthly basis, brok1;·n do,vn     different.
                      operating                and

             (C)      as soon us pmctkabk\ any othi.\r information
                      the Boal'd or                      hy the lnwstor.
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         5.6   lJJ~Il~'.1,'.Jhm.KigjJt;:;. t\lkr the Issuance Date. the Company and the B1J1-ro,wr
               shall. ancl th1.: Compan;,· und the Owner shall cause each of the other Group
               .\kmb~Ts to, give to the lnv.:stor und its Reprcscntu!ivcs reasonable access.
               upon rca-,mmbl1! prior notiei..:. to the prc1niscs and t.hc book;:, and records. and
               instruct ih nllkcrs and cmpl,,yccs to furnish all inlbrmation und cxplanatiuns tu
               the Investor or any such P1.:rnom; as the lnvcst11r rnay rt.!asonably request durillg
               n,mnal business !H.Hm,. under the slipcrvi:,;ion of a Company ofltc,~r and in :-;uch
               a manner as not to intcrkrc \Vith the normal business operntions of the
               Company or any other Group l\··kmhcr.

         5.7                                       1\s long its the Nott: or the Conv,:rtiblc r.:orc
               is outstanding or the Jnvestor hold:- an) shan.: in tilt:'. Company alkr convcrsiun.
               thi;; Company shall prm:urc that the lnvcs!or shall be entitled Ill, from time to
               time, nt its own expense, and al uny ti.me, lo dl,~sigrm!e one individuu! that is an
               employee or omccr 11rthc investor or any ofits Afliliaws (the "Oh~}J:YgJ'') to
               uucml ..ill mct:tings of {he Bonrd and all commitkcs ihcreor(whcthcr in person.
               by tcl.cphom: or other) in a mm,vuling obscrvar capa,:ity.

         5.8   E,i;.~gJ:~'.1;:1L.i'Yiuttcri, From till~ Issurmcc Dale until the m:currern.:c of th.: Quu.lilfod
               Financing, tht: following matters in com1t:ction with tht: Company shall bt:
               subject 10 the lnves1nr" s prior written conscnt

               (a)      any amendment or mndi!icntion to the Company Charter Documents;

               (b)      any material change to the nature or scope of'thc business of the
                        Company;

               (c)      any material merger, amalgamation, scheme or armng.cmcnl,
                        reorganization, restructuring, or consolidation of the Company or any of
                        its subsidiaries:

               (d)      any li4uida1i011. winding up, dissolution. disposition, rc,lrganization. or
                        arrangement of the Company or any of its subsidiarh:s:

               (c)      any ch:mgc to the size or composition of the board ot' director;;           (1f   !he
                        Company or any or its subsidiark:s;

               (fl      any l..'.hnngc to the accounting policies or the auditor of the Company nol
                        in eomplinnec with tht' !nt~:malional Fimmdal Reporting SlunJards,
                        (it:ncrally Acccptctl Accmmting Principles or !long K~mg Financial
                        Rt:port.ing Stam.lards;

               (g)      appoint mm\ or removal of any key crnp!oyccs or the Company:

               1h)      determination or mljustmem of the pridng bnsis of transactions bct\vern
                        tl1c Company un,l any orils related pnrtics;

               (i J     any n:lutcd party tmnsnction entered into by the Compnny it1 -~xccss of
                        US$ l Omillion (or its .:quivalent in other         individually or in




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                (i)     any uthcr rr:nr,;.rial mnl.tl:rs of !lw

                                   !he rull C!nl\'t•rsion of !II,: N1lk' or ihe ( 1}ll\'\'.rlibl1~· \:ot~·
                !he Invcslur imo                       upon uccurn:H,:,: of                            fkd
                           thl: ln vcs!, w sh,11 l be                          any dh·idcm.l distrilwihm


        5.10




        5.1 l
                may            or                                              1;r imlircci.ly. his inll:tl'S! in                          ( 'nmp,;my              1lr
                Cayman Co at any time prim lo the full eimversion nr l\:1!t:mp\ion of the Note or
                th1.: Conrcnible                                                       tlw fiJrlJ,1ling trnnsfor               tir     ri.ssignnHcnt         will nut
                n:sult in t!1z: Own,:r                                  to     the Company's and the Cayman co·c; ac!lw!
                controlling person:                                       further that if the       transi~:r or
                will n,,;sult in the (hvner                                        lo !he Cumpany·s and                      tlw Cayman Co's 1.1c!1ml
                                                                                                                ~   '   t      '   '            '      ,
                             jJ\,   t,   ,'I-\   J.Hi /:ti~,   'it u dU,-.t;;..}                     in   \\   dt i~;... ,idt~j\.i..,.,t   itJ ,,ih,   t11'v..,,

                prior wriui·n consent.

        5. Ll

                        The Company, ih-: Cuynrnn Co uml t.hc                '.,hall, and the Owner
                        slwll cause the applicable (irnup 1\,k·mber;:; and the (          { '.\impanies
                        tn:

                                                   an llH.' su.;ps of the           in acrnnbm:t' 1viil1 nll
                                         applicable laws and                          to the· l m estor within
                                         Ii months ,.dh:r the Issuance Dmc. which will resuh in a
                                          sJructUI\.~



                                                                          each Onshur,'. Comrm:t in wlikh it is a pam m
                                         :H,c1mlm1cc wi\h tlw ten,Vi

                (h)     So       n:; any off.hi: Not-·: or tlw
                        lht: fhvn0r slia!I nnl without r.hc
                                                          cncumh\:,r. gnmt a
                                                 Ill' suffer to ,:xist                                                                                 or lnw nr
                                     any Erwwnhnmct~ on m1y


                                                                   ;,Ssds          n:btc:d hl the:                           Brnmlt."'.,S hdd nr o,vncd
                        h) an:, Anili;1it' nf'\li•i (hu1c:1 n\h;~r dwn !lw Cin\np :ind tht' nn,.,ho1\:·
                        (                                          be                      or                           h1         Onshore                               11r
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                    Hu: WHJL, as the case may be, within 12 months follo,ving th,: liisu.mcc
                    Dat,:. whidi may be extended subjct:t t1J thr.: lnve:,tor's prior wriHen
                    consent:

                    (i)      all the employment ugn:crm.ints of Xing FE>4G {?bf), Lin l'vlA
                             (i~      Zhizhong AN()~: ;J;,), llmnliung CU.I (H-'.i'& t~l) ,md
                             7.hisheng DONG         fr);

                    (ii)     all the rekvant intclk~ctua! Property;

                   (iii/     all    nmtcrial contracts. including but not limit.:d to. ptH'dms"
                             contracts with suppliers and sn!cs contrm.:ts with customers: and

                   (iv)      all the npplicabk: licenses or pcnnit:; required by law ur
                             ;;1pplk<1bh: Governmental Authority to conduct the Existing
                             Business.
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                                                     SECTH>N ti
                      CON                          RESTRICTION OJ\                              FNTS
                                                                                                    not
                                                          directors. equity intcrcsl holders. partners.




                                                         the
                                             finm1c,~. marketing. l1usitwss plans. t.ransw.:ti<m-; m
                                     or ,my Group ivfornh,;r or any of thdr               di1\:c1nrs.
             ofliccn: nr                (vvhcther ,:nnvcyed in \Httlen. mal or in any other form
             and whl.'.thce such infom1ntion i:-: fnrnis!wd hcd"tm:. on or afkr the dat<.c of' this
                            and ii) the terms and             of this Aµrc~nwru. t.b1.: Lmm
                           and !he Om;lmt\: l\1mracts (nlhtir l!ian the Bnstl'. !>ocumcll!s that ar,:
                        h} law or :my npplicnbk Oov1.~mnwntal Authod!y lo bi.:. publicly t'ilcd
             m               (col!cctivdy, th1:               Tcnnt1" ):           that Conlidcniiai
             lnf'ormation drn::i not indnde informmion that t.D is or l11:.·crnncs pubtidy known
             or available through no breach o!'this                      is rightfully acqt1il'l:d frr..:
                              m1 its disdosun::, or (iii) is                dcvck1r1t•d ,vi!h11u! any
                                    tu ;my Confofomial lnfornrntion.

                                              ofSc,:tion 6.l sl1:1H nm apply tu:

             ( ;) )                 a Pany to                                 that such
                                      (il b umkr n ~imrit.H obli,rn1fon nfr:,mlldemrnlity or (ii)
                      is Dthcnvi~c under a binding                            of cm1ttdemi:tH1y:
             (b)
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                        or such Cnnlhkntial lnfonnation tu t1 third party in conw:~ction with ,m)
                        cxisling or proposed t.rnnsactiou or other contrm:tual rt•latiom;hip of any
                        Grnup r. kmbcr or lhdr Affiliatt~s. lZt::UXi.t.lefl that such third party (i) is
                        \Hltkr a similar obligatiun of contidcmiality or (ii) is n1hcrw1sc tm,kr a
                        binding prnfossinrml obligathm nr confidentiality,
         6J     l~h;hJJfily, Except as n:quired by Jaw. by uny Governmental Authority, by any
                relevant stock exc hang 1: on which lhc shares of a Party or its parent cnmpany
                an: listed or nthcrwisc agn:L'd by all the Partk:s, no public rdcasi..: or public
                amimmccnient crn1t'.t~rntng the relationship or involvcmL'.nl of the Parties slwD be
                made by any Party.

                                         SECTION 7        FEES AND EXPENSES

         7, I   ~~J5::!1t!.. Each Pany s!u1II pay all of its own costs an~.l expenses im.'.UlTcd in
                connection with or n.:lating to !be nt:gotiatimi, execution. deliwry and
                performance oftbc Basic Docum(:nts and the trnnsaction contemplated thereby
                Each or !he Parties hereto shall bear its mvn costs and expenses in eo1mcdion
                with the negotiation . ..::xccution, ddiwry and pcrfornrnncc or this Agreement
                and the other Basic Dncumt.'.llt!:: and the transactions contemplated h,·rcby und
                thereby.

                                          sr~CTION Ii      INDEi\ll'ifflCATION
         8.l    Sc(rnc urI11dcnmification. Each Party {an "[ndcrnnifvingY.uty") shall
                indcnmif)· and hold the other Parties und thdr directors. officers and ag:ent:-
                (co!lcctivdy, the "J.mJgm11Uk_v Partv") harmless from and against any losses,
                claims, damages, liabilities, judgments, lin1cs, obligations. expcnscs and
                liabilities or any kind or naiun: whatsoever. induding but not li1nitcd to crny
                invesligntiv1.:>, k~gal and other cxpcnsl!s incurn.:d in connection with, and :.my
                amounts paid in scttk.mcnt of, any pending tW tlm:mcncd legal action or
                procc1:~ding, but excluding consequential damages, special Dr incidental damages.
                indirect dmnagcs, punitive damages. lost profits, and diminution in value
                (collectively, "1srn,'i!ic.f') resulting from or arising oul of: (i) the breach or any
                warranty of such Indemnifying Party con1aitwd ln the Bask Documents or in
                any schcduk' or exhibit hert.~tn determined without regard to any materiality
                qmilitkr therein: or (ii) the \'iolatio11 or nonperformance. pn!'tial or totnl, of nny
                covenant or agreement of such lndcnmifYing Party cnntaim:d in the Basic
                Documents for reasons other than gross negligence or willful misconduct ol'!hc
                Imknmi.!fod Party. The Company. the Borrower and lhc 0-wncr :,lmll jointly
                and severally indi:nmify th1.: lnvcstm' and its director:;. ol1kcrs. and agents
                harmless and against any Losses resulting from or arising out of: ('i) the breach
                or any wmrnnty or the Company, the Borrower and 1hc Owner contained in this
                Agreement or in any schedule or exhibit hereto determined without regard to
                any mate1fali1y qualilfor therein; or (ii) the violation or nonpcrformam:e, partial
                or lotaL \)f any covcimnt or agreement tht.· Company. the Bon\1,,\'.r ur the
                (hvner con!ained in this Agreement for rcai,ons other than grnss 111.:g!igcnci: \lr
                wil! fol misconduct of the Indemnified Party. l n calculnting the m11ount of any
                Losses uf an fndt:rnnificd Party hcr,~ulhkr. lht'l\: shall be suhtrncted ihc amount
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                                                 ng
                                      t""''···'··'·''···''"··''·' that any or
                                     only \vi!h th,: ,vriu.1.m rnnscm of 1!w tndcmnil1ed Party.
                which cunscrn shall not              1.mn:wmnably                 lf lhc
                lntkmnirying        elects not rn nssunh: rhc dcfonse nr foils tn make sw:h an
                dcdinn with the        period. tbc Indemnified         m:iy, nt its optfrm, dl'i~:o,L
                    comprnmis,'. llr pHy such ac1iot1 or ,:laim:          that fmy scukrmml or
                cDmpmmis,: :shaH be p,mniued !wn:t.mder unly wi!h ilw written cun:-:,mt of th,:
                             Party, whkh ctinsent slwl! nol b(: unreasonably withheld or




        <J, 1                                                    shall hccmne dfrctiv.:• upon
                                                                   in rmc~: until ll:nninated i11


                                          This
                th1;' lssmmcc Date as follows:

                       al !he dcction of the lnwstor, if the Company,         norrmw-r. the Wl'U!S:.
                       if app!knhk, or the Owner has m11tcri:tlly bn:ached any Cu!h:c:rivc
                                  , or any Nh!."r covenant or                  Crnnpnny !he
                       Borrower the \VF()E, if         icablc, or th,: Owrn:r         in nny !t1c,i,:
                       Docmiwnt which               cannot
                               is nc>t cmcd within 30
                                     and th<..' Owner

                (b)


                                                                        which hre,tdi cmmm ht:
                                                               1101   cured \Vllhin JO   nlicr t!w
                                                           of th1.: sank,.: or

                iC)        written ,;;on.•,cm of'iht C        WFOL if                 lhc (hvm:'T
                            the: hi\'1::Stor.
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         9.3                  Ir this Agreem..:nt ls h:nninuted in accordance with Section ':U. it
                  shall bt.1comc void and of no further frm:c and            except for the: provisions
                  or Scl'tion 6 (Confidentiality; Restriction nn Amiotmcemcnts). Section 7 (Fees
                  and l:xpcnst.:s), Section 8 1lmkrnnHkatio11). 1his Sct:tion 9, s,:ction lO {>ioticcs).
                  Section ! l (Miscdlaneow;), and Section l 2 (Governing Law nnd Dispute
                  Ri.:solution): provided. hows~J', that such tcnninathm shalt. unless tlllwrn isc
                  agreed by th~ Pmtics, he 1,vithouf p1·ejut!k1.: to the righh of any Party in rcspec!
                  of a brcad1  or this /\grcemcnt prior IP sud1 termination.

                                                   SECTION      rn    NOT!('ES
         HJ. ·1              Each notice, ~h:mand ur other et.Hrnmmkathm given or made under this
                  Agreement sball he in writing in English and delivered nr sen! t.o the rdenrn.1
                  Party ai its address ur fox number set out below (or such nth-:r adJr\:ss \ff fa;.;
                  mimbcr as the addn::sscc has by five days' prior '"Till.en notice spccifo:d tu the
                  other Panics'!. Any notice, demand or other communication given or mndc hy
                  !etk:r between countries shall be delivered by air mail. Any llOlict·, demand or
                  other communication so addn:ssGd to tb,: rdcvnm Party shall b,: dc,:1rn:d to lmvc
                  been delivered, iii) iJ<lcliven.:d in person or by messeng~~r. when proof nf
                  delivery is obtained by the delivering party; iv) il'scnt by post within the satnt:
                  country. on th.: third day folhm,ing posting, and if sent by post to arwthcr
                  country. on the seventh day liillnwing posting; and vJ if givt·n or rnmlc- by fox,
                  upon di»pntdi and the receipt of' a transmission report conlirming dispatch.

         l 0.2    Afi~h:lcl\S£~),11(lJ:)p;J:,itHI1llt;.rn. The initial address and focsimik f(x each Party
                  li:.1t thl' purposes of this Agrcenwnt an::

                   if to the Investor:

                   Room 707, 7th Flo,ir, No. 8 Yongan
                   Dongli, Jianguo Mi:nwai Avenuc.
                   Beijing. PRC
                   Attcnt ion: Xiaosong Ge ( .f;:i 1j, H~)
                   Facs.irni!e: ; 86 13699278536

                   ifto the Company, the Borrower or
                   tlw Owner:

                   l 6/F, Lt·shi Uuilding. No. l 05,
                   Yaojiayuan Road. Chaoyang Distrkt,
                   lk\iing, 100025, PRC
                   Aucntion: Wd DENG tXl;fb)




         l I. l                  .6~Jis.m.. For tht: avoidmm: of doubt. any obligation on the part o!
                  the h1v(:slor lu mnkc the inwstmcnt hereunder is made snkly h) the Company.
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                 the Bon·nwt:r. the
                 shall h,1vc any

        l J .2                                                do nol inwn<l         tti   form a
                                                  or limited, under any jurisdit:tion\ partnership law.
                                                                   one tn :mother, or panw.:rs as tu any
                 third party. Oi' crcaw any                                 mmmg thcmseh·~:s.
                 vi rim: of the lll\Tstor's :,;!ntu'.1 as the: hPld,·r of the Nott: or thv (




                                                         :w
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         llJ                       This !\gt\:s::rncn! rnay not be amended, modifo.:d or supph:nwm.:d
                  except   by a ,vrittc11 iHstrnm,:m cxccLitc<l by each or tilt'. Purncs.

         l ! .4   \Y..nin;r. Nu ,hdvcr ol·Lmy provision orthh. Agrccm1;,•n1 shall bi: cf'kuivc unkss
                  set forth in a writkn instrnm(:nt signed by tbt: Party waiving such p1\ivision. >Jo
                  failure or delay by a Pw1y in ,·xcn::ising any right, pow,:r or remedy 1md.:r this
                  i\grcemcm shall opcrntl' as a waiver thereof. nor shall any singk 1,r purtial
                  exercise of thi.: sarm: preclude any !'ml her excrci!:tc tl11:rcof or the 1:x1.·rdsc 01· nny
                  other right. power or remedy. Without limiting the foregoing. no wniver hy a
                  Pnrty or ,my breach by :my other Party of any provision hcrcor shat! be dccm1td
                  to be a waiver n r any m1bscqu1:nl brcm:h of !hm 1.ir any other pm vision hen:of.

         f I .5                             This Agreement (tugtllu:r with the othcr l.3asic Dm.:rnm;nts,
                  any l•thcr documents rcforrcd to hcr1..~i11 or thcn:in and uny documents cxccutl'<l
                  lo irnpk:m1.;nt the transactions contcmplah:d by the Bask Docmrn:nt.s)
                  constitutt:s tlii:.: \Vholc ag,n:cmcnt bciwccn th1..· Parties relating to the: subject
                  matter hereof and supersedes any prior ugrccments or understandings rdating io
                  ~uch subjet:l matter.

         11.6     ~i\LYs:rnhUJ!y. Em.:h and C\'Cry obligation umkr this Agrc,-:.mcnt shall be trentcd
                  as a separate obligation and shull b1: severally c11ron::.:abk: as such and in th~-
                  cvent of any obligation or obligations being or b1:enming uncnfon:cnblc in
                  whole or in part To the extent tlu1t :my provision or provisions of this
                  Agreement are unenforceable they shul I b.: ckcmcd to be deleted from t:his
                  Agn!emcnL nnd any such deletion shall not affect. thl' <:nlbn:cnbil itv of this
                  /\grC(!mt:nl as n::main not so dcklcd.

         t I. 7   ~'..111,mJ<,;J:1~<!!'.L:i, This Agreement may br: ..:x ...·cutr:tl in one or mnre t:otmtcrparts
                  including counterpart:; trnnsrnittt'd by tch:copicr m facsimile, each l>l' which
                  shaU be deemed an 1iriginal, hut ul l or whid1 signed and taken togethc.r, shall
                  constitute one docum(!nl.

         l l .8   ConscntJo~pccilkYi.:r!<.Jnnancc. The Parties declare that it is impossibk to
                  measure in money the dmnagcs thnt \Vould be suffered by a Party by reason of
                  the failure by any other Party to perform any or the material obligations
                  hen:under and that, in addition to aH oth.:r n:mcdics. each Party will Ix· cntitkd
                  to st:ck specific pcrforrnam:e nnd to seek lnjun.:tivc or other equitable rdh:f as ,1
                  remedy for any such breach or failure to rcrform its nmterial obligations
                  hcn:unrk~r.

         l 1.9                                This /\gn:c1m:nt .~hall inurc 10th,: lK:ndtl or ;;md lK·
                  bi.nding upon the Parti,is, and their respective successors and pcm:iittcd assigns.
                  This t\gn:cn1cnt shall not b1..! assig11ed \Vithout the express wriUt:.'.n consent of all
                  the Purties (,vhich l'.LH1scnt mny b(: grunted or "\Vithhdd in the suk dbcn:tion o!'
                  any Panyl. and any purporkd ussignmcnt without such con;;..:n! shall b(· void.
                  UUD.'IJ]i'J/Jhat to th0 DKknt permitted by the npplkablc laws, th...: lnn~stor shall
                  be Glllllkd lo trnn:-;for or assign its rights and obligations wider tlw Husk
                  Dtic111ncnt:, to any uf ii:; Aniliatcs with a prior wrillen notict: to th4'. Crnnpuny.




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                                                              J-l
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                                                                                                       .I y
                                                                             TO Tl IL
                                                        OF l j\ w or ANY JUR!~D!Cl!



                 (;1)                      controversy or, daim m di               nf wiy kind \Vhatsocvcr
                                   ,ml oC             to or in                   thi;,:
                         including the                  vn!ldil.y, inkrprdatiun, pcr!l1nn,ml'l'., bn:::1d1 ,w
                         termination              thc: validity, :;cu1K' and                  of this
                                        provision am! any
                         ohligntions arising out             rdnting to i1 (the
                                     to nnd finally rvsolv,:d by :nbiirntinn ndminis1i:1vd
                                  !ntc:rnatiomti /\rhiirnth.111 C,:ntcr (!he             in ,.\(:con!:mtt'
                                      HK!AC arbitration ruh:s in fi.,n;-.; nt ,he          the
                         o.mm1enccnwnl or the arbitration. HowcnT, if such rules are in con!hci:
                         with th1: provisions ofihis Section LL:, including the prmisions
                         conccn11ng rn,: appmm1nc1H ol an:mrntms, we prr,v11nU1t/i ui nns .)L·,..\1un
                         12 ..! :;hall pr(:vuil.

                         Tlw la1.v orthi:-:. mbitrniion dtrns..:: shall   IK'.
                         nrhitrntion shall bt: ! long

                 {I.:)   The numbL'.l' of arbitrnturs shat! b(·      and th.::          1.J the
                         arbitn.H.ion proct:edings and wrilh.:n dt:tisinns ,lr correspondcnc;; ,,hall be
                         l:nglish.

                 (d)     i\ny party to the Dh;pute shall be t~nti!fed lo !;eek prdiminmy inim1ctiv,:
                               iJ possibk, from any t:ourl o!' crnn1wkn!                       fhc
                                      of th1;
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                         IN WITNESS WI IEREOF this Agreement lms bt:en executed on the day
         and year lirst almw written.




                                                  COMPANY:




                                                  CAYMAN C(>~




                                                  BOimOWER:




        O\VNlU~:
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                                   SCHEDULE l
                    SHAREUOLIMNG STRUCnnu:: OF nu; GROLP
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                               SCHEDULE 1ii

             STRU(Tl:RE (W TI-ff.: GROUP AFTER COMPLETION OF RESTRl:CHJHJNG




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                                               COJJ,ECTIVE \Vt\HRANTIFS




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                    organized. is validly c:xisti11g aml. wlttn.: applicable. is (i) in gnod
                    standing and (ii) in wmpliam;c with nll rcgis1rution and appniva!
                    PJquin:mcius. Eadi of the Gmup JVkmbcrs and the Onshon: Companies
                    has the corporate powc•r and aurhority to own and opt·rnte its al\sds and
                    prop,mics and to ~:arry on its business m, rurrcmt!y .:onductcd and as
                    t·imtcmplatcd !o he condm:tcd.

              (b)   Chatter Do1.:umcnts. The Cumpany Charh~r D1i.:umcnts and the
                    constitutional documents of the Onshore Compunics thmislwd to the
                    !nvt•stor arc ertcctiv<.\ have not been supcrscded and are lnic and
                    t·1.m1pktc.

              (c)   (\1pita!ization and Shareholding Structure of the nroup. Tht.::
                    shardmlding strm:turc ofihc Gmnp set forth in                     are trw.\
                    complete and correct description of 1hc share capital of such entity on
                    the daw hereof and on the Issuance Date. lmmedimdy following the
                    lssuatu.'e Date, the ntllh1>rized capita! of the: Compm1y \Vil! consist of
                    only one du&s of shares, namely, 50,000 Ordimwy Slmn:s. pnr value
                    US$iU)00l per shnri:. 10(?!'\) ofwhid1 arc duly and validly issued, fully
                    paid, nonasscssable, and outsumding, and ,vcn.: issued in accordance
                    with all upplkable laws.

              (d)   Options, \Varrnnts and Reserved Slrnrcs. Exccpl ror (A) the Note or the
                    Convertible: Nolt', ifupplkahk, and (B) lhc prcforn:d shares issuable
                    upon conwrsion of thi.' Note or the Convertible Note and any rights to be
                    granted pursuant to the Bnsic Documents, there arc no outstanding
                    options. warrants, rights (induding conversion or preemptive rights) or
                    agreements f<)l' the subscription or purchase from any Grnup Mcmbl.!r of
                    any Equity Securities of any Group Member or nny securities
                    crnwcrtihle into or ultimately cxdmngcablc or exercisable fol' any Equity
                    Si.'curities of any Group Member.

              (c)   Otlwr Rights With Rcsprt:t to Shares. Except as provided in the Basic
                    DocunH:nts, no voting or similar ngrecrncnts cxi::.t in relation to the
                    Equity Securities or any Group rvlcmbcr that arc pn:scntly outstanding or
                    that may hcn:af\cr be issued.

              (n    Subsidiaries. Suw for the !IK Cn and the \VFOI:, if applicable. the
                    Company docs not dirc:ctly or indirectly o,vn any interests in or Control
                    any other entities. Neither of' the 1IK Co or the \VFOE. i r appl icahlc,
                    dirc~:tly or indirectly owns any intt:.;rcsti, in or Con!mh any 01hcr cntttil's.

              {g)   Cnq1omtc: Ri::..,:ords. The regis!ers of shareholders, resolutions and all
                    other documents or the Group rcquin~d ll) be kept or filed with any
                    t\:kvant Govcrnme11tn! Authority have been lo:pt, filed or submitted fr>r
                    !lling.

              (h)   Competitive i\t:tivitics. The Ownl..'r docs not hold any equity inll.:n:s!s in
                    any ,.'.ntily that carric:; tm :my busiw:.:ss tlmt compt:t.:;; with Ille husint::,s of
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                     conversion of the '40lLc or tht> Conwnih!e '.\ule            he       nuth,Hi,'.cd
                     rind        issucd, fu.lly paid and l1\J!htS!·\1:ssahh.:. fn:t: of n:s!rictions c,n
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                     Note or the Convcrtihk :'-:,1tc nm! :my nppl icabk sccmi1i,•s of c1.wpornic:
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                     Owner m fh,: Om,hore Company is a            will. wht'.n cxccntcd . fK the
                          m1d          obligntfon of snth Group Mcmb,:r, tb} Owner ,,r the
                              Companj\                against       Group '.vkmbcr, th,: Owner
                                   Company, as applicahk, in a<:cordm1ce vvilh i!wir
                               terms, e:,;ccpt when: sud1 l'l\forceability may he limited by {i)
                        icnbk:                                             morntodurn: ( ii l
                                                                         iy; or (iii) nny
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                     nr any other Person required in cnnn,.:dion wilh           t:~ccutiun. ddiv...:ry
                     ,md                  li1('        th(' 1)11sh,wc (               :md the Owner
                     ofrh..: Bask D11cumcnls 1.H' the c\\n'.-;utrnmttron of the twmilh:1iom;
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                                                    and             any Group \.kmbcr, the
                                            and 1h: Owner of each ,.,r the Basi,'. ! Ylk'rnncnts !n


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                   (i)      btl'm:h or ,:onstitulti n defoult under the (\lmp1.rny Charter
                            Docunien t;; or th,: constitutional document of any other ( iroup
                            rv!ember or the Onshore Company;

                   (ii l    n~sult in a 1.m:ach ot: or c:onsiitutc a default under, any Co11trnct to
                            \\hkh any Group Member. the Onslrnn:. Company tlr the Owner
                            is a party or by which sud1 Group lvkrnbct, the Onshon.:
                            Company or the Own1:r or tlwir n:spcctivc properly or asst'.ls is
                            bound or result in lhL: crcutlon or increm,ing of any obligation cm
                            sud1 Group M1.1mber, the Onsh1.m: Comrany or the Owm:r
                            (wh.:thcr tn make payment nr otherwi;;e) to any Person; or

                   (iii)    result in a vio!ati~Hl or breach 1,1f or <lefoult umkr m11 npp!icablc
                            lmv.
                            except, in ihc case of,.Jauscs (ii) and (iii). as could nnt mull.!rially
                            nod adversely am.::ct th1.: ability of any Ciroup Member, Hll~
                            Onshon: Cmnpany or th1; Owner to carry out its ohligntions unck:r,
                            and to Cfnmummntc the trnn~actimi~ conlt:mplatcd by. the Bnsk
                            Dt)CUJT1cnts lo which it is a pany.

        3.    LEGAL COMPLIANCE

             ta)   No Violationo(LawJ None of thc: Group Members or the Onshore
                   Company is or bns ut any time been in violation of any applicahlc law or
                   regulation, which may have a material mlv,'.rsc dlcct on the ability 1)f
                   any Group Member to conduct its bos[ncs:- as cm'!'cntly conducted or as
                   conkmplawd to be conducted.

             (b)   Pcrmits_mid Registrations. Each Group rvkmbcr and the Onshore
                   Company has all Permits and lms completed nil government registrations
                   necessary fix the conduct of its business as currently conducled and as
                   contcmpluted to be condm:tcd and to o-wn its assets. Norn: of the Gwup
                   Members or the Onshore Cornpany is in tmtti::rial breach of or tkifault
                   under any such Permit, and there is no reason to believe any such Permit
                   shall be suspended, cancelled or revoked.

        ,t    ENVIRONMENTAL ISSUES

                   Each Group l\,Iembl':r and the OnshMc Company is currently in
                   crnnpliancc with all Emirunmcntnl Laws und has mall tirnes 1.:umplicd
                   with all Environmental Laws in al! material aspects.

        5.                    AND ASSf£TS

             (al                                        Fach GnJUfl l'vlemlwr and the <Jnshon:
                   Company owns or bas the right t\l us,~ nil material properties und assets
                   curren!ly u::;ed hy it in the conduct ofits husim:ss as current! y conducted
                   nnd contemplated tP bL' conducted. Th(• prnpenh:s and ass,'.ls m\TH:d by
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                     in acemdancc with pnst



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                             inkmion tn tcnninaie any sw:h nmtcrinl con1ract.

                     (ii)     lo the                    of the Company the WFnE nm! the
                              Owner. mi pany with whom a Group l\.fomber tw an ()nshnre
                                           has entered inf(l any mmerial wnlrm:t b in default
                              lhcr,,;under. except for <kfoulb which would 11m lmw :1 rnatctinl
                                        efli)cl nn    timmcir1l eoncH!ion of the Onmp or the
                              Onshore Comp:mies; 10 the best                  or !he
                              WH)E and the (hvrwr. thtTt nrc mi
                                   to any such ckfoult.

             (b)                                                     or inv,:stmenl bitnk('r is ,:nti1lcd
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              (,b)   EixHm£ia1J\:Inl9l'.!£!lti,
                                            All the accounts, books, rt~gistcrs, kdgt:r!> and
                     linant:ial and otht·r marcrial r\:conb of whntsocver kind or each Group
                     l'vh:mber and the Onshore c:ompany \Vhic:h have been provided to tht:
                     hwt·stor arc accurntc and wmpktc in all material respects: and they
                     present a truc nnd fair view ilfthc financial, contrm.:tual und trading
                     posith111 ol' each Grnup Mcmbi.'r and th.: Onshore Company and of its
                     respec1ivc facilities mi<l machinery. flxl:d and current assd.s and
                     liabilities (actual and cuntingcnt). ,kbtors, cn:ditors and work,in·
                     progress.

              T

              (a)    ('qmpfomcc.witb   Lnw11. None Pl' tl1e Group ?vkmbcrs or the Onshore
                     Company is or lms many time been in \ iol<11.ion ur any applicable law or
                     regulation regarding Tux which nm} result in any liability or criminal or
                     mlministrativc ~am.:liun or otherwise having a rnatcrial adverse cflcc! on
                     any GnJup 1'vkmbcr or the Onshon: Company, other than such violation
                     that has been n::ctiffod or resolv-:d mid dot~s not have any forcsccnbk'.
                     liability or criminal or administrative sum:tirn1 or otherwise,

              (b)    Tax Returns and Payments. Each Group t\kmber or the Onshure
                     Cotnpnny hus tiled all tax returns nnd rcpmts a;; required hy law, and
                     such returns and reports arc true and co1-rcct in nil tnutcrial respects.
                     Lach Group iVkmber or the Onshore Company has paid all ta.'<es und
                     other assessments due and none oftlw Grnup Members is or ,vill become
                     liabk lo pay any line, penalty, surclmrgc or interest in relation hi Tax
                     with n::spct:t to activities of any Group Member prior to the Completion
                     Dall.!. There have heen no cxtnmrdiuary cxaminatiom; m audits or any
                     tax returns or rcpnrts by any applicable Govcrnmcnta! Authority. There
                     arc in   cflcct   no waivers of applicable statutes nf limitations with respect
                     to taxes fbr any year.

              (c)    DcdudionsrmdWithliajdi.!1£S.. Each Group ivkmbcr and the Onshon:
                     Co1npn11y has mm.le all lkductinns and withholdings in respect, or on
                     acctiunt, of any Tax from any payments made by it whicb il ts obliged or
                     entitk:d to make and has duly nccountcd in full to the appropriate
                     authority for all ammmts so deduck~d or withhdd.

              (d)    Jlxi;Jcrn,:dJJi;.; Tn.:m1ncnts.
                                                All ,:>,emptions, reductions and rebates of
                     ·raxcs granted to the Group by a Go\·L·mm1.:ntal Authority arc in full
                     fbrcr: and effect and have not been krminatcd. To the knowledge of the
                     C\)mpnny, the WFOF, if applicable, um! the O,\m:r. the transactions
                     ccnll<:mplated under the Basic Documcnls will not and. thcrc is no uthcr
                     drcum:;\am:c or event tha1 wilL n:sull in any such cxl'mpti<in. 1\:duclim1
                     or rchatt being cancdkd or tcrmbmtd, whcthcr rctnlaclivdy or for the
                     futun:'.,
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                  Onshore Company to ,:nnduct irs

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            (b)                                                                     1:xcepr ::1s
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                   dcfoull with n:spcct to any urdcr 11/' any Governmental Authority to
                   whkh it/he is a party or by v,;hich it/he is bound. Nd!lwr Ldi.:ng Mobik
                   nor ihc Owner is in default with respei.:t to any on.14:r of nny
                   Oovcnimcntal A.uthorily \vith rcsp,·ct to the J,.xisting Business to \vhid1
                   il/hc is a party or by which it/he is bounJ.

             (hj                              No Utigntinn is pending or. 1.0 the knrnvkdgc
                   ofth,: Chvn1:r, the (\m1pany and tht: \V'FOL if applicable, thn.·nt(·ncd
                   against nny Urnup Member. or lhi: Onshore Company: no L.itigation in
                   rdution 10 the Existing Business ii, pending m. lo the kru:nvlcdg.: of the
                   Owner\ th.: (\impany and 1h11 Vv'HJF, iC :.1pplicablc, again.st l .1:kng
                   f\fohik or the Ovvncr.

             (C)   '.\iq l)mh;:rtaking~.No luilnwtion. None of the Group Mi.:mhcrs. nr the
                   Onslmrc Compu.ny nor nny slrnn:h11!dcr. dircdor, omccr or agent of any
                   of the fo,,..going entities is party to any U11<krtaking t)l' assuranci.: given m
                   nny Govcrnmcntu1 A11thority or the su!:it:<:t of' any injunction that is s!il!
                   in force. Ndtlwr Lctcng ivlobile nor any urits sharchokkr. director,
                   uffo:cr or agent is party to any tmdertaking or nssurancu given to any
                   Governmental Authority or the subject nf any injunction that is still in
                   lclrcc in rdation to Existing Business.

             (d)   No tnsolvency. No order bus been made and no resolution has bt:cn
                   passed for the winding up or liquidation as dissolution of.my Group
                   Member or the Onslmre Cnmpany. No distress, CXL~cution or other
                   process has been levied on the ,vhok or a substantial part of the assets of
                   any Group Member or the Onshore Company. None of the tiroup
                   Members or the Onshon: Company is irnmlvcnt or unahlc to pay it:, debts
                   us they foll dtie.

             (c)   No Investigation orJru:gurv. No Ciroup McmlKr, the 011shnn:· Cnmpnny,
                   or the Owner (in relation to the foregoing cntitks) hi the subject ofnny
                   investigation or inquiry by any Governmental Authority with respect to
                   ih<2 Existing Business and then.' arc no focls which an: likdy to give rise
                   to any such investigation or inquiry.

        U.    lNTELLECTVAL PROPtm.TY

             (a)   Fuch Cinmp l\kmber and the Onshon.· Cornpany owns or uthcrwi:;;c hus
                   the       or license to ust~ a.II lntdlcctunl Property as necessary for thl:
                   npcrat.inn or the Exis1ing Business with,m1, !o the knnwkdgc or the
                   Company and the Owner, nny violati<m ur i11ihngcnK·nt or the rights of
                   any third party, lh:c and dear nf all Fncumbrnnccs. There is no dnim.
                   proceeding 1 )!' litigation pending t>r. to the knowkdgc oft.h.: Company
                   and the (hvner, threatened r1gainst any Group J'vkmbcr or !he Onshore
                   C<,mpany. contcstinLt lhei:- right to use its Jntclkctual Property . asserting
                   the 111isusc thereof. or asserting the infrin1::cmc11! or oth.:r d11!a1ion nr
                   any !ntdlccrna! Property or uny third party.
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                   his/her                     \Vmdd C(Wdlkt with the busines.s of his/h,'.r


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                   scrvk·,:~ rendered tn il.



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                                      INVESTOR W ARRANT!.m.;

        I.   Qrn:::miz~1timL...DJ2J.2JL$tm1~1i.ng_a11d QlliiliH~:ini911. The tnvcstor and its uencrnl
             partner han: been duly established or incorpo~atcd and organized, is v;ilidly
             cxi:nini;, and, ,.vhcrc applicable. in good standing.

        2.                    ·11ic Investor has the foll power, authority und kgnl right to tlW!l
             nsscts and carry 1m its business. The lnvcs!or and its general part.rte!' arc not in
             rccc.ivcrnhip or liquidation or have taken any s!t.~ps to enter intu liquidation. und
             no pl'titinn      been presented for the ,,inding-op of the Investor. There arc no
             grmmds on ,vhkh a petition or application could he hast'.d for the winding-up or
             appuintrncm ora n:•cdvcr ol'llH: lnwstor or its gl':l1l'rnl partner.

        3.   The cx1:cution, deli v;:ry and pcdbnmmcc nf' !his Agreement. hy !ht' l11vcstor ,,ill
             nnl:

             (a)      violate any provision of its purtncrnhip agreement or the Mcnrn1·amlurn
                     or /\ssodation    M   Artklcs of i\.ssodalion of the Investor's general
                     partner:
             (b)     require the investor to obtain MY consent, approvtd or action oC or make
                     any nling \Vith or giw ,my notice tn, any Governmental Authority or any
                     other third party pursuant to uny agn:cmcnt to which the Investor is :i
                     party or by whid1 lhc Investor is bound;
             ( c)    conflict \.Vith or result in aoy material breach or violation or any or the
                     terms and conditions Pf, or constitute (or with nolicc or lapse of time or
                     both constitutt.:) a dt:l'ault umh.:r, any agreement to which the Investor is a
                     party or by which lhc lnvt:stor is bound:
             {d)     violate any court order, judgm1:nt. injunction, award. dccrL?C or ,vrit
                     against, or binding upon, the Investor or upon its M.1curitks, propcni1.:'N nr
                     bm;incss: or
             (d      violate any law or rcgulminn of th: co1mtry where the Investor is
                     incorporated or any othcrjuri:,;dicti\ln in which the lnvc:,tor maintains a
                     busi nt~ss presence.
        4.   b1foKcnhiH1v. The h1vcstor, acting thn,ugh its gcncrnl partner, !ms th.:~ full
             power nnd authority to enter into, execute nnd deliver lhl! Basic: Documents t(•
             which it is a party and to J)(.irform the tmnsnctions cQtHc:mpiated hereby and
             thereby. !'he t:;>.;ccution and delivery by the Investor, acting through its gcncrnl
             partner, of the Bask Documents to v,:hich it is a party and the performance: by
             t.l1t.• Investor of the: trnl!suctfons contemplated hereby and thereby have b,:cn dul~
             uutlmrized by all nceessary corpomtc or other ac.tion of the hwc:shH'. A:..swning
             the due nuthmi;.,at.imt. execution and di.:livcry bl.".rcnl' by lh1: 01.bc:r parties hereto.
             the Bask Dncmnents tu which the lnvcst11r is n party eonstilutcs the lcgaL valid
             and binding obligation or the Investor. enrore..:able against the hwi.:stor in
             !K\.'Mdnn1.'.C with its t,::rms. CXCL'pl as such enforceability mny bl'. limited by (!)
             applkahk ba11kru1ncy, insnlvc1h:y. rcorganiza1.irn1. moratorhm1:(ii) simibr laws
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             cnnl11i1wd in ilic          l)uctm 11:nL,.

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           RIGHTS AGREEMENT lil:ftrit~Pl ( 1-.x T ~:f.t. "~I ;t.{4:-" ) , it,~ lil # 1.t'!-~
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                                                   CommUmc1d Letter
           For the purpose of overseas financing, Leshi !folding (Beijing) Co L!d.'s affiliated company Leview

           Mobile Ltd., (hereinafter referred to :1s the "target company") intends !n issued convertible bonds

           (hereinafkr referred to as "convertible bonds") to Beijing fluaxing Mobile Asset Management

           Centi;w (Umited Partnership) and i!s affiliated compll!lics.

           For the lssmmcc of convertible bonds, the target company and its afflHated comranies have signed

           the INVESTOR RIGHTS AGREEMENT and foan contract (hereinafter collectively referred to as

           the "tran$aclion document") concerning the subscription ofcmwertible bonds on May !8, 2015,

           agreeing !hat the domestic affiliated companies of the target company wlll borrow RMB    mo million
           frorn Beijing liunxing Mobile Asset Management Center (Limited Partnership) and its alliliated

          companies. BcUing Hwixing Mobile Asset Management Center (Limited Partnership) and its

          affiliated companies shall have the right to obtain convertible bonds equivalent lo us dollars issued

          by the target company,

          According to the terms of the transaction documents, the target company will repay the principal of

          the convertible bonds and the agreed interest (hereinaflcr referred to as ''repayment obligation") to

          Beijing Hm1xing Mobile Asset Management Center (Limited Partnership) its affiliated companies

          when the repayment conditions llfl.'. triggered,

          !n this condition, Leshi Holding (Beijing) Co Ltd., promises and guarantees that if the target

          company foils to folly fulfif! its repayment obligations in accordance with the agreement in the

          transaction document, Leshi !lolding (Beijing) Co Ltd, will assume the repayment obligation to

          Beijing Huaxing Mobile Asset Management Center (Limited Partnership) and its amliated

          compm1ies in accordance with the reli::vant agreements in !be transaction documents.

          Hereby Promise.
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           CHINA MINSHENG BANK

                         Certificnte of Telegraphic Transfer (Receipt}               1 No. 107605053

           D Normal D Urgent               Date of Consignation:   17/06/2015


           ~                          BEIJfNG HUAXING
                                                                                                   MOBILE &


           l        J
                        Full Name
                                        MOBILE ASSET
                                                                         full Name
                                                                                             INTERLUGENT

                                                                                             INFORMl\TION
                                        MANAGEMENT
                                                                                        TECHNOLOGY (BEIJING)
                                        CENTER (ll. P)
            Payer                                           Payee                              CO.,l.TD.
                                                                           ---!t-"'-~·---·
                        Account                                          Account
                                         694190069                                            693489502
                        numtier                                          number

                        Place of                                         Place of
                                           BeijinfJ                                             Beijing
                        remitting                                        remitting
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                                                               Borrowings




                               Stamp of Remitting Bank
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                                                         CHINA MINSHENG BANK

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                                          CHINA MINSHENG BANK

                                                                               Bank Certificate No.980000
                                        ----·
                                          BEIJING                                                                 BEIJING
                                         HUAXING                                                                HUAXING

                         full Name     MOBILE ASSET                      full Name                           MOBILE ASSET

                                      MANAGEMENT                                                             MANAGEMENT

                                       CENTER (LLP)                                                           CENTER (LLP)
                                                                                                              ~,- ... . --~
                                                                                                                  ~




                          Account                                          Account
              Payer                     694190069          Payoe                                               694764035
                          number                                            number

                                           China
                                                                                                                   China
                                      Minsheng Bank
                                                                                                             Minsheng Bank
                            Bank        Beijing West                            Bank
                                                                                                                 Banking
                                       Dawang Road
                                                                                                              Department
                                        Sub-branch
                                                                      ·········-----------.....-....   ---
                                                         Amount of
            Amount            RMB 37,000,000.00                                       RMB 37,000,000.00
                                                           Capital
                                                                                                        --~--·~=-··=. ~,~--·
                         The investment is transferred

                          to the escrow account for      Accounting                              15/10/2015
             Purpose
                         the purpose of Leshi mobile        time                                        16:14:09

                              phone investment

           Transaction

              Serial

            Number
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              C Murray               - - - /21/2020
             CASE MANAGER                    DATE
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  United States Bankruptcy Court for the Central District Of California - Los Angeles Division

                                                                                                         For Court Use Only
   Name of Debtor: Yueting Jia
                                                                                                         Claim Number:        0000020023

   Case Number:            19-24804                                                                      File Date:           01/21/2020 02:37:52



  Proof of Claim                         (Official Form 410}


   Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. With the exception of 503(b)(9),
   do not use this form to make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
   Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
   documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments
   mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
   explain in an attachment.
   A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
   Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                                                                                                                                                                 04/19




•:r., •• -        Identify the Claim

 1.       Who is the current creditor?                                            BEIJING HUAXING MOBILE ASSET MGT CENTER
 Name of the current creditor (the person or entity to be paid for this claim):

 Other names the creditor used with the debtor:


  2.      Has this claim been acquired from someone else?        [7No D Yes.      From whom?



  3.      Where should notices and payments to the creditor be sent? Federal Rule of Bankruptcy Procedure (FRBP) 2002(g)

 Where should notices to the creditor be sent?                                        Where should payments to the creditor be sent? (if different)

                   BEIJING HU AXING MOBILE ASSET MGT CENTER
  Name                                                                                Name
                   NO. I 077, HUIHE SOUTH STREET
  Address                                                                             Address
                   GAOBEIDIAN

                   CHAOY ANG DISTRICT

                   BEIJING
  City                                                                                City
                                                        100123
  State                                      ZIP Code                                 State                                     ZIP Code
                                 CHINA
  Country (if International):                                                         Country (if International):
                   +008613810354868
  Phone:                                                                              Phone:
                   21861 IO@qq.eom
  Email:                                                                              Email:



  4. Does this claim amend one already filed?                                         s. Do you know if anyone else has flied a proof of claim for this claim?
  li'J No                                                                             li'J No
  D    Yes.                                                                           D   Yes.

       Claim number on court claims register (if known)                                   Who made the earlier filing?

       Filed on
                                       MM/ DD /YYYY

                                                                                   Page 1 of 3
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• ...,Ta...i::a Give Information About the Claim as of the Date the Case Was Filed
 6. Do you have any number you use to                                                                        8. What is the basis of the claim?
                                                  7. How much is the claim?
     Identify the debtor?                            $ 28,280,121.43                      unliquidated
                                                                                                            Examples: Goods sold, money loaned, lease, services performed,
 D   No
                                                                                                            personal injury or wrongful death, or credit card. Attach redacted
 ~Yes.                                            Does this amount include interest or other
                                                                                                            copies of any documents supporting the claim required by Bankruptcy
 Last 4 digits of the debtor's account or any                                                               Rule 3001(c). Limit disclosing information that is entitled to privacy,
                                                  charges?
 number you use to identify the debtor:                                                                     such as health care information.

       9502                                       D    No
                                                                                                             Contract/Executory Contract
                                                  ~ Yes. Attach statement itemizing interest, fees,
                                                              expenses, or other charges required by
                                                              Bankruptcy Rule 3001(c)(2)(A).

 9. Is all or part of the claim secured?                                     10. Is this claim based on a lease?          11. ls this claim subject to a right of setoff?

 i;l No                                                                      ~   No                                       ~   No
                                                                             D  Yes. Amount necessary to cure
 D   Yes.     The claim is secured by a lien on property.                                                                 D   Yes. Identify the property:
                                                                             any default as of the date of petition.
 Nature of property:
                                                                             $_ _ _ _ _ _ _ _ _ __
 D   Real estate. If the claim is secured by the debtor's principal
 residence, file a Mortgage Proof of Claim Attachment (official Form
 410-A) with this Proof of Claim.

 D   Motor vehicle                                                           12. Is all or part of the claim entitled to priority              A claim may be partly priority and
                                                                                 under 11 U.S.C. § 507(a)?                                     partly nonpriority. For example, in
 D   Other. Describe:                                                                                                                          some categories, the law limits the
                                                                             ~ No                                                              amount entitled to priority.

Basis for perfection:                                                        D   Yes. Check one:
                                                                                                                                               Amount entitled to priority

                                                                             D   Domestic support obligations (including alimony and
                                                                                                                                               $_ _ _ _ _ _ __
Attach redacted copies of documents, if any, that show evidence of
                                                                             child support) under 11 U.5.C. § 507(a)(l)(A) or (a)(l)(B).
perfection of security interest (for example, a mortgage, lien,
certificate of title, financing statement, or other document that            D   Up to $3,025* of deposits toward purchase, lease, or          $_ _ _ _ _ _ __
shows the lien has been filed or recorded.)                                  rental of property or services for personal, family, or
 Value of property:                         $_ _ _ _ _ _ _ __                household use. 11 U.S.C. § 507(a)(7).

 Amount of the claim that ls secured:       $_ _ _ _ _ _ _ __
                                                                             D   Wages, salaries, or commissions (up to $13,650*)              $_ _ _ _ _ _ __
                                                                             earned within 180 days before the bankruptcy petition is
 Amount of the claim that is unsecured: $_ _ _ _ _ _ _ __                    filed or the debtor's business ends, whichever is earlier.
                                                                             11 U.S.C. § 507(a)(4).                                            $_ _ _ _ _ _ __
 (The sum of the secured and unsecured amounts should match the
 amount in line 7.)                                                          D   Taxes or penalties owed to governmental units.
                                                                             11 U.5.C. § 507(a)(8).                                            $_ _ _ _ _ _ __
 Amount necessary to cure any
 default as of the date of the petition:    $_ _ _ _ _ _ _ __                D   Contributions to an employee benefit plan. 11 U.5.C. §
                                                                             507(a)(5).
                                                                                                                                               $_ _ _ _ _ _ __
 Annual Interest Rate (when case was filed)                            %
                                                                             D
                                                ro   Fixed   f5 Variable     (
                                                                                 Other. Specify subsection of 11 U .5.C. § 507 (a)
                                                                                            ) that applies.
                                                                             * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on
                                                                             or after the date of adjustment.


 13. Does this claim qualify as an Administrative Expense under 11 U.S.C. § 503(b)(9)?

 lilf' No
 D   Yes. Amount that qualifies as an Administrative Expense under 11 U.S.C. § 503(b)(9): $_ _ _ _ _ _ _ _ _ _ __




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            Sign Below
                            Check the appropriate box:
The person completing
this proof of claim must    f;;/   I am the creditor.
sign and date it. FRBP      D      I am the creditor's attorney or authorized agent.
9011(b).
                            D      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim      D      I am a guarantor, surety, endorser, or other co-debtor. Bankruptcy Rule 3005.
electronically, FRBP
5005(a)(2) authorizes       I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount of the claim,
courts to establish local   the creditor gave the debtor credit for any payments received toward the debt.
rules specifying what a     I have examined the information in this Proof of Claim and have a reasonable belief that the information is tru·e and correct.
signature is.
                            I declare under penalty of perjury that the foregoing is true and correct.
A person who files a
fraudulent claim could                                                                                          01/21/2020 02:37:52
be fined up to $500,000,
                            Signature                                                                         Date
imprisoned for up to 5
years, or both. 18 U.S.C.   Provide the name and contact information of the person completing and signing this claim:
§§ 152, 157, and 3571.
                                         Xin Wang
                            Name

                            Address No. I 077, Huihe South Street

                                         Gao beidian

                                          Chaoyang District

                                         Beijing
                            City
                                                                                       100123
                                         _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Zip _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                            State
                                                        China
                            Country (in international) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                         +008613810354868
                            Phone
                                         21861 IO@qq.eom
                            Email




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                                                   Proofs of Claim List


        1.    fir ll'-bz 'fr !aJ- •t1 ){
              Loan Contract- English Translation

        2.                       *
              5k-F <ftUk raJ »z.11- 1f t'J> i;x.. rt1 :t
             Supplementary Agreement- English Translation

        3.   **PEJ <Ell.sf-t!\H-~Jl9:t'!{JH!lf:!i-D - rp)t
             Commitment Letter- English Translation
        4. N:Wt~·;&;ftl'liJHSl <Investor Rights Agreement) - ~~.::t (In English Only)
        5. r-t~J[ ft iiE-       rp .>C
             Certificate of Telegraphic Transfer- English Translation
        6. · m-=fttHf@J11!- rpJt
             Bank Electronic Receipt- English Translation
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                                   Statement of Proofs of Claim

            The loan amount is RMB 100 million Yuan, and the Interest on borrowings

            is 15% per year, the loan period is three years, staiting from the date when

            the borrowing is actually received and ending at the expiration of the three-

           year period. In addition, If the Leview Mobile & Intelligent Information

           Technology (Beijing) Co., Ltd. (hereinafter referred to as the "target

           company") does not repay the loan after the due date, the lender has the

           right to recover the loan. And according to bank regulations, a five over

           ten thousand penalty fee will be charged per day.

           On June 17, 2015, Beijing Huaxing Mobile Asset Management Center

          (LLP) transferred the first part of loan to the target company. On October

           15, 2015, Beijing Huaxing Mobile Asset Management Center (LLP)

          transferred the second part of loan to the target company.. Later, the target

          company was unable to repay the debts when the loan was due. According

          to the attached Co.mmitment Letter, Leshi Holding (Beijing) Co Ltd.,

          promises and guarantees that if the target company fails to fully fulfill its

         repayment obligations in accordance with the agreement in the transaction

         document, Leshi Holding (Beijing) Co Ltd. will assume the repayment

         obligation to Beijing Huaxing Mobile Asset Management Center (Limited

         Partnership) and its affiliated companies in accordance with the relevant

         agreements in the transaction documents.

         We hereby, pursuant to the below attached four contracts and two proofs,
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          propose the claim for the debt. The total claim amount is RMB 193 million

          Yuan, including the principal RMB 100 million Yuan, the three year's

          interest RMB 45 million Yuan, the overdue interest RMB 22 million yuan,

          the overdue penalty fee RMB 27 mi]ljon yuan. The claim amount is
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                                                 Loan Contract
           .Lender: BEIJING HUAXING MOBILE ASSET MANAGEMENT CENTER {LLP)

              Borrower: LEVIEW MOBILE & INTERLLIGENT INFORMATION TECHNOLOGY

              (BEIJING) CO., LTD.,



          . In order to carry out business activities, the borrower applies for a loan from the lender.

           After consultation between the two parties, the contract is hereby concluded for mutual

           compliance.

           I. Type of Loan: RMB

           II. The purpose of borrowing: required for business

           III. The amount of the loan is RMB 100 million yuan (100,000,000 yuan).
          IV. Interest on borrowings is 15% per year

          V. Borrowing and repayment period: The borrowing period is three years, starting from

          May 29, 2015 and ending on May 29, 2018. ·

          VI. Repayment Method: Cash
          VII. The lender remits the loan to the following bank accounts of the borrower:
               Account name:

               Account number:

              Account bank:

          VIII. Guarantee Clause

          1. The borrower must use the loan for the purpose specified in the loan contract. They

               shall not be diverted for other purposes and not be used for illegal activities.

          2.. The borrower must pay the principal and interest within the time limit stipulated in the
                contract.

         3.     The borrower is obliged to accept the inspection of the lender, supervise the use of the

                loan, understanding the borrower's plan execution, business management, financial

               activities, material inventory, etc: The borrower shall provide relevant plans, statistics,
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I               4.
                       financial accounting statements and information.

                       Leshi Holding (Beijing) Co Ltd. and its actual controller, Jia Yueting, provide joint

                        guarantees for repayment responsibilities.



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                IX. Liability For Breach of Contract

                l.     If the borrower does not repay the loan after the due date, the lender has the right to

                       recover the loan. And according to bank regulations, a five over ten thousand penalty

                       fee will be charged per day.
'
               2.      The lender fails to provide the loan on schedule. They shall pay the borrower a penalty
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                       fee based on the amount of default and the number of days of extension. The
I                      calculation of the amount of liquidated damages shall be the same as the calculation
i
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I                      of penalties added to the borrower.
               X. Dispute Settlement: Disputes arising from the execution of this contract shall be

                      resolved through consultation between the parties. If the negotiation fails, the two

                      parties agree that The People's Court which has jurisdiction over the place where the

                      lender is located.

               XI. Others

               I. In this contract, no party may alter or terminate the contract without authorization,

                     except a result of force majeure. If either party meets force majeure, they shall promptly
                     notify the other parties in writing and providing proof.

              2. This contract can be changed or cancelled after mutual agreement. If the contract is

                     terminated, the borrower's occupied loans and interest payable shall still be repaid in

                     accordance with the provisions of this contract.

              3. The lender has the right to transfer the creditor's rights of this agreement to its related

                     parties during the borrowing period. The borrower hereby promises and is aware of the

                     above transfer. The transfer of the creditor's rights do not affect the borrower's

                     continued performance of its obligations under this agreement.

              4. Ifthere are unfinished matters in this contract, supplementary provisions shall be made
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              through mutual negotiation between the parties to the contract. The supplementary

              provisions have the same effect as this contract.

           5. The original of this contract is made in duplicate, each of the lender and the borrower

              shall hold one copy.



          Lender (stamp) : BEIJING HOAXING MOBILE ASSET MANAGEMENT CENTER

          (LLP)

          Signature of thdcgal representative or authorized representative (Signature);




          Borrower (stamp) · : LEVIEW MOBILE & INTERLLIGENT INFORMJ\fION

          TECHNOLOGY (BEIJING) CO., LTD.,
          Signature of the legal representative or authorized representative (Signature):
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          LEVIEW MOBILE & INTERLLIGENT INFORMATION TECHNOLOGY
                              (BEIJING) CO.,LTD.

                                        AND

          BEIJING HUAXING MOBILE ASSET MANAGEMENT CENTER (LLP)

                              About the loan contract's


                               Supplementary Agreement




                                 BEIJING, CHINA
                                   In June, 2015
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                                         Supplementary Agreement
         This Supplemental Agreement to the <Loan Contract> (hereinafter referred to as the
         "Agreement,") was signed by the following parties in Beijing on June 9, 2015:
         First Party: LEVIEW MOBILE & INTERLLIGENT INFORMATION TECHNOLOGY
         (BEIJING) CO.,LTD.
         Address: 16th fl(lor oflcshi Building, 105 Yaojia Yuan Road, Chaoyang District, Beijing.
         Legal representative: Jia Yuemin


        Second Party: BEIJING HUAXING MOBILE ASSET MANAGEMENT CENTER (LLP)
        Address: Room 707, 7th Floor, No. 8 Yongan East Lane, Jianguo men wai Road, Beijing.
        Person in charge: Ge Jiusong


        Given these situations:
        1. The parties have signed the <Loan Contract> ("original agreement") in Beijing on May 18,
        2015. The agreement has taken effect and all parties arc performing according to the agreement.
        2. Article 5 of the original agreement stipulated that "the borrowing period is three years, starting
        from May 29, 2015 and ending on May 29, 2018. 11 However, as the lender, second party has not
        yet been issued for some reason as of the date of this agreement The payment of the loan
        substantially aITected the starting date of the interest on the loan, and the two parties agreed to     f'i Jj.....9!
        modify the formulation of the clause.                                                                   j~



        Therefore, the following clauses arc fonnulated for mutual compliance:


        Article 1 Modify Content
        The parties agreed to change the original agreement in article 5 of the following contents:
        "The borrowing period is three years, starting from May 29, 2015 and ending on May 29, 2018."
        into:
        "The borrowing period is three years, starting from the date when the borrowing is actually
        received and ending at the expiration of the three-year period (if otherwise agreed by other
        transaction agreements, such agreement shall prevail).
        Article 2 Other Terms Modified
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        All parties confirmed that, with the exception of the amendment to Article 5, other provisions of
        the original agreement remained unchanged.
        Article 3 Other Matters of This Agreement
        3.1 Each party understands and agrees that the parties have made contacted, negotiated, negotiated,
        drafted, modified, signed, executed, executed the contract / agreement, the terms and conditions
        of any contract / agreement, and provided to the other party any information related to this
        transaction in this agreement. W!thout the prior consent of the other party, neither party can make
       it public or disclose to any third party. If disclosure is required by laws, regulations, stock exchange
       rules, or mandated by a government authority, the disclosing party shall (within its ability and
       permitted by relevant laws ·or requirements), within a reasonable time before making such
       disclosure, communicate with others The parties negotiate and do their best (in cooperation with
       the other party) to obtain confidentiality of the disclosed information. The obligation of
       confidentiality stipulated in this article does not affect its legal binding force due to any
       circumstances such as the performance, termination, release or invalidation or non-enforcement of
       this agreement, and it is permanently valid.
       3.2 If the original agreement does not agree with this agreement, it shall be implemented in
       accordance with this agreement: if there is no agreement in this agreement, it shall still be
       implemented in accordance with the original agreement.
       3.3 This agreement takes effect after being signed or stamped by authorized representatives of
       each party, in duplicate, each party retains one, each of this agreement has the same legal betje
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                                                                                                         ~"),

       First Party: LEVIEW MOBILE & INTERLLIGENT INFORMATION TECHNo.;-iGY
       (BEIJING) CO.,LTD. (ST AMP)
       Signer:




       Signer:
       Position:
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                                                        EXECUTION VERSION




                          INVESTOR RIGHTS AGREEMENT

                                       among

           HEI,JING HUAXING MOBILE ASSET MANAGEMENT CENTER (LLP)

           LEVmW MOBILE & INTELLIGENT INFORMATION TlrCHNOLOGY
                            (BEi.JING) CO., LTD.,

                               La.:vmw MO BILI~ LTD.,

                                      LE LTD.,

                                        and

                                   YUETING ,JIA




                                 Dated Mny 18, 2015
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       INVESTOR RIGHTS AGREEMENT (this "Agreement") made on May , 2015,
       AMONG:

       (1)      LEVIEW MOBILE & INTELLIGENT lNI<'ORMA TION TI~CHNOLOGY
                (BEi.JING) CO., LTD. (5.1'tfil~i:9Jfff3~f{L©.tt:;!c (Jt.J;1) t:Hi0n']), a
                company organized and existing under the laws of China with its registered
                office at No. 2, Linkong Erlu, Wenhuaying Country, Gaoliying Town, Shunyi
                District, Beijing, PRC (the "Borrowc;r");

       (2)      LEVIEW MOBILE LTD., an exempted company incorporated and existing
                under the laws of the Cayman Islands with its company number 2963 t 8 and
                registered office at Sertus Chambers, P.O. Box 2547, Cassia Court, Caruana
                Bay, Grand Cayman, Cayman Islands (the 11 .kQ.!llliilili');

       (3)      LE LTD., an exempted company incorporated and existing under the laws of
                the Cayman Islands with its company number 295848 and registered office at
                Sertus Chambers, P.O. Box 2547, Cassia Court, Camana Bay, Grand Cayman,
                Cayman Islands (the "Caylli.illl.hQ");

      (4)       YlJETING ,JIA (151:{~.t;t), holder of PRC Identification Card Number of
                I 42623 l 9731215081 X, Linfen City, Shanxi Province, PRC (the "Owner"); and

      (5)       BEi.JING HU AXING MOBILE ASSET MANAGEMENT CENTER
                (LLP)( :l~J}t#~~~#J~jn:~l_!E rf1,Li1 ( 1H~..g--f*) ), a limited partnership
                established and existing under the .laws of China with its registered office at
                Room 707, 7th Floor, No. 8 Yongan Dongli, Jianguo Mcnwai A venue, Beijing,
                PRC (the "Investor").

      RECITALS:

      (A) The Investor intends to invest into the Company or the Cayman Co;

      (B) To facilitate the investment by the Investor in the Company or the Cayman Co,
          prior to or on the date of the execution of this Agreement, the Borrower, the
             Investor and the affiliates of the Investor entered into an loan agreement (the "Loan
             Agreement"), pursuant to which the Investor and its afl11iatcs will offer certain loan
             with a principal amount of RMB I 00,000,000 (the "Debt"); and

      (C) The Parties desire to enter into this Agreement and make the respective
             representations, warranties, covenants and agreements set forth herein on the terms
             and conditions set forth herein.

      AGRl{EMl~NT:




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                                                 SECTION 1
                                              INTERPRETATION

       1.1   Definitions. In this Agreement, unless the context otherwise requires the
             following words and expressions have the following meanings:

             "Accounting Stanc!ar<!l,_" means the International Financial Reporting Standards
             (IFRS) or the Accounting Principles Generally Accepted in China (Chinese
             GAAP) adopted by the Company and applied on a consistent basis.

             "Affiliate" of a Person (the "Subject Person") means (a) in the case of a Person
             other than a natural person, any other Person that directly or indirectly Controls,
             is Controlled by or is under common Control with the Subject Person and (b) in
             the case of a natural person, any other Person that directly or indirectly is
             Controlled by the Subject Person or is a Relative or the Subject Person. In the
             case of an Investor, the term "Affiliate;_" includes (v) any shareholder of the
             Investor, (w) any of such shareholder's general partners or limited partners, (x)
             the fund manager managing such shareholder (and general partners, limited
             partners and officers thereof) and (y) trnsts controlled by or for the benefit or
             any such individuals referred to in (v), (w) or (x).

             ".Ba~i.c Documents" means this Agreement, the Loan Agreement, the Company
             Charter Documents and the Onshore Contracts.

             "Big Four Accounting Firm.~" means Deloitte Touchc Tohmatsu Limited,
             PriccwaterhouseCoopers, Ernst & Young Global Limited and Klynveld Peat
             Marwick Goerdeler.

             "Jloarcl" means the board of directors of the Company as from time to time
             constituted.

             "J3qsin~ss Day" means any day other than a Saturday, Sunday or other day on
             which commercial banks in the PRC, HKSAR or Cayman Islands are required
             or authorized by law or executive order to be closed or on which a tropical
             cyclone warning no. 8 or above or a "black" rainstorm warning signal is hoisted
             in HKSAR at any time between 9:00 a.m. and 5:00 p.m. Hong Kong time.

             "BVI Co" means Lele Holding Ltd., a business company incorporated and
             existing under the laws of the British Virgin Islands with its company number
             1859050 and registered office at P.O. Rox 905, Quastisky Building, Road Town,
             British Virgin Islands.

             "China" or the "PRC" means the People's Republic of China and for the purpose
             of this Agreement shall exclude HKSAR, Taiwan and the Macau Special
             Administrative Region.

             "Collective Warranti~.,'.:l'' means the representations, warranties and undertakings
             of the Company and the Owner set fixth in .S9hedu1~_2.




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            "Company Chart.t~r Documents" means the Memorandum of Association and
            Articles of Association of the Company.

            "Control" of a Person means (a) ownership of more than 50% of the shares in
            issue or other equity interests or registered capital of such Person or (b) the
            power to direct the management or policies of such Person, whether through the
            ownership of more than 50% of the voting power of such Person, through the
            power to appoint a majority of the members of the board of directors or similar
            governing body of such Person, through contractual arrangements or otherwise.

            "Encumbrance" means (a) any mo11gage, charge (whether fixed or floating),
            pledge, lien (other than lien crented by operation of law), hypothecation,
            assignment, deed of trust, title retention, security interest or other encumbrance
            of any kind securing, or confoning any priority of paymi;:nt in respect o!~ any
            obligation of any Person, including any right granted by a transaction which, in
            legal terms, is not the granting of security but which has an economic or
            financial effect similar to the granting of security under applicable law, and (b)
            any proxy, power of attorney, voting trust agreement, interest, option, right of
            first offer, negotiation or refusal or transfer restriction in favor of any Person.

            "Eveqt of Dcfaull" has the meaning set fo11h in Section 5.l(b)(i) of this
            Agreement.

            "Equity Securities" means, with respect to any Person, such Person's capital
            stock, membership interests, partnership interests, registered capital, joint
            venture or other ownership interests or any options, warrants or other securities
            that are directly or indirectly convertible into, or exercisable or exchangeable
            for, such capital stock, membership interests, partnership interests, registered
            capital or joint venture or other ownership interest.

            "Existing Business" means the business of researching, designing, developing,
            manufacturing, selling and marketing of mobile phones and other personal
            devices, as well as other related internet or mobile internet business.

            "GovcrnmentqlAuthority" means any nation or government or any province or
            state or any other political subdivision thereof; any entity, authority or body
            exercising executive, legislative, judicial, n:gulutory or administrative functions
            of or pertaining to government, including any government authority, agency,
            depmtment, board, commission or instrumentality or any political subdivision
            thereof: any court, tribunal or arbitrator, the governing body of any securities
            exchange and any other self-regulatory organization.

            "~}roup" means collectively the BVI Co, the Cayman Co, the Company, the IIK
            Co, the WFOE (upon its incorporation) the Onshore Companies and any other
            Person in which the BVI Co, the Cayman Co, the Company, the lIK Co or the
            WFOE directly or indirectly owns a 1muority interest and "QroupJ\,1e_p1ber"
            means any of them.




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             "HK Co" means Leview Mobile HK Limited, a limited company incorporated
             and existing under the laws of HKSAR with its company number 2205943 and
             registered office at RM 504, 5/F Valley Centre, No. 80-82 Morrison Hill Road,
             Wanchai, HK.SAR.

             "JIKSAR. 11 means the Hong Kong Special Administrative Region of the PRC.

            "Intellectual Property" means (a) patents and patent applications, (b) trademarks,
            service marks, trade names, trade dress and domain names, together with the
            goodwill associated exclusively therewith, (c) copyrights, including copyrights
            in computer software, (cl) confidential and proprietary information, including
            trade secrets and know-how, and (e) registrations and applications for
            registration of the foregoing, in each case, relating to the business of researching,
            designing, developing, manufacturing, selling or marketing mobile phones and
            other personal devices, as well as other related internet or mobile internet
            business.

             "Issuance Date" means the date on which Investor disburses the loan to the
             Borrower pursuant to the Loan Agreement.

            "Investor Warranties" means the representations, warranties and undertakings of
            the Investor set forth in Schedule 3.

            "Lefong Mobile" means Lefeng Mobile Technology (Beijing) Co., Ltd.            UFdAlt
            1VJ;f;{tz Clt;JO {Tll[H~nJ), a company incorporated under the laws of the
             PRC.

            "Maturity Date" means the third-year anniversary of the Issuance Date.

            "Mortgnge~LShares" means (i) 5% of the Ordinary Shares owned by the
            Cayman Co in the Company on the date of the closing of the Note's conversion
            into the Convertible Note, if applicable, and (ii) any shares acquired in respect
            of Mortgaged Shares by reason of a stock split, stock dividend, reclassification
            or otherwise.

            "Onshore Conm<mies" means Beijing Pala Culture & Media Co., Ltd. (:lt;~Ci'.T
                               -z~
            J.J~ _)%: 1t11-.Jlt:fTiitJ. l"l]), Lcfeng Mobile and the Borrower, which incorporated
            under the laws of the PRC, and "On.shore Company" means any ofthem.

            "Onshore Contracts" means agreements to be entered into between the WFOE,
            Lcfcng Mobile, the Owner or any of their Affiliates, including an exclusive
            consulting and services agreement, un exclusive call option agreement, an
            equity pledge agreement, a voting right proxy agreernent and a business
            operation agreement, each in the form and the substance reasonably satisfactory
            to the Investor.

            "Ordinary Sharesu means the ordinary shares having a par value of
            US$0.0001 per share in the capital of the Company.




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            "fart_y" or "Parties" means any signatory or the signatories to this Agreement
            and any Person who subsequently becomes a pmty to this Agreement pursuant
            to the terms and conditions hereof.

            "Person" means any natural person, firm, company, governmental authority,
            joint venture, partnership, association or other entity (whether or not having
            separate legal personality).

            "Rcdcm.ruionJ)atc" has the meaning set forth in Section 5.l(c)(ii) of this
            Agreement.

            "Related Party" means (u) any sluu-cholder of any Group Member, (b) any
            director of any Group Member, (c) any officer of any Group Member, (d) any
            Relative of a shareholder, director or officer of any Group Member, (c) any
            Person in which any Group Member, any shareholder, director or officer or any
            Group Member has any interest other than a passive shareholding of less than
            five percent in a publicly listed company, or over which a Related Party
            exercises Control or significant influence through contractual arrungcments,
            voting, management or directorship position or ownership, and (f) any other
            Affiliate of any Group Member.

            "Redemption Pri~" has the meaning set forth in Section 5.1 (c)(iii) of this
            Agreement.

            "RclQ.y,mt Securities" means Qualified Financing Securities or other securities
            into which the Note or the Convertible Note may be convertible.

            "Qualified Fin~mcing" means any issue ofpreforred shares or equity-linked
            convertible debt securities of the Company after the Issuance Date but on or
            before the Maturity Date to institutional investors (other than the Investor) on
            terms and conditions that would be reasonably acceptable to prudent,
            sophisticated investors in light of the circumstances, or any other issuance of
            equity scrnrities of the Company after Issuance Date.

            "Qualifie_d Finm1dng Securities" means the securities to be issued by the
            Company in connection with the Qualified Financing.

            "Relative" of a natural person means the spouse of such person, and any parent,
            grandparent, child, grandchild, sibling, uncle, aunt, nephew, or niece of such
            person or such person's spouse.

            "Re_structmi11.g" means the restructuring the result of which (i) is the corporate
            structure set forth in Schedule] A hereof as of the date of this Agreement and as
            of the Issuance Date respectively; and (ii) ,viii be the corporate structure set
            forth in fuji~B hereof within the timeframe after the Issuance Date agreed
            upon by the Tnvestor, the Owner and the Company in this Agreement.

            "RMii" means the renminbi yuan, the lawful cutTency of the PRC.



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             "US$" means United States Dollars, the lawful cmrency of the United States of
             America.

             "~arrnnties" means the Collective Warranties and the Investor Warranties.

             "WFOE" means Lcsai Mobile Technology (Beijing) Co., Ltd. ( !f-$.i}#Jtl·-tl
              ( ~I::. .f,) ;f,f 1rt.t 1;~ '5J ), a wholly foreign-owned enterprise to be organized and
             existing under the laws of China.

       1.2   Jerms Defined Elsewh9re in tJ1is Agreement. The following terms are defined
             in this Agreement as follows:

              "Agreement"                                              Preamble
              "Borrower"                                               Preamble
              "Breach"                                                 Section 5. I (b)(i)(3)
              "Company"                                                Preamble
              "~)yman Co"                                              Preamble
              "Confidential Information"                               Section 6.1
              "Conve1iible Note"                                       Section 5.2(a)(i)(1)
              "Convertible Notice"                                     Section 5.2(c)(i)
              "Default Notice"                                         Section 5.1 (b)(iii)
              "Disposed Shares"                                         Section 5.4(a)
              "Disposition"                                             Section 5.4(a)
              "Disposition Notice"                                      Section 5.4(a)
              "Dispute"                                                 Section l 2.2(a)
              "f:lection Period"                                        Section 5.3(d)
              "Financing Ten.1rn"                                       Section 6.1
              "HKTAC"                                                   Section l 2.2(a)
              "I nvcstor"                                               Recitals
              "Indemnified Party"                                       Section 8.1
              "Indcm11.Uying Party"                                     Section 8. l
              "Investor"                                                Preamble
              "Investment Consideration"                                Section 5.2(a)(iii)
              "Losses"                                                  Section 8.1
              "Loan Agreement"                                          Recitals
              11)'-Jote"                                                Recitals
              "N\:'.W Securities"                                       Section 5.3(a)
              "Observer"                                                Section 5. 7
              "Owner"                                                   Preamble
              "Preemptive Right"                                        Section 5.3(a)
              "Pro Rata Share 11                                        Section 5.3(b)
              "Redemption Notice"                                       Section 5.1 (a)
              "Redemption Ri;_m1est 11                                  Section 5.l(c)(i)
              "Re_presentat ives"                                       Section 6.1
              "I11g-along Right"                                        Section 5.4(a)
              "1}1.g-along Shares"                                      Section 5.4(b)
              "'rransaetion"                                            Section 5.2(1)
              "Valuation"                                               Section 5.2(b)(i)(3)




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       I .J   Interpretation.

              (a)    Directly or Indirectly. The phrase ".directly or indirectly" means directly,
                     or indirectly through one or more intermediate Persons or through
                     contractual or other ainngements, and "direct or indirect" has the
                     correlative meaning.

              (b)    Gender and Number. Unless the context otherwise requires, all words
                     (whether gender-specific or gender neutral) shall be deemed to include
                     each of the rnasculinc, feminine and neuter genders, and words
                      impotiing the singular include the plural and vice versa.

              (c)    Ileading2 . Headings are included for convenience only and shal.l not
                     affect the construction of any provision of this Agreement.

              (d)    Include not Limiting. "Inc;lude,'' "including," "arc inclusive of'' and
                     similar expressions arc not expressions of limitation and shall be
                     construed as if l<)llowed by the words "without limitation."

              (e)    La"'£. References to "law·" shall include all applicable laws, regulations,
                     rules and orders of any Governmental Authority, securities exchange or
                     other self-regulating body, any common or customary law, constitution,
                     code, ordinance, statute or other legislative measure and any regulation,
                     rule, treaty, order, decree or judgment; and "lawful" shall be construed
                     accordingly.

              (t)    Rclcrenccs to Documents. References to this Agreement include the
                     Schedules and Exhibits, which form an integral part hereof A reference
                     to any Section, Schedule or Exhibit is, unless otherwise specified, to
                     such Section of~ or Schedule or Exhibit to this Agreement. The words
                     "hereof/ "hereunder" and "her_s!to," and words oflike import, unless the
                     context requires otherwise, refer to this Agreement as a whole and not to
                     any particular Section hereof or Schedule or Exhibit hereto. A reference
                     to any document (including this Agreement) is to that document as
                     amended, consolidated, supplemented, novated or replaced from time to
                     time.

              (g)    Time. ff a period or time is specified and dales from a given day or the
                     day of a given act or even!. such period shall be calculated exclusive of
                     that day.

              (h)    Writing. References to writing and written include any mode of
                     reproducing words in a legible and non-transitory form including emails
                     and faxes.

              (i)    LangJ._1age. This Agreement is drawn up in the English language. l r this
                     Agreement is translated into any language other than English. the
                     English language text shall prevail.




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                                           SECTION 2
                             CONDITIONS PRECEDENT TO COMPLETION
       2.1   Congitions Precedent to Qbligations oflnvestor at Completion. The obligation
             of the Investor to complete the purchase of the Note at the Issuance Dale is
             subject to the fulfillment, prior to or simultaneously with the Issuance Date, of
             the following conditions, any one or more of which may be waived by the
             Investor in writing, 12rovidec/. that if any of the following conditions is waived by
             the Investor on or before the Issuance Date, the Company, the Owner and the
             Borrower shall cause such conditions to be fulfilled promptly after the Issuance
             Date if requested by the Investor in writing:

             (a)    the Collective Warranties remaining true and ccmect in all material
                    respects on the Issuance Date as provided in Section 4.5, except for
                    those representations and warranties that already contain any materiality
                    qualification, which representations and warranties, to the extent already
                    so qualified, shall instead be true and correct in all respects as so
                    qualified as of the Issuance Date;

             (b)    each of the Group Members, the Onshore Companies and the Owner
                    having performed and complied in all material respects with all of its
                    agreements and obligations contained in the Basic Documents to which
                    it is a party that arc required to be performed or complied with by it on
                    or before the Issuance Date;

             (c)    the Investor having completed its business, legal and financial due
                    diligence review of the Company and its subsidiaries and the results of
                    that review shall he satisfactory to the Investor;

             (c!)   each of the Group Members and the Onshore Companies having duly
                    attended to and carried out all corporate procedures that are required
                    under the laws of' its place ol' incorporation or establishment to effect its
                    execution, delivery and performance of the Basic Documents to which it
                    is a party, and the transactions contemplated hereby and thereby;

             (e)    all consents and approvals of: notices to and filings or registrations with
                    any Governmental Authority or any other Person required to
                    consummate lhe transactions contemplated under this Agreement and
                    the other Basic Documents (to the extent that such transactions arc to be
                    completed on or prior to the Issuance Date), shall have been obtained or
                    made (including all required approvals for the Restructuring and all
                    required approvals and registration of the establishment of the WFOE
                    and the direct or indirect ownership by any PRC residents or an interest
                    in the Company including registrations pursuant to the Notice on
                    Relevant Issues Concerning Foreign Exchange Control on Domestic
                    Residents' Corporate Financing and Roundtrip Investment through
                    Oi'Cshorc Special Purpose Vehicles issued by State Administration of
                    Foreign Exchange on July 4, 2014 and any subsequent similar rules,
                    amendments or supplements of the PRC) and copies thereof having been
                    provided to the Investor;


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             (f)    there being no Governmental Authority or other Person that has:

                    (i)     instil uted or threatened in writing any legal, arbitral or
                            administrative proceedings against the Owner, any Group
                            Member, or the Onshore Companies to restrain, prohibit or
                            otherwise challenge the purchase of the Note by the Investor or
                            any of the other transactions contemplated unt.for the Basic
                            Documents (including without limitation, the Restructuring); or

                    (ii)    proposed or enacted any statute or regulation which would
                            prohibit, materially restrict or materially delay implementation of
                            the transactions contemplated under the Basic Documents
                            (including without limitation, the Restructuring), or the operation
                            of the Group as a whole after the Issuance Date as contemplated
                            in the Basic Documents;

             (g)    the Investor having received (i) a legal opinion from Walkers, the
                    Cayman Islands counsel of the Company, and (ii) a legal opinion from
                    King & Wood Mailesons, the PRC counsel of the Company, in each
                    case, dated as of the Issuance Date and in the form and substance
                    satisfactory to the Investor.

       2.2   Condjtions Precede_nt to Obligatiqns of Company at Complelton. The
             Company's obligation to procure the Borrower to complete the issuance of the
             Note at the Issuance Date is subject to the fulfillment, prior to or simultaneously
             with the Issuance Date, of the following conditions, any one or more of which
             may be waived by the Company or the Borrower:

             (a)    the Investor Warranties remaining true and correct in all material
                    respects on the Issuance Date as provided in Section 4.5, except lbr
                    those representations and warranties that already contain any materiality
                    qualification, which representations and warranties, to the extent already
                    so qualified, shall instead be true and correct in all respects as so
                    qualified as of the Issuance Date;

             (b)    the Investor having performed and complied in all material respects with
                    all ofits agreements and obligations contained in this Agreement and the
                    other Basic Documents to which it is a party that are required to be
                    performed or complied with by it on or bd(>re the Issuance Date;

             (c)    the Investor having duly attended to and carried out all corporate
                    procedures that are required under the laws of its place of incorporation
                    or establishment to effect its execution, delivery and performance of this
                    Agreement and the other Basic Documents to which it is a party, and the
                    transactions contemplated hereby and thereby; and

             (d)    each of the Basic Documents lo which an Investor is a party having been
                    executed by the Investor and delivered to the Company or the Borrower.




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                                         SECTION 3
                      OBLIGATIONS OF THE COMPANY, THE OWNER AND THE
                       INVESTOR BETWEEN EXECUTION AND COMPLETION
       3 .1   ]:IQ.!J.9~s of Breaches by tl1c Company, the Itm:rower and the Owner. From the
              date hereof until the Issuance Date, except as disclosed in the Basic Documents
              or otherwise as contemplated thereunder, the Company and the Borrower shall.
              and the Company and the Owner shall cause each of the other Group Members
              and Onshore Companies to, conduct its respective business in a manner so as to
              ensure that the Collective Warranties continue to be true and correct on and as
              of the Issuance Date as if made on and as of Issuance Date. The Company, the
              Borrower and the Owner shall give the Investor prompt notice of any event,
              condition or circumstance occurring prior to the Issuance Date that would
              constitute a breach of any Collective Warranty if such Collective Warranty were
              made as at any date between the date hereof and the Issuance Date, or that
              would constitute a breach of any terms and conditions contained in this
              Agreement.

       3.2    J3usiness Operatio11. From the date hereof until the Issuance Date, the Company
              and the Owner shall, and shall cause each other Group Member or the Borrower
              where applicable to, (i) carry on their respective business in the ordinary course;
              (ii) comply in all material respects with all applicable law and other
              requirements relating to the operation of their respective businesses; and (iii)
              with no less diligence and efforts that would be applied in the absence of the
              transactions contemplated hereunder.

       3 .3   Notific;:~ltim1~. Until the Issuance Date, each Party shall promptly notify the
              other Parties in writing of any fact, change, condition, circumstance or
              occurrence or nonoccurrence of any event of which it is aware that will or is
              reasonably likely to result in any of the conditions sd forth in Section 2
              becoming incapable of being satisfied.

       3.4    Further Action. The Parties shall use all reasonable efforts to take, or cause to
              be taken, all appropriate action, to do or cause to be done all things necessary,
              proper or advisable under applicable Jaw, and to execute and deliver such
              documents and other papers, as may be required to carry out the provisions of
              this Agreement and consummate and make effective the transactions
              contemplated by this Agreement.

                                              S[(CTION 4
                                 REPRESENT A TIO NS AND WARRANTIES

       4.1    Collective Warranties. The Company, the Cayman Co, the Borrower and the
              Ov.mer, severally and jointly, represent, wairnnt and undertake to the Investor in
              the terms of the Collective Warranties and acknowledge that the Investor in
              entering into this Agreement is relying on such Collective Warranties.

       4.2    Investor Warranties. The Investor represents, warrants and undertakes to the
              Company in the tem1s of the Investor Warranties and acknowledges that the
              Company in entering into this Agreement is relying on the fnvestor Warranties.



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       4.3   Knowledge of Claims. No investigation by or on behalf of any Pm1y shall
             pr~judice any claim made by such Party under the indemnity contained in
             Section 8 or operate to reduce any amount recoverable thereunder, provided that
             a Pai1y shall have no liability for (i) any breach of or inaccuracy in the
             Warranties made by such Party to the extent the Indemnified Party has actual
             knowledge, at or prior to the Issuance Date of such breach or inaccuracy, (ii)
             any breach of or fi:1ilure to perform any covenant or obligations of such Party
             which arc required to be performed at or prior to the Issuance Date hereunder,
             to the extent that the Indemnified Party has actual knowledge, at or prior to the
             Issuance Date of such breach or failure.

       4.4   Separate and Independent. The Collective Warranties shall be separate and
             independent and save as expressly provided shall not be limited by reference to
             any other paragraph or anything in this Agreement or the Schedules.

       4.5   Bring:_Down .to Completion. The Warranties shall be deemed to be repeated as
             at the Issuance Date as if they were made on and as of the Issuance Date, other
             than such Warranties as arc made specifically as of another specified date,
             which shall be true and correct as of such date, and a!J references therein to the
             date of this Agreement were references to the Issuance Date.

       4.6   Survival of Warran!ics. All of the Warranties shall survive the Issuance Date
             for a period of 18 months alter the Issuance Date, m!Ylf.fs!J1 that the warranties
             set forth in Sections 2, IO and 12 of Sch_ed_ulc 2 and Sections 2 and 4 or
             Sche.dule 3 should survive indefinitely.

                                                  SECTION 5
                                              INVESTOR RIGHTS

       5.1   Redemption.

             (a)    ~m.mimU2!L..Mill.1!tl!Y-- The Investor shall have the right to require the
                    Borrower to redeem the Nok on the Maturity Date or upon or
                    immediately following the second-year anniversary of the Issuance Dute
                    at the Redemption Price (defined as below) by delivering a prior written
                    notice (the "Rcdetriml_qn Notice") to the Borrower following the
                    Redemption Procedure set forth in Section 5. 1(c).

             (b)     Rc~Jcmption   on Event pf Default.
                    (i)     The occurrence of any one or more of the following events shall
                            constitute an "Ev_cnt of Default":

                            ( 1)     the Borrower or the Company shall fail to pay debt that is
                                     due and payable or any other amount (if any) "vhcn due in
                                     accordance with the terms hereof;

                            (2)      the change of actual controller of the Company or the
                                     Borrower;




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                           (3)    any representation, warranty, covenant, undertaking,
                                  certification or statement made by or on behalf of the
                                  Company or the Borrower in any Basic Documents or in
                                  any certificate or other document delivered pursuant
                                  thereto shall have been materially incorrect, misleading
                                  or false in any material respect when made (a "Breach")
                                  and, if capable of being remedied, has not been remedied
                                  within thirty (30) days after being notified in writing of
                                  such Breach by the Investor; provided that such Breach
                                  has caused or is likely to cause a material adverse change
                                  on the business of the Group as a whole or on the rights
                                  and liabilities of the Investor under the Basic Documents;

                           (4)    any breach of'the undertakings and covenants as specified
                                  in Sections 5.5, 5.6, 5.7 and 5.8 of this Agreement.

                           (5)    the Company, the Borrower or any of their respective
                                  significant or material Afl1liates shall commence any
                                  case, proceeding or other action (i) under any existing or
                                  future law of any jurisdiction, domestic or foreign,
                                  relating to bankruptcy, insolvency, reorganization or
                                  relief of debtors, seeking to have an order for relief
                                  entered with respect to any Group Member, or seeking to
                                  adjudicate any Group Member bankrupt or insolvent, or
                                  seeking reorganization, arrangement, adjustment,
                                  winding-up, liquidation, dissolution, composition or other
                                  relief with respect to any Group Member or its debts, or
                                  (ii) seeking appointment of a receiver, trustee, custodian,
                                  conservator or other similar omcial Cor any Group
                                  Member or for all or any substantial pat1 of its assets;

                           (6)    the involuntary delisting of Leshi Internet Information
                                  Technology Corp., Beijing UktM.\[x':i<J17'.f.~Hi;;-F: CitJ}O
                                  filWl=ff llEJ ~~ 1i'J, 300 I04.CII);
                           (7)    the Company shall fail to deliver the Relevant Securities
                                  when such Relevant Securities are required to be
                                  delivered fbllowing conversion of the Note or the
                                  Convertible Note (defined as below) in accordance with
                                  the terms hereof

                  (ii)     Upon tbe occurrence ofan Event of Default, the Co111pm1y shall
                           give the Investor a prompt notice of the occurrence of such Event
                           of Default.

                  (iii)    Upon the occurrence and during the continuance of an Event of
                           Default, the Investor may. by notice in writing to the Borrower
                           (the "Default Notice"), request the Event of Default to be
                           rernedied within ten (10) Business Days or other time the
                           Investor may deem to be reasonable.

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                   (iv)    Upon the Borrower's or any of its applicable Affiliates' failure to
                           remedy the default in accordance with the Default Notice, the
                           Investor shall be entitled to declare the Note in whole, and
                           require the Borrower to redeem the Note on the Redemption
                           Date at the Redemption Price by delivering a Redemption Notice
                           to the Borrower following the Redemption Procedure set forth in
                           Section 5.1 (c).

            ( c)   Reden:m.tion Procedures.

                   (i)     On or before the Redemption Date, the Investor shall surrender a
                           request for redemption (the "Redemption I~uest") to the
                           Borrower, in the manner and at the place designated in the
                           Redemption Notice. Upon the surrender of the Redemption
                           Request to the Borrower, the applicable Redemption Price shall
                           be payable to the order of the Invcstot·.

                   (ii)    The Redemption Date for Section 5.1 (a) shaII be Maturity Date
                           or the second-year anniversary of the Issuance Date, as the case
                           may be, and for Section 5 .1 (b) shall be   3rd   Business Day after the
                           date of Redemption Notice.

                   (iii)   The Investor upon exercise of its redemption right shall have the
                           right to redeem the Note at the Redemption Price, which is
                           calculated as the total outstanding principal amount with respect
                           to the Note, plus any accrued and unpaid interest at 15% per
                           annum calculated by using the then outstanding principal amount
                           multiplied by actual number of days elapsed since the Issuance
                           Date divided by 365 days; the payment is to be made by cash,
                           and the Investor may request for the cash payment to come from
                           the Owner or other companies and institutions designated by the
                           Owner.

                   (iv)    The payment shall become due and payable on the Redemption
                           Date, and calculated from and including the Issuance Date until
                           the payment date, plus any accrued and unpaid interest.

                   (v)     If prior to the Maturity Date the Investor is unable to exercise its
                           right to convert the Note into any shares in the Company or the
                           Cayman Co, as the case may be, as the result of the non-
                           occurrence e of any Qualified financing for a reason attributable
                           to the Borrnwer, the Company. the Cayman Co or the Owner, the
                           Investor upon exercise of its redemption right shall have the right
                           to redeem the Note at a new redemption price, which is
                           calculated as the total outstanding principal amount with respect
                           to the Note, plus any accrued and unpaid interest at 25% per
                           annum calculated by using the then outstanding principal amount
                           multiplied by actual number of days elapsed since tht: Issuance
                           Date divided by 365 days; the payment is to be made by cash,
                           and the Investor may request for the cash payment to come from


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                            the Owner or other companies and institutions designated by the
                            Owner.

                    (vi)    If the Investor, at its own election, docs not exercise its right to
                            convert the Note which the Investor may subscribe prior to the
                            Qualified Financing into preferred shares of the Company or the
                            Cayman Co or subscribe or receive any shares of the Company
                            or the Cayman Co on the Qualified Financing prior to the
                            Maturity Date as provided in Section 5.2(a)(i), the Investor shall
                            be entitled to redeem the Note at the Redemption Price in
                            accordance with Section 5.1 (c)(iii).

       5.2   Convcrsiol}.

             (a)    General.

                    (i)     After the Issuance Date, the Investor shall have the right to, or
                            have one of its qualified offshore Affiliates to:

                            (I)     convert the Note into certain convertible notes (the
                                    "Convertible Npte") to be issued by the Company, which
                                    may be, at the election of the Investor, converted into
                                    preferred shares of the Company or the Cayman Co at
                                    any time agreed by the Parties prior to any Qualified
                                    Financing in accordance with this Section 5.2; or

                            (2)     din.:ctly convert the Note into certain preferred shares of
                                    the Company or the Cayman Co on the Qualified
                                    Financing.

                    (ii)    Upon the Investor's exercise of its right to convert the Note into
                            the Convertible Note, the Mmigaged Shares shall be mortgaged
                            to the Investor for the benefit of the Investor to secure the
                            payment and other obligations of'the Company under the
                            applicable transaction documents.

                    (iii)   Upon the Investor's exercise of its right to directly convert the
                            Note into preferred shares of the Company or the Cayrnan Co on
                            a Qualified Financing, the Investor agrees to invest certain
                            amount of cash in a foreign currency (the ''Investment
                            Consideration") into the Company or the Cayman Co in
                            exchange for certain number of preferred shares of the Company
                            or the Cayman Co, and upon the receipt of the Investor
                            Consideration, the Borrower undertakes and covenants to, or the
                            Company and the Owner shall cause the Borrower to, subject to
                            the compliance with applicable PRC laws and the agreement of
                            parties on the details:




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                             (I)       use the Investment Consideration to redeem the Note and
                                       release the Investor's payment obligation under the Note;
                                       or

                             (2)       use other funds to redeem the Note and release the
                                       Investor's obligation under the Note, the amount of
                                       which shall be equal to the Investment Consideration.

                    (iv)     The Owner and the Cayman Co undertake, and shall procure to
                             the ex.tent permitted by law, that the I nvcstor shall eqjoy the
                             same rights set forth under this Section 5, in the event that the
                             Note or the Convertible Note held by the Investor is converted to
                             the Cayman Co shares, at the election of the Investor, on the
                             Qualified Financing as speci/1cd under this Section 5.2.

            (b)     Conversion on Qualified Financing. The Jnvcstor shall be entitled to
                    exercise its right of conversion as specified under this Section 5 .2(b).

                    (i)      Should a Qualified Financing occur prior to the Maturity Date,
                             the Investor shall havt: the right, but not the obligation, to
                             convert the then outstanding amount owing under Note or the
                             Convertible Note, in whole, into preforcncc shares subject to
                             Section 5.2(c) in accordance with the method as follows:

                             (I)       if convcrled to the Company shares:
             outstandir!lLJ!fin.£ipal_amountJiJJ + I 5'Yo xactual Q.i!YllilJ)Jieclsince Issuance Date /3@
                                   80% x per sham price as at the Company's Qualified rinancing
                             (2)       if converted to Cayman Co shares and by then Cayman
                                       Co has had a first Qualified Financing:

             outstµndimzpriq£.ipal amount x_JJ_ ~ !5% x actual   dayscJm?SC<l since Issuance Date /3@ __
                                    80'Yo x per shnre price as ut Cayman Co's first Qmilified Financing

                             or

                             (3)       if converted to Cayman Co shares and by then the
                                       Cayman Co has not had a first Qualified Financing, the
                                       Investor shall negotiate with the Owner of the valuation
                                       (the "Valuation") of the Cayman Co and the shares shall
                                       be calculated as follows:

             outsl;!nding_prin£ll1al amount x (L + 15%. x actual dny,utlfilJsed since Issuance Date /362) .

                                       80°1.i x per share prke as at the Valuation

                    (ii)     Within 30 Business Days after the request of the Investor, the
                             Owner shall procure that the Company shall deliver to the
                             Investor all legal, financial and business information, the final
                             form of the transaction documents with respect             lo   the financing,



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                            and such other materials related thereto that may be reasonably
                            requested by the Investor.

                   (iii)    Except for Section 5.2(b)(i)(3), Qualified Financing Sec.urities
                            issued to the Investor upon conversion of the Note or the
                            Convertible Note shall be identical with respect to rights,
                            preferences and designations as, and shall rank pari pas.,·u with,
                            the Qualified Financing Securities issued to the investors in the
                            Qualified Financing and Investor shall otherwise be entitled to
                            rights under the applicable Qualified Financing definitive
                            documents, as the case may be, on parity with the investors
                            thereunder.

             (c)   Conversion Procedures.

                   (i)      Subject to compliance with the procedures set forth in Section
                            5.2, the conversion rights sd forth in this Agreement shall be
                            exercised by the Investor at any time during usual business hours
                            on a Business Day, at the registered office of the Company (or
                            such other office or agency of the Company as the Company and
                            the Investor may agree), accompanied by a conversion notice
                            (the "Convertible Notice") specifying (i) that the Investor elects
                            to convert the entire Note or the Convertible Note and (ii) subject
                            to the transfer restrictions as agreed, the name or names (with
                            address) in which a certificate or certificates for the Relevant
                            Securities arc to be issued.

                   (ii)     As soon as practicable and in any event within 5 Business Days
                            after the date of the Conversion Notice, the Company shall:

                            ( 1)   take all actions and execute all documents necessary to
                                   effect the issuance and to the extent the Relevant
                                   Securities are in the form of equity securities, registration
                                   of such Relevant Securities on the register of the
                                   Company (including, where applicable, giving all
                                   necessary instruction to the relevant share registry to
                                   effect such issuance) and de] iver to the Investor certified
                                   copies of the register of members reflecting the Relevant
                                   Securities in the name ofihe Investor or its nominee or
                                   assignee, and

                            (2)    deliver to the Investor (x) where the Relevant Securities
                                   are in the form of equity securities, certificate(s)
                                   representing the number or validly issued, fully paid and
                                   non-assessable Relevant Securities calculated in
                                   accordance with Section 5.2, as the case may be and (y)
                                   where the Relevant Securities are in the fo1111 ol'equity-
                                   linkcd securities, certificatc(s) representing the principal
                                   amount of Relevant Securities calculated in accordance
                                   with Section 5.2(h)(i)(l) or 5.2(b)(i)(2).


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            (d)   f.rrtctional Shares. If the conversion of the Note or the Convertible Note
                  would result in the issuance of any fractional share, the Company shall,
                  at its option, round upwards and issue one additional share or pay to the
                  Investor the portion of the principal amount convertible into such
                  fractional share.

            (e)   [) vailability of EguitY. Securitieli, The Company covenants that it will at
                  all times reserve and maintain authority to issue the maximum number
                  of Equity Securi tics issuable upon conversion of the Notc or the
                  Convertible Note. The Company covenants that all Equity Securities,
                  when issued or delivered pursuant to Section 5.2(c), shall be duly and
                  validly issued, shall rank pari passu with all other Equity Securities
                  issued in the Qualified Financing, as the case may be. and where they
                  are in the form of t!CJUity sccuril ics non-assessable, fully paid, free and
                  clear of all Encumbrances, other than Encumbrances arising under the
                  Basic Documents or created, imposed or agreed in writing by the
                  Investor.

            (f)   R<;!_organization. Reclassification. Subject to the terms of the applicable
                  agreement with respect to the Note or the Convertible Note, in case of
                  any merger, amalgamation, arrangement or consolidation of the
                  Company or any capital reorganization, reclassification or other change
                  of outstanding Ordinary Shares (each, a "Transaction"). the Company
                  shall execute and deliver to the Investor at least 30 days prior to
                  effecting such Transaction a certificate, signed by a director of the
                  Company, stating that the rights of the Investor shall continue to be
                  recognized and not prejudiced by the Transaction and appropriate
                  provision shall be made therefor in the agreement, if any, relating lo
                  such Transaction. The provisions of this Section 5.2(!) and any
                  equivalent thereof in any such certificate similarly shall apply to
                  successive transactions.

            (g)   Legend. The Investor shall agree to the imprinting, so long as required
                  by law, of a legend on ccrtificalcs representing all of the Investor's
                  Relevant Securities issuable upon conversion of the Note or the
                  Convertible Note in substantially the following form:

                  LEVIEW MOBILE LTD. (THE "COMPANY") IS A COMPANY
                  INCORPORATED UNDER THE LAWS OF THE CAYMAN
                  JSLANDS, AND THE SECURITIES REPRESENTED l3Y THIS
                  CERTIFICATE SHALL NOT BE SOLD, ASSIGNED,
                  TRANSFERRED, EXCHANGED, MORTGAGED, PLEDGED OR
                  OTHER WISE DISPOSED OF OR ENCUMBERED WITHOUT
                  COMPLIANCE WITH THE ARTICLES OF ASSOCIATION OF THE
                  COMPANY, DATED FEBRUARY 3, 2015, AMONG THE
                  COMPANY AND THE SHAREHOLDERS OF THE COMPANY, AS
                  AMENDED AND RESTATED FROM TIME TO TIME. COPIES OF
                  SUCH ARTICLES OF ASSOCIATION ARE ON FILE AT THE
                  PRINCIPAL OFFICE OF THE COMPANY. TI-IE COMPANY WILL
                  NOT REGISTER THE TRANSFER OF SUCH SECURITIES OR

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                    SECURITIES ISSUED UPON CONVERSION 1lIEREOF ON THE
                    BOOKS OF THE COMPANY UNLESS AND UNTIL THE
                    TRANSFER HAS BEEN MADE IN COMPLIANCE WITH THE
                    TERMS OF SUCH ARTICLES OF ASSOCIATION.

       5.3   Preemptive Right.

             (a)    The Company hereby grants to the Investor the right of first refusal to
                    purchase the Investor's Pro Rata Share (as defined below), of all (or any
                    part) of any Equity Securities (the "New Securities") that the Company
                    may from time to time issue after the Issuance Date (the "Preemptive
                    Right").

             (b)    An Investor's "Pro Ruta Share" for purposes of the Preemptive Right is
                    the ratio of (a) the number of Ordinary Shares held by the Investor on or
                    after the conversion, or, prior to the conversion, the number of Ordinary
                    Shares that would have been held by the Investor as if the Note or the
                    Convertible Note held by the Investor were converted into preferred
                    shares, in each case, as if on a fully-converted basis immediately prior to
                    the issuance of the New Securities (assuming full conversion of all
                    preferred shares and foll conversion or exercise of all outstanding
                    convertible securities, rights, options and warrants held by the Investor),
                    to (b) the total number of Ordinary Shares (including preferred shares on
                    an as-converted basis and assuming that all outstanding options or
                    warrants) then outstanding immediately prior to the isstiance of New
                    Securities (assuming full conversion of preferred shares and full
                    conversion or exercise of all outstanding convertible securities, rights,
                    options and warrants).

             (c)    Tn the event the Company proposes to undertake an issuance of New
                    Securities, it shall give the Investor written notice of its intention,
                    describing the type of New Securities, and their price and the terms upon
                    which the Company proposes lo issue the same. The Investor shall have
                    10 days after any such notice is mailed or de! ivered to agree to purchase
                    the Investor's Pro Rata Share of such New Securities and to indicate
                    whether the lnvestor desires to exercise its Preemptive Right for the
                    price and upon the terms specified in the notice by giving written notice
                    to the Company and stating therein the quantity of New Securities to be
                    purchased.

             (cl)   In the event the Investor fails to exercise folly the Preemptive Right, if
                    any within said 10 day-period (the "Election Period"), the Company
                    shall have 120 days thereatler to sell or enter into an agreement
                    (pursuant to which the sale of New Securities covered thereby shall be
                    closed, if at all, within 120 days from the date of said agreement) to sell
                    that portion of the New Securities with respect to which the Investor's
                    Preemptive Right set forth in this Section 5.3(a) was not exercised, at a
                    price and upon terms no more favorable to the purchasers thereof than
                    specified in the Company's notice to the Investor delivered pursuant to
                    Section 5.J(c). In the event the Company has not sold within such 120-


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                     day period following the Election Period, or such 120-day period
                     following the <late of said agreement, the Company shall not thereafter
                     issut! or sell any New Securities, without first again offering such
                     secmities to lht\ Investor in the manner provided in this Section 5.3.

       5.4   Jag-along Right.

             (a)    Following any conversion of the Note or the Convertible Note held by
                    the Investor, if any of the shares (the "Disposed Shares") in the
                    Company directly or indirectly held by the Owner is to be sold to any
                    third party (the "Disposition"), the Investor may elect to exercise its tag-
                    along right (the "Tag-along Right") and participate on a pro-rata basis in
                    the Disposition on the same terms and conditions as set forth in the
                    written notice (the "Disposition Notice") to the Company and the
                    Investor sent by the Owner, which notice shall state:(i) the name of the
                    Owner, (ii) the name and address of the proposed purchaser, (iii) the
                    number of shares to be disposed; (iv) the amount and form of the
                    proposed consideration for the Disposition, (v) any other material
                    business relations between the Owner and the purchaser, and (vi) the
                    other terms and conditions of the proposed Disposition. In the event that
                    the proposed consideration fbr the Disposition includes consideration
                    other than cash, the Disposition Notice shall include a calculation of
                    then fair market value of such consideration and an explanation of the
                    basis for such calculation.

             (b)    To exercise its Tag-along Right, the Investor must give the Owner, as
                    applicable, ,vritten notice to that effect within 40 days afl:er delivery of
                    the Disposition Notice, and upon giving such notice the Investor shall be
                    deemed to have effectively exercised the Tag-along Right. The Investor
                    may sell all or any part of that number of Shares (the "Tag-along_
                    Shares") held by the Investor equal to the product obtained by
                    multiplying (x) the number of Disposed Shares by (y) a fraction, the
                    numerator of which is the number of Ordinary Shares (calculated on an
                    as-converted an<l fully-diluted basis) at the time owned by the Investor
                    and the denominator of which is the aggregate number of Ordinary
                    Shares (calculated on an as-converted amJ fully-diluted basis) owned by
                    the Investor and other convertible note ht)!ders plus the number of
                    Ordinary Shmes (calculated on an as-converti..:d and fully-diluted basis)
                    then owned by the Owner, as applicable.

       5.5   Inf<.)rmation Rights. Aller the Issuance Dale, the Company or the Borrower
             shall regularly deliver to the Investor information relating to the daily business
             operation of the Company and the Borrower, including but not limited, to the
             fbllowing documents or reports:

             (a)    within 90 days aner the end of each fiscal year of the Company and the
                    Borrower, a consolidated income statement and statement of cash flows
                    for the Company and the Borrower for such fiscal year and a
                    consolidated balance sheet for the Company and the Borrower as of the
                    end of the fiscal year, audited and certified by one of the Big Four


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                   Accounting Fim1s accepted by the Board, all prepared in English and in
                   accordance with the Accounting Standards consistently applied
                   throughout the period;

             (b)   (i) within 45 days after the end of each quarter, a consolidated income
                   statement and statement of cash ilows for the Company und the
                   Borrower for such quarter and a consolidated balance sheet for the
                   Company and the Borrower as of the end of such quarter, all prepared in
                   English and in accordance with the Accounting Standards consistently
                   applied throughout the period, and (ii) promptly following the end of
                   each quarter an up-to-date capitalization table, and both items (i) and (ii)
                   shall be certified by the chief financial officer or the financial controller
                   of the Company and the Borrower;

             (c)   within 20 days of the end of each month, a consolidated unauclikd
                                                     or
                   income statement and statement cash flows for such month and a
                   consolidated balance sheet for the Company and the Borrower as of the
                   end of such month, all prepared in English and in accordance with the
                   Accounting Standards consistently applied throughout the period (except
                   for customary year-end adjustments and except for the absence of notes)
                   and ce11ified by the chief financial ofiicer of the Company and the
                   Borrower;

             (d)   a comprehensive operating budget forecasting the Company's and the
                   Borrower's revenues, expenses, and cash position for the following
                   fiscal year within 30 days prior to the end of each fiscal year, in
                   reasonable detail on a monthly basis, broken down by different
                   operating subsidiaries and associated companies; and

             (e)   as soon as practicable, any other infonnation reasonably determined by
                   the Board or reasonably requested by the Investor.




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       5.6   Inspection J3:M11§.. Arter the Issuance Date, the Company and the Borrower
             shall, and the Company and the Owner shall cause each of the other Group
             Members to, give to the Investor and its Representatives reasonable access,
             upon reasonable prior notice, to the premises and the books and records, and
             instruct its officers and employees to furnish all information and explanations to
             the Investor or any such Persons as the Investor may reasonably request during
             normal business hours, under the supervision of a Company officer and in such
             a manner as not to interfere with the normal business operations of the
             Company or any other Group Member.

       5.7   App-0intmcnt of Board Observer. As long as the Note or the Convertible Note
             is outstanding or lhe Investor holds any share in the Company after conversion,
             the Company shall procure that the Investor shall be entitled to, from lime to
             tim1,;\ at its own expense, and at any time, to designate one individual that is an
             employee or onicer of the Investor or any of its Affiliates (the "Observer") to
             attend all meetings of the Board and all committees thereof (whether in person,
             by telephone or other) in a non~voting observer capacity.

       5.8   Reserved Matters. From the Issuance Date until the occurrence of the Qualified
             Financing, the fi.)l!owing matters in connection with the Company shall be
             subject to the Investor's prior written consent:

             (a)    any amendment or modification to the Company Charter Documents;

             (b)    any material change to the nature or scope of the business of the
                    Company;

             (c)     any material merger, amalgamation, scheme or arrangement,
                     reorganization, restructuring, or consolidation of the Company or any of
                     its subsidiaries;

             (cl)    any liquidation, winding up, dissolution, disposition, reorganization, or
                     arrangement of the Company or any of its subsidiaries:

             (c)    any change to the size or composition of the board of directors of the
                    Company or any of its subsidiaries;

             (t)    any change to the accounting policies or the auditor of the Company not
                    in compliance with the International Financial Reporting Standards,
                    Generally Accepted Accounting Principles or Ilong Kong Financial
                    Reporting Standards;

             (g)    appointment or removal of any key employees orthe Company;

             (h)    determination or adjustment of the pricing basis of transactions between
                    the Company and any of its related parties;

             (i)    any related party transaction entered into by the Company in excess of
                    US$10 rnillion (or its equivalent in other currencies) individually or in




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                      excess or US$90 million in the aggregate over any 12 consecutive
                      calendar months period; and

              (i)     any other material matters or the Company.

       5.9    DivicleJlQ. After the full conversion of the Note or the Convertible Note held by
              the Investor into preforred shares upon occurrence of the initial Qualified
              Financing, the Investor shall be entitled to participate any dividend distribution
              declared by the Company from time to time.

       5.10   Business Plan. The Company shall formulate and implement a five-year
              business operation plan, which shall be approved by the Investor and shall set
              forth the Company's development strategy, financial forecast, operational
              capital expenditure plan and implementation plan.

       5.11   J.,ock-un. Sul~jcct to a 90-day prior written notice to the Investor, the Owner
              may transfer or assign, directly or indirectly, his interest in the Company or
              Cayman Co at any time prior to the full conversion or redemption of the Note or
              the Convertible Note; 111·0.1!.l!.leci. that the !()!"going transfer or assignment will not
              result in the Owner ceasing to be the Company's and the Cayman Co's actual
              controlling person; provideg_ futther that if the forgoing transfer or assignment
              will result in the Owner ceasing to the Company's and the Cayman Co's actual
              controlling person, such transfer or assignment will be subject to the Investor's
              prior written consent.



              (a)     The Company, the Cayman Co and the Borrower shall, and the Owner
                      shall cause the applicable Group Members and the Onshore Companies
                      to:

                      (i)      complete all the steps of the Restrncturing in accordance with all
                               applicable Jaws and reasonably satisfactory to the Investor within
                               6 months alter the Issuance Date, which will result in a corporate
                               structure consistent with the structure set forth in Schedule I B
                               hereof; and

                      (ii)     duly perform each Onshore Contract to which it is a party in
                               accordance with the terms thereof

              (b)     So long as any of the Note or the Convertible Note remains outstanding,
                      the Owner shall not without the prior consent of the Investor, sell, give,
                      assign, hypothccate, pledge, encumber, grant a security interest in or
                      otherwise dispose oC or suffer to exist (whether by operation of law or
                      otherwise) any Encumbrance on any equity interest in the Onshore
                      Companies.

              (c)     All the following assets related to the Existing Business held or owned
                      by any Afliliate of the Owner other than the Group and the Onshore
                      Companies shall be transferred or assigned to the Onshore Companies or


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                  the WFOE, as the case may be, within 12 months following the Issuance
                  Date, which may be extended subject to the Investor's prior written
                  consent:

                  (i)     all the employment agreements of Xing FENG (IXb:'t), Lin MA
                          (IbJilit',f), Zhizhong AN Ct:;{~;J,~), Zhanliang CUI (Wh~ [;J.) and
                          Zhishcng DONG (ffLJ;~:Jl);

                  (ii)     all the relevant Intellectual Property;

                  (iii)    all the material contracts, including but not limited to, purchase
                           contracts with suppliers and sales contracts with customers; and

                  (iv)    all the applicable licenses or permits required by law or
                          applicable Governmental Authority to conduct the Existing
                          Business.




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                                        SECTlON 6
                     CONFIDENTIALITY; RESTRICTION ON ANNOUNCEMENTS
       6.1   General Obligation. Each Party undertakes to the other Parties that it shall not
             reveal, and that it shall procure that its directors, equity interest holders, partners,
             representatives, members, advisors (including auditors, accountants. consultants,
             financial advisors and attorneys), financing sources, officers, employees and
             agents (collectively, "K~nresentatives") do not reveal, the Confidential
             Information to any third party without the prior written consent of other Parties
             or use any Confidential Information in such manner that is detri.mental to the
             Company or the com:emcd Patty, as the case may be. Each Party shall be
             responsible tor any breach of obligations set forth herein by any of its Afliliates,
             its Representatives or its Affiliates' Representatives, and shall procure that its
             Affiliates, its Representatives or its Affiliates' Representatives shall comply
             with the obligations set forth in this Section 6 as of it were a party to this
             Agreement. The term "ConfidentiaJJnformatio11" as ttsed in this Section 6
             means, i) any information concerning the organization, business, technology,
             safety records, investment, finance, marketing, business plans, transactions or
             affairs of any Party or any Group Member or any of their respective directors,
             ofiicers or employees (whether conveyed in written, oral or in any other form
             and whether such information is furnished before, on or after the date of this
             Agreement) and ii) the terms and existence of this Agreement, the Loan
             Agreement and the Onshore Contracts (other than the Basic Documents that an:
             required by law or any applicable Governmental Authority to he publicly filed
             or disclosed) (collectively, the "Financing Terms"); nmvided, that Confidential
             Information does not include information that (i) is or becomes publicly known
             or available through no breach of this Agreement, (ii) is rightfully acquired free
             of restrictions on its disclosure, or (iii) is independently developed without any
             use or or reference to any Confidential Information.

       6.2   Exc@Jions, The provisions of Section (i.1 shall not apply to:

             (a)     disclosure by a Party to its Representative, pmvided that such
                     Representative (i) is under a similar obligation of conlidentiality or (ii)
                     is otherwise under a binding professional obligation of confidentiality;
             (b)     disclosure by a Party to its Af'filiates and their respective
                     Representatives, provided that such Affiliate and Representative (i) is
                     under a similar obligation of confidentiality or (ii) is otherwise under a
                     binding professional obligation of confidentiality;
             (c)     disclosure, after giving prior notice to the other Parties to the extent
                     practicable under the circumstances and subject to any practicable
                     arrangements to protect confidentiality, to the extent required under the
                     rules of' any stock exchange on which the shares of a Party or its parent
                     company are listed or by law or any applicable Governmental Authority
                     and only to the extent required thereby; or
             (d)     disclosure of any Confidential Infomrntion other than the Financing
                     T'erms hy any Group Member, the Owner or their Representatives of any


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                    of such Confidential lnfonnation to a third party in connection with any
                    existing or proposed transaction or other contractual relationship of any
                    Group Member or their Artiliates. provided that such third party (i) is
                    under a similar obligation of confidentiality or (ii) is otherwise under a
                    binding professional obligation of confidentiality.
       6.3   Puhlicit)'.. Except as required by law, by any Governmental Authority, by any
             relevant stock exchange on which the shares of a Party or its parent company
             are listed or otherwise agreed by all the Parties, no public release or public
             announcement concerning the relationship or involvement of the Parties shall be
             made by any Party.

                                    SECTION 7         FEES AND EXPENSES
       7.1   General. Each Party shall pay all of its own costs and expenses incurred in
             connection with or relating to the negotiation, execution. delivery and
             pcrformance of the Basic Documents and the transaction contemplated thereby
             Each of the Parties hereto shall bear its own costs and expenses in connection
             with the negotiation, execution, delivery and performance of this Agreement
             and the other Basic Documents and the transactions contemplated hereby and
             thereby.

                                     SECTION 8        INDEMNIFICATION
       8.1   ScQp~_9f Indemnification. Each Party (an "Indenmifying Par1}'..") shall
             indcmnil:y and hold the other Parties and their directors, officers and agents
             (collectively, the "lndemnilled Party") harmless from and against any losses,
             claims, damages, liabilities, judgments, fines, obligations, expenses and
             liabilities of any kind or nature whatsoever, including but not limited to any
             investigative, legal and other expenses incurred in connection with, and any
             amounts paid in settlement of, any pending or threatened legal action or
             proceeding, but excluding consequential damages, special or incidental damages,
             indirect damages, punitive damages, lost profits, and diminution in value
             (collectively, "Losses") resulting from or arising out of: (i) the breach of any
             warranty of such Indcmni fying Party contained in the Basic Documents or in
             any schedule or exhibit hereto determined without regard to any materiality
             qualifier therein; or (ii) the violation or nonperformance, partial or total, of any
             covenant or agreement of such Indemnifying Party contained in the Basic
             Documents for reasons other than gross negligence or willful misconduct of'the
             Indemnified Party. The Company, the Borrower and the Owner shall jointly
             and severally indemnify the Investor and its directors, officers, and agents
             harmless and against m1y Losses resulting from or arising out oe (i) the breach
             of any warranty of the Company, the Borrower and the Owner contained in this
             Agreement or in any schedule or exhibit hereto determined without regard to
             any materiality qualifier therein; or (ii) the violation or nonperformance, partial
             or total, of any covenant or agreement of the Company, the Borrower or the
             Owner contained in this Agreement for reasons other than gross negligence or
             will fol misconduct of the Indemnified Party. In calculating the amount of any
             Losses of an Indemnified Party hereunder, there shall be subtracted the amount



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             of any insurance proceeds and third-party payments received by the Indemnified
             Party with respect to such Losses.

       8.2   Notice of.Claims; Procedures. !fan Indemnified Party makes any claim against
             an Indemnifying Party for indemnification, the claim shall be in writing and
             shall state in general terms the facts upon which such Indemnified Party makes
             the claim. In the event of any claim or demand asserted against an Indemnified
             Party by a third party upon which the Indemnified Party may claim
             indemnification, the Indemnifying Party shall give written notice to the
             Indemnified Party within 30 clays after receipt from the Indemnified Party of the
             claim referred to above, indicating whether such Indemnifying Pa11y intends to
             assume the defense of the claim or demand. If an Indemnifying Party assumes
             the defense, such Indemnifying Party shall have the dght to fully control and
             settle the proceeding, provided, that any settlement or compromise shall be
             permitted hereunder only with the written consent of the Indemnifted Party,
             which consent shall not be unreasonably withheld or delayed. lf the
             Indemnifying Party elects not to assume the defense or fails to make such an
             election with the 30-day period, the Indemnified Party may, at its option, defend,
             settle, compromise or pay such action or claim; 12mvided, that any settlement or
             compromise shall be permitted hereunder only with the written consent of the
             Indemnifying Party, which consent shall not be unreasonably withheld or
             delayed.

                                         SECTION 9       TERMINATION
       9.1   Effective Date; Termination. This Agreement shall become effective upon
             execution by all of' the Parties and shall continue in force until terminated in
             accordance with Section 9.2.

       9.2   Events of Termination. This Agreement may be terminated al any time prior to
             the Issuance Date as follows:

             (a)    at the election of the Investor, if the Company, the Borrower, the WFOE,
                    if applicable, or the Owner has materially breached any Collective
                    Warranty, or any other covenant or agreement of the Company, the
                    Borrower, the WFOE, if applicable, or the Owner contained in any Basic
                    Document, which breach cannot be cured or, if it is capable of being
                    cured, is not cured within 30 days alter the Company, the WFOE, if
                    applicable, and the Owner being notified in writing of the same;

             (b)    at the election of the Company, if the Investor has materially breached
                    any Investor Warranty, or any other covenant or agreement of the
                    Investor contained in the Basic Documents, which breach cannot be
                    cured or, if capable of being cured, is not cured within 30 days afler the
                    Investor being notified in writing of the same; or

             (c)    by written consent of the Company, WFOE, if applicable, the Owner
                    and the Investor.




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       9.3     Stl[yivgJ. If this Agreement is terminated in accordance with Section 9.2, it
               shall become void and of no further force and effect, except for the provisions
               of Section 6 (Confidentiality; Restriction on Announcements), Section 7 (Fees
               and Expenses), Section 8 (Indemnification). this Section 9, Section l O (Notices),
               Section 1 I (Miscellaneous). and Section 12 (Governing Law and Dispute
               Resolution); provid~g_, howe.y~J:, that such termination shall, unless otherwise
               agreed by the Parties, be without prejudice to the rights of any Party in respect
               of a breach of this Agreement prior to such termination.

                                              SECTION 10      NOTICES
       10.1    Notic;~§.. Each notice, demand or other communication given or made under this
               Agreement shall be in writing in English and delivered or sent to the relevant
               Party at its address or lax number set out below (or such other address or fax
               number as the addressee has by five days' prior written notice specified to the
               other Parties). Any notice, demand or other communication given or made by
               letter between countries shall be delivered by air mail. Any notice, demand or
               other communication so addressed to the relevant Party shall be deemed to have
               been delivered, iii) if delivered in person or by messenger, when proof of
               delivery is obtained by the delivering party; iv) if sent by post within the same
               country, on the third day following posting, and if sent by post to another
               country, on the seventh day following posting; and v) if given or made by fax,
               upon dispatch and the receipt of a transmission report confirming dispatch.

       l O.2   Adc(resses and Fax _~.1m1h.ers. The initial address and facsimile for each Party
               for the purposes of this Agreement are:

                if to the Investor:

                Room 707, 7th Floor, No. 8 Yongan
                Dongli, Jim1guo Menwai A venue,
                Beijing, PRC
                Attention: Xiaosong Ge ( -i*i 1J,;J;1~)
                Facsimile: +86 13699278536

                if to the Company, the Borrower or
                the Owner:

                16/F, Leshi Building, No. 105,
                Yaojiayuan Road, Chaoyang District,
                Beijing, 100025, PRC
                Attention: Wei DENG (Xl)f b)



                                         SECTION 11 MISCKLLANEOlJS
       11.1    Enforceq1~H Action. For the avoidance of doubt, any obligation on the part of
               the Investor to make the investment lwreundcr is made solely to the Company,




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              the Borrower, the WFOE, if applicable, and the Owner, and no other Person
              shall have any right to enforce such obligation against the Investor.

       11.2   No Partnersllli2. The Parties expressly do not intend hereby to fonn a
              partnership, either general or limited, under any jurisdiction's partnership law.
              The Parties do not intend to be partners one to another, or partners as to any
              third party, or create any fiduciary relationship among themselves, solely by
              virtue of the Investor's status as the holder of the Note or the Convertible Note.




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       l 1.3   Amendment.. This Agreement may not be amen<led, modified or supplemented
               except by a written instrument cx<.~cuted by each of the Parties.

       11.4    Waiver. No waiver of any provision of this Agreement shall be effective unless
               set forth in a written instrument signed by the Party waiving such provision. No
               failure or delay by a Party in exercising any right, power or remedy under this
               Agreement shall operate as a waiver thereoi: nor shall any single or partial
               exercise of the same precl udc any further exercise thereof or the exercise of any
               other right, power or remedy. Without limiting the furegoing, no waiver by a
               Party of any breach by any other Pmty of any provision hereof shall be deemed
               to be a waiver of' any subsequent breach of that or any other provision hereof.

       11.5    Entire ,0.greement. This Agreement (together with the other Basic Documents,
               any other documents rdcrred to herein or therein and any documents executed
               to implement the transactions contemplated by the Basic Documents)
               constitutes the whole agreement between the Parties relating to the subject
               matter hereof and supersedes any prior agreements or understandings relating to
               such subject matter.

       11.6    Severability. Each and every obligation under this Agreement shall be treated
               as a separate obligation and shall be severally enforceable as such and in the
               event of any obligation or obligations being or becoming unenforceable in
               whole or in part. To the extent that any provision or provisions of this
               Agreement are unenforceable they shall be deemed to be deleted from this
               Agreement, and any such deletion shall not affect the enforceability of this
               Agreement as remain not so deleted.

       11.7    Countc1:narts. This Agreement may be executed in one or more counterparts
               including counterparts transmitted by tclecopier or facsimile, each of which
               shall be deemed an original, but all of which signed and taken together, shall
               constitute one document.

       11.8    i~onsent to Specific Pcrfo1:mance. The Parties declare that it is impossible to
               measure in money the damages that would be suffered by a Party by reason of
               the failure by any other Party to perform any of the material obligations
               hereunder and that, in addition to all other remedies, each Party will be entitled
               to seek specific performance and to seek injunctive or other equitable relief as a
               remedy for any such breach or failure to perform its material obligations
               hereunder.

       11.9    Transfer; Assignment. This Agreement shall inure to the benefit of and be
               binding upon the Parties, and their respective successors and permitted assigns.
               This Agreement shall not be assigned without the express written consent of all
               the Parties (which consent may be granted or withheld in the sole discretion of
               any Party), and any purported assigmncnt without such consent shall be void,
               J}IQJ!Jded that, to the extent permitted by the applicable laws, the Investor shall
               be entitled to transfer or assign its rights and obligations under the Basic
               Documents to any of its Affiliates with a prior written notice to the Company.




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                                        SECTION 12
                           GOVERNING LAW AND DISPUTE RESOLUTION
       12.1   GOVERNING LAW. THIS AGREEMENT SHALL BE GOVERNED BY,
              AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE
              HKSAR APPLICABLE TO CONTRACTS TO BE PERFORMED WHOLLY
              WITHIN SUCH JURISDICTION, WITHOUT REGARD TO THE
              PRINCIPLES OF CONFLICTS OF LAW OF ANY JURISDICTION.

       12.2   Dispute Resolution.

              (a)   Any dispute, controversy or, claim or di !Terence of any kind whatsoever
                    arising out of, relating to or in connection with this Agreement,
                    including the existence, validity, interpretation, performance, breach or
                    te1111ination thereof, the validity, scope and enforceability of this
                    arbitration provision and any dispute regarding no-contractual
                    obligations arising out of or relating to it (the "Disn11~") shall be
                    rcfe1Ted to and finally resolved by arbitration administered by the I long
                    Kong International Arbitration Center (the "l-TKI6_Q") in accordance
                    with tbe HKIAC arbitration rules in force at the time of the
                    commencement or the arbitration. However, if such rules are in conflict
                    with the provisions of this Section 12.2, including the provisions
                    concerning the appointment of arbitrators, the provisions of this Section
                    12.2 shall prevail.

              (b)   The law of this arbitration clause shall be Hong Kong law. The seat of
                    arbitration shall be Hong Kong.

              (c)   The number of arbitrators shall he three and the language of the
                    arbitration proceedings and written decisions or correspondence shall be
                    English.

              (d)   Any party to the Dispute shall be entitled to seek preliminary injnnctive
                    relief: if' possible, from any court of competent jurisdiction pending the
                    constitution of the tribunal.




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                      IN WITNESS WHEREOF this Agreement has been executed on the day
      and year first nbove written.




                                              COMPANY:


                                              ;;Ji\'cl;ti/vYJvl;QMl;Lhf
                                              Levie)V1
                                                             ,-.._          LTD.t
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                                              By: __ ·.
                                              N'•m1c-·· ~\~\l•A:                         ~ ----····-
                                                                      ·r· W;' h1.f. l \ l •· · •·
                                                           'IITtlJr11NMcf"S'fg1rmt,re(s)
                                              Title: Director


                                              CAYMAN CO:




                                              BORROWER:




      OWNER:
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                       lN WITNESS WHEREOF this Agreement has been executed on the duy
       and year first above written.



       INVESTOR:




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                                  SCHEDULE 1
                  SHAREHOLJ)ING STRUCTURE OF THE GROUP
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                                 SCHEDULElA

 SHAREHOLDING STRUCTURE OF THE GROUP AS OF THE DATE OF THIS AGREEMENT
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                                SCHEDULE1B

SHAREHOLDING STRUCTURE OF THE GROUP AFTER COMPLETION OF RESTRUCTURING




                                                                                   China




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                                            SCI-IEDULE 2

                                  COLLECTIVE WARRANTIES

       Definitions

       In this Schedule, capitalized terms not otherwise defined have the meanings set forth in
       this Agreement, and the following terms have the meanings specified:

       "Contracts" means all contracts, agreements, licenses, engagements, leases, financial
       instruments, purchase orders, commitrnents and other contractual arrangements, that are
       currently subsisting and not terminated or completed.

       "Enviro11mental Laws" means any and all applicable current PRC or non-PRC national,
       federal, state, or local Law, statutes, rules, regulation, orders, ordinances, guidance
       documents, judgments, authorizations by any Governmental Authority, or any other
       requirement of any Governmental Authority relating to (a) environmental matters, (b)
       the generation, use, storage, transportation or disposal of hazardous substances, or (c)
       occupational safety and health, industrial hygiene, handling and disposal of medical
       waste, land use or the protection of human, plant or animal health 01· welfare.

       "Intellectual Property_" means (a) patents and patent applications. (b) trademarks,
       service marks, trade names, trade dress and domain names, together with the goodwill
       associated exclusively therewith, (c) copyrights, including copyrights in computer
       software, (d) confidential and proprietary in1ormation, including trade secrets and
       know-how, and (e) registrations and applications for registration of the foregoing, in
       each case, relating to the business of researching, designing, developing, manufacturing,
       selling or marketing mobile phones and other personal devices, as well as other related
       internet or mobile internet business.

       "Liabilities." means all indebtedness and other liabilities of any nature whatsoever,
       actual or contingent, and whether or not of a nature required to be disclosed in the
       accounts of the Ciro up.

       "Litigation" has the meaning set forth in Section 11 of this Schedule 2.

       "P~rmits" means all pennits, consents, approvals, authorizations, franchises,
       certilications and licenses from, and all registrations with, any Clovernmental Authority.

       The Warranties

       The Company, the WFOE, if applicable, and tht~ Owner hereby, severally and jointly,
       represent and warrant to the Investor that the following representations and warranties
       are true and complete as of the date hereof and the Issuam:e Date, except as otherwise
       stated.

       1.     CORPORATE MATTERS

              (a)     Organization, Good Standing and Qualification. Each of the Grnup
                      Members and the OnshMe Companies has been duly incorporated and
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                   organized, is validly existing and, where applicable, is (i) in good
                   standing and (ii) in compliance with all registration and approval
                   requirements. Each of the Group Members and the Onshore Companies
                   has the corporate power and authority to ovvn and operate its assets and
                   properties and to carry on its business as currently conducted and as
                   contemplated to he conducted.

            (b)    Charter Documents. The Company Charter Documents and the
                   constitutional documents of the Onshore Companies furnished to the
                   Investor are effective, have not been superseded and are true and
                   complete.

            (c)    Capitalization and Shareholding Structure of the Group. The
                   shareholding structure ofthe Group set forth in .Schec!IJL~J A are true,
                   complete and correct description of the share capital of such entity on
                   the date hereof and on the Issuance Date. Immediately following the
                   Issuance Date, the authorized capital orthe Company will consist of
                   only one class of shares, namely, 50,000 Ordinary Shares, par value
                   US$0.000I per share, I 00% of which are duly and validly issued, fully
                   paid, nonassessable, and outstanding, and were issued in accordance
                   with all applicable laws.

            (cl)   Options, Warrants and Reserved Shares. Except for (A) the Note or the
                   Convertible Note, if applicable, and (B) the preferred shares issuable
                   upon conversion of the Note or the Convertible Note and any rights to be
                   granted pursuant to the Basic Documents, there are no outstanding
                   options, warrants, rights (including conversion or preemptive rights) or
                   agreements for the subscription or purchase from any Group Member of
                   any Equity Securities of any Group Member or any securities
                   convertible into or ultimately exchangeable or exercisable for any Equity
                   Securities of any Group Member.

            (c)    Other Rights With Respect to Shares. Except as provided in the Basic
                   Documents, no voting or similar agreements exist in relation to the
                   Equity Securities or any Group Member that arc presently outstanding or
                   that may hereafter be issued.

            (f)    Subsidiaries. Save for the HK Co and the WFOE, if applicable, the
                   Company docs not directly or indirectly own any interests in or Control
                   any other entities. Neither of the HK Co or the WFOE, il'applicable,
                   directly or indirectly owns any interests in or Controls any other entities.

            (g)    Corporate Records. The registers or shareholders, resolutions and all
                   other documents of the Group required to be kept or filed with any
                   relevant Governmental Authority have been kept, filed or submitted for
                   filing.

            (h)    Competitive Activities. The Owner does not hold any equity interests in
                   any entity that carries on any business that competes with the business of
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                   any Group Mem bcr, or the Onshore Company as presently conducted or
                   as contemplated to be conducted, except the ownership of shares in
                   publicly traded companies representing less than five percent of the
                   outstanding share capital of such company.

       2.   AUTHORIZATION AND VALIDITY OF TRANSACTIONS

            (a)    Authorization. Each of the Company, the Owner, the other Group
                   Members and the Onshore Companies has the power and authority to
                   execute, deliver and perform the Basic Documents to which it/he is a
                   party. All actions on the part orthe Company, the Owner, the other
                   Group Members and the Onshore Companies necessary for the
                   authorization, execution, delivery of and the performance of all of its/his
                   obligations under the Basic Documents have been taken or will be taken
                   prior to the Issuance Date.

            (b)    Yalid Issuance of Stock. The preferred shares when issued upon
                   conversion or the Note or the Convertible Note will be duly authorized
                   and validly issued, fully paid and non-assessable, free of restrictions on
                   transfer other than restrictions on transfer under this Agreement, the
                   Note or the Convertible Note and any applicable securities or corporate
                   laws.

            (c)    Enforceability. The Basic Documents to which any Group Member, the
                   Owner or the Onshore Company is a party will, when executed, be the
                   valid and binding obligation of such Group Member, the Owner or the
                   Onshore Company, enforceable against such Ciroup Member, the Owner
                   or the Onshore Company, as applicable, in accordance with their
                   respective terms, except where such enforceability may be limited by (i)
                   applicable bankruptcy, insolvency, reorganization, moratorium; (ii)
                   similar laws affecting creditors' rights generally; or (iii) any
                   indemnification provisions contained in the Basic Documents.

            ( d)   C0t1.;ients and Approvals. On or prior to the Issuance Date, all consents,
                   approvals, orders or authorizations of~ or registrations, qualifications,
                   designations, declarations or filings with, any Governmental Authority
                   or any other Person required in connection with the execution, delivery
                   and performance by the Group, the Onshore Companies and the Owner
                   of the Basic Documents or the consummation of the transactions
                   contemplated hereby or thereby (including without limitation, the
                   Restructuring) have been duly obtained in compliance with all applicable
                   laws.

            (c)    No Breach. The execution and delivery by any Group Member, the
                   Onshore Cornpany and the Owner of each of the Basic Documents to
                   which it is a party and the implementation and performance by such
                   Group Member, the Onshore Company and the Owner of all the
                   transactions contemplated under such Basic Documents (including
                   without limitation, the Restructuring) do not and will not:
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                  (i)     breach or constitute a default under the Company Chat1er
                          Documents or the constitutional document of any other Group
                          Member or the Onshore Company:

                  (ii)    result in a breach of, or constitute a default under, any Contract to
                          which any Group Member, the Onshore Company or the ()wner
                          is a party or by which such Group Member, the Onshore
                          Company or the Owner or their respective property or assets is
                          bound or result in the creation or increasing of any obligation on
                          such (}roup Member, the Onshore Company or the Owner
                          (whether to make payment or otherwise) to any Person; or

                  (iii)   result in a violation or breach of or default under any applicable
                          law.
                          except, in the case of clauses (ii) and (iii), as could not materially
                          and adversely affect the ability of any Group Member, the
                          Onshore Company or the Owner to carry out its obligations under,
                          and to consummate the transactions contemplated by, the Basic
                          Documents to which it is a party.

      3.    LEGAL COMPLIANCE

            (a)   No Violation of Law. None of the Group Members or the Onshore
                  Company is or has at any time been in violation of any appl icablc law or
                  regulation, which may have a material adverse effect on the ability of
                  any Group Member to conduct its business as currently conducted or as
                  contemplated to be conducted.

            (b)   fg_rmits aod Re_gistrations. Each Group Member and the Onshore
                  Company has all Permits and has completed all government registrations
                  necessary for the conduct of its business as currently conducted and as
                  contemplated to be conducted and to own its assets. None of the Group
                  Members or the Onshore Company is in material breach of or default
                  under any such Permit, and there is no reason to believe any such Permit
                  shall be suspended, cancelled or revoked.

      4.    ENVIRONMENTAL ISSUES

                  Each Group Member and the Onshore Company is currently in
                  compliance with all Environmental Laws and has at all times complied
                  with all Environmental Laws in all material aspects.

      5.    PROPERTIES AND ASSETS

            (a)   Status of Pt~opcrties and_Asset~_. Each Group Member and the Onshore
                  Company owns or has the right to u1,;e all material properties and assets
                  currently used by it in the conduct of its business as currently conducted
                  and contemplated to be conducted. The properties and assets owned by
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                  the Group and Onshore Company are free and clear or all Encumbrances.
                                                          or
                  The tangible assets and real property each Group Member and the
                  Onshore Company have been properly maintained and arc in working
                  condition, and are in all respects in a condition that is adequate for the
                  intended uses or such assets, sul*ct to continued repair and replacement
                  in accordance with past practice.

            (b)   General Liabilities. None ofthe Group Members or the Onshore
                  Company has any obligations or liabilities or any nature, whether
                  accrued, absolute or contingent, whether liquidated or unliquidated, and
                  whether now due or to become due, except for trade or business
                  obligations and liabilities incurred in the ordinary course of business
                  since such entity's inception.

       6.   CONTRACTS AND TRANSACTIONS

            (a)   y_µlidity of Material Contl.1l&1§_.
                  (i)      No Group Member or the Onshore Company is in breach of or
                           has knowledge of the invalidity of or grounds for rescission,
                           avoidance or repudiation of any material contract to which the
                           Group Member or the Onshore Company is a party. nor has any
                           Group Member or the Onshore Company received notice of any
                           intention to terminate any such material contract.

                  (ii)   To the best knowledge of the Company. the WFOE and the
                         Owner, no party with whom a Group Member or an Onshore
                         Company has entered into any material contract is in default
                         thereunder, except !'or defaults which would not have a material
                         adverse effect on the financial condition of the Group or the
                         Onshore Companies; to the best knowledge of the Company, the
                         WFOE and the Owner, there are no circumstances likely to give
                         rise to any such default.

            (b)   Brokers and Finders. No broker, finder or investment banker is entitled
                  to any brokerage, finder's or other fee or commission in connection with
                  the transactions contemplated by the Basic Documents based upon
                  arrangements made by or on behalf of the Company and the Owner.

       7.   IrJNANCIAL MATTERS

            (a)   Liabilities. Neither the Group nor the Onshore Companies with respect
                  to its Existing Business has any Liabilities other than (i) Liabilities
                  reflected or reserved against in their respective accounts, n true and
                  complete copy of which has been delivered to the Investor; (ii)
                  Liabilities incurred in the ordinary course of business; or (iii) Liabilities
                  in relation to the Basic Documents. No Group Member or the Onshore
                  Company has guaranteed any indebtedness of any other Person.
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            (b)   Financial Materials. All the accounts, books, registers, ledgers and
                  financial and other material records of whatsoever kind of each Group
                  Member and the Onshore Company which have been provided to the
                  Investor are accurate and complete in all material respects; and they
                  present a true and fair view of the financial, contractual and trading
                  position of each Group Member and the Onshore Company and of its
                  respective facilities and machinery, fixed and current assets and
                  liabilities (actual and contingent), debtors, creditors and work-in-
                  progress.

      8.    TAX, RECORDS AND RETURNS

            (a)   Complianq;_ with Laws. None of the Group Members or the Om;hore
                  Company is or has at uny time been in violation of any applicable law or
                  regulation regarding Tax which may result in any liability or criminal or
                  administrative sanction or otherwise having a material adverse effect on
                  any Group Member or the Onshore Company, other than such violation
                  that has been rectified or resolved and does not have any foreseeable
                  liability or criminal or administrative sanction or otherwise.

            (b)   Tax Returns and Payments. Each Group Member or the Onshore
                  Company has filed all tax returns and reports as required by law, and
                  such returns and reports arc true and correct in all material respects.
                  Each Group Member or the Onshore Company has paid all taxes and
                  other assessments due and none of the Group Members is or will become
                  liable to pay any fine, penalty, surcharge or interest in relation to Tax
                  with respect to activities of any Group Member prior to the Completion
                  Dale. There have been no extraordinary examinations or audits of any
                  tax returns or reports by any applicable Governmental Authority. There
                  are in effect no waivers of applicable statutes of limitations with respect
                  to taxes for any year.

            (c)   DeductiQns and WHhholdings. Each Group Member and the Onshore
                  Company has made all deductions and withholdings in respect, or on
                  account, of any Tax from any payments made by it which it is obliged or
                  cnti1led to make ,md has duly accounted in full to the appropriate
                  authority for all amounts so deducted or withheld.

            (d)   Prcfurred Tax Treatments. All exemptions, reductions and rebates of
                  Taxes granted to the Group by a Governmental Authority are in full
                  fr)rec and effect and have not been terminated. To the knowledge of the
                  Company, the WFOE, if applicable, and the Owner, the transactions
                  contemplated under the Basic Documents will not, and, then: is no other
                  circumstance or event that will, result in any such exemption, reduction
                  or rebate being cancelled or terminated, whether retroactively nr for the
                  future.
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       9.    OPERATlONS

             (a)   Current Operations. There is no existing fact or circumstance that will
                   have a material adverse effect on the ability of any Group Member or the
                   Onshore Company to conduct its business as currently conducted and
                   contemplated to be conducted.
             (h)   General Change. Since the date hereof~ there has been no material
                   adverse change in the financial position of the Group or the Onshore
                   Company relating to the Existing Business.

       11.   EMPLOYEES

             (a)   Status of Emnloyees.

                   (i)    No Group Member, or the Onshore Company has at any time since
                          its establishment had, or is bdng threatened in writing by, any
                          strike, collective work stoppage or other material labor dispute.

                   (ii)   The Group and the Onshore Company each has complied in nil
                          material respects with all applicable Jaws regarding employees,
                          employee benefits, employee safety and labor matters for all of
                          their crnployees.

             (b)   _Employment Agreements and Gonwensation ArrangcmenJs. Except as
                   required by law, the labor contract and employee non-competition,
                   intellectual property assignment and confidentiality agreement between
                   the WFOE, if applicable, and each key employee, no Group Member is a
                   party to or is bound by any currently effective employment contract
                   (other than contracts that can be terminated on an at-will basis), deferred
                   compensation agreement, pension, provident, superannuation, life
                   assurance, disability or other similar schemes or arrangements, bonus
                   plan, incentive plan, profit sharing plan, retirement agrccrnent or other
                   employee compensation agreement.

       11.   CLAIMS AND PROCEEDINGS

             (a)   No Li]jgatiqrr. No Group Member, the Onshore Company, or the Owner
                   is engaged in or has been notified that it is the subject of any litigation,
                   arbitration or administrative or criminal proceedings (collectively,
                   "J,itigation"), whether as plaintiff, defendant or otherwise. None of the
                   shareholders or equity interest holders of any Group Member. or the
                   Onshore Company, directors of any such entity is engaged in or has been
                   notified that it is the subject of any Litigation, whether as plaintiil
                   defendant or otherwise, which has had or may have an adverse effect on
                   any Group Member, or the Onshore Company. There is no judgment,
                   decree, or order or any court in effect against any Group Member or the
                   Onshore Company. There is no judgment, decree, or order of any comt
                   in effect with respect to the Existing Business against Lefeng Mobile or
                   the Owner. None of the Group Members or the Onshore Company is in
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                   default with respect to any order of any Governmental Authority to
                   which it/he is a party or by which it/he is bound. Neither Lcfong Mobile
                   nor the Owner is in default with respect to any order of uny
                   Governmental Authority with respect to the Existing Business to which
                   it/he is a party or by which it/he is bound.

             (b)   No Pcm!ing Proccedin~. No Litigation is pending or, to the knowledge
                   of the Owner, the Company and the WFOE, ifapplicable, threatened
                   against any Group Member, or the Onshore Company; no Litigation in
                   relation to the Existing Business is pending or, to the knowledge of' the
                   Owner, the Company and the WFOE, if applicable, against Lefong
                   Mobile or the Owner.

             (c)   No Undertaking; No Injunction. None of the Group Members, or the
                   Onshore Company nor any shareholder, direct.or, ol1iccr or agent of any
                   of the fcwegoing entities is party to any undertaking or assurance given to
                   any Governmental Authority or the subject of any injunction that is still
                   in f<.wcc. Neither Lefeng Mobile nor any of its shareholder, director,
                   officer or agent is party to any undertaking or assurance given to any
                   Governmental Authority or the subject of any injunction that is still in
                   force in relation to Existing Business.

             (d)   No InsolvelJ9:_. No order has been made and no resolution has been
                   passed for the winding up or liquidation as dissolution of any Group
                   Member or the Onshore Company. No distress, execution or other
                   process has been levied on the whole or a substantial part of the assets of
                   any Group Member or the Onshore Company. None of the Group
                   Members or the Onshore Company is insolvent or unable lo pay its debts
                   as they fall due.

             (e)   No lny_c;stigation or Inquiry. No Group Member, the Onshore Company,
                   or the Owner (in relation to the foregoing entities) is the subject or any
                   investigation or inquiry by any Governmental Authority with respect to
                   the Existing Business and there are no facts which arc likely to give rise
                   to any such investigation or inquiry.

       12.   INTELLECTUAL PROPERTY

             (a)   Each Group Member and the Onshore Company owns or otherwise has
                   the right or license to use all Intellectual Property as necessary for the
                   operation of the Existing Business without, to the knowledge of the
                   Company and the Owner, any violation or infringement of the rights of
                   any third party, free and clear of all Encumbrances. There is no claim,
                   proceeding or litigation pending or. to the knowledge of the Company
                   and the Owner, threatened against any Group Member or the Onshore
                   Company, contesting their right to use its Intellectual Property. asserting
                   the misuse thereof, or asserting the infringement or other violation of
                   any Intellectual Property of any lhird party.
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             (b)    There arc no pending proceedings or claims in which any Group
                    Member or the Onshore Company alleges that any Person is infringing
                    upon, or otherwise violating, its Intellectual Property rights. Nor have
                    any such proceedings or claims been served, instituted or asserted by any
                    Group Member or the Onshore Company.

             (c)    None of the key employees of any Group Mcn1ber and the Onshore
                    Company is obligated under any Contract, or subject to any judgment,
                    decree. or order of any court or administrative agency, that would
                    interfere with the use of his or her best efforts to promote the interests or
                    his/her employer, or that would conflict with the business of his/her
                    employer as presently conducted, or that would prevent such employees
                    from assigning to his/her employer inventions conceived or reduced to
                    practice or copyrights for materials developed in connection with
                    services rendered to it.

       13.   RESTRUCTURING

             The Restructuring bas been carried on by the Company in compliance with
             applicable laws.

       14.   DISCLOSURE

             (a)    No Misrepresentation. No representation, warranty or statement by the
                    Company, the WFOE, if applicable, and the Owner in this Agreement.
                    any other Basic Document, or in any Exhibit, Schedule, Appendix,
                    statement or certificate fornishcd to the investor pursuant to any Basic
                    Document, contains any untrue statement of a material fact or omits to
                    state a material fact necessary to make the statements made herein, in the
                    light of the circumstances under which they were made, not misleading.

             (b)    Full Disclosure. There is no fact or circumstance relating to the affairs
                    of any Group Member and the Onshore Companies which has not been
                    disclosed to the Investor and which if the disclosed information might
                    reasonably have been expected to influence the decision of the Investor
                    to purchase the Note.
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                                         SCHEDULE3

                                  INVE,STOR W ARRANTlES

      l.    Organization, Good Standing and Qualification. The Investor and its general
            partner have been duly established or incorporated and organized, is validly
            existing and, where applicable, in good standing.

      2.    Authorization. The Investor has the full power, authority and legal right to own
            assets and carry on its business. The Investor and its general partner arc not in
            receivership or liquidation or have taken any steps to enter into liquidation, and
            no petition has been presented for the winding-up of the Investor. There arc no
            grounds on which a petition or application could he based for the winding-up or
            appointment of a receiver of the Investor or its general partner.

      3.    The execution, delivery and pcrfbrmance of this Agreement by the Investor will
            not:

            (a)    violate any provision of its partnership agreement or the Memorandum
                   of Association or Articles of Association of the Investor's general
                   partner;
            (b)    require the Investor to obtain any consent, approval or action of: or make
                   any filing with or give any notice to, any Governmental Authority or any
                   other third party pursuant to any agreement to which the Investor is a
                   party or by which the Investor is bound;
            (c)    conflict with or result in any material breach or violation of any of tht:
                   terms and conditions of: or constitute (or with notice or lapse of time or
                   both constitute) a default under, any agreement to which the Investor is a
                   party or by which the Investor is bound;
            (d)    violate any court order. judgment, injunction, avvard, decree or writ
                   against, or binding upon, the Investor or upon its securities, properties or
                   business; or
            (c)    violate any lnw or regulation of the country where the Investor is
                   incorporated or any other jurisdiction in which the Investor maintains a
                   business presc11ce.
      4.    l:nforceability. The Investor, acting through its general pattner, has the full
            power and authority to enter into, execute and deliver the Basic Documents to
            which it is a party and to perform the transactions contemplated hereby and
            thereby. The execution and delivery by the Investor, acting through its general
            partner, of the Basic Documents to which it is a pa1ty and the performance by
            the Investor of the transactions contemplated hereby and thereby have been duly
            authorized by all necessary corporate or other action of the Investor. Assuming
            the due authorization, execution and delivery hereof by the other parties hereto,
            the Basic Documents to which the Investor is n party constitutes the legal, valid
            and binding obligation of the Investor, enforceable against the Investor in
            accordance with its terms, except as such enlbreeability may be limited by (i)
            applicable bankruptcy, insolvency, reorganization, moratorium;(ii) similar laws
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            affecting creditors' rights generally; or (iii) any indemnification provisions
            contained in the Basic Documents.

       5.   rin1u1cing. The Investor has sufficient immediately available funds to pay, in
            cash, the principal amount of the Note at the Issuance Date.

       6.   IAtigation. As of the date hereof: no Litigation by or against the Investor is
            pending or, to the best knowledge of the Investor, threatened in writing, which
            could affect the legality, validity or enforceability of the Basic Documents to
            which it is a party, or the consummation of the transactions contemplated
            hereby and thereby.
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                                                Commitment Letter
          For the purpose of overseas financing, Leshi Holding (Beijing) Co Ltd. 's affiliated company Leview

          Mobile Ltd., (hereinafter referred to as the "target company") intends to issued convertible bonds

          (hereinafter referred to as "convertible bonds") to Beijing Huaxing Mobile Ass~t Management

          Center (Limited Partnership) and its affiliated companies.

          For the issuance of convertible bonds, the target company and its affiliated companies have signed

          the INVESTOR RIGHTS AGREEMENT and loan contract (hereinafter collectively referred to as

          the "transaction document") concerning the subscription of convertible bonds on May 18, 2015,

          agreeing that the domestic affiliated companies of the target company will borrow RMB 100 million

          from Beijing Huaxing Mobile Asset Management Center (Limited Partnership) and its affiliated

          companies. Beijing Huaxing Mobile Asset Management Center (Limited Partnership) and its

         affiliated companies shall have the right to obtain convertible bonds equivalent to us dollars issued

         by the target company.

         According to the terms of the transaction documents, the target company will repay the principal of

         the convertible bonds and the agreed interest (hereinafter referred to as "repayment obligation") to

         Beijing Huaxing Mobile Asset Management Center (Limited Partnership) its affiliated companies

         when the repayment conditions are triggered.

         In this condition, Leshi Holding (Beijing) Co Ltd., promises and guarantees that if the target

         company fails to fully fulfill its repayment obligations in accordance with the agreement in the

         transaction document, Leshi Holding (Beijing) Co Ud. will assume the repayment obligation to

         Beijing Huaxing Mobile Asset Management Center (Limited Partnership) and its affiliated

         companies in accordance with the relevant agreements in the transaction documents.

         Hereby Promise. ,
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           CHINA MINSHENG BANK

                        Certificate of Telegraphic Transfer (Receipt)               1 No. 107605053

           D   Normal   D Urgent         Date of Consignation:   17/06/2015

                                                                                                 LEVIEW MOBILE &
                                     BEIJING HUAXING
                                                                                                  INTERLLIGENT
                                      MOBILE ASSET
                      Full Name                                         Full Name                 INFORMATION
                                      MANAGEMENT
                                                                                         TECHNOLOGY (BEIJING)
                                       CENTER (LLP)
            Payer                                         Payee                                       CO.,LTD.

                      ·'Account

                        number

                        Place of

                      remitting
                                      -   Beijing
                                                                        Account

                                                                        number

                                                                        Place of

                                                                        remitting
                                                                                                  -   Beijing


                                                                                     China Minsheng Bank Beijing
               Remitting Bank             0167               paying.bank
                                                                                         Jianguomen Sub- branch


                    Amount                    RMB 63,000,000.00 yuan
                                                                                     6       3    0    0   0     0   0   0

                                                         Payment Password      J    I    I
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                                                        Additional Information And usage:

                                                             Borrowings




                             Stamp of Remitting Bank                          Rechec.~Bookkeeping:
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                                                             CHINA MINSHENG BANK

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                                          CHINA MINSHENG BANK

                                                                       Bank Certificate No.980000

                                          BEIJING                                       BEIJING

                                         HUAXING                                       HUAXING
                         Full Name     MOBILE ASSET                   Full Name     MOBILE ASSET

                                      MANAGEMENT                                    MANAGEMENT

                                       CENTER (LLP)                                  CENTER (LLP)


             Payer
                          Account

                          number
                                       -   China

                                      Minsheng Bank
                                                           Payee
                                                                      Account

                                                                      . number


                                                                                            China

                                                                                    Minsheng Bank
                            Bank        Beijing West                    Bank
                                                                                       Banking
                                       Dawang Road
                                                                                     Department
                                        Sub-branch

                                                         Amount of
            Amount            RMB 37,000,000.00                          RMB 37,000,000.00
                                                          Capital

                         The investment is transferred

                          to the escrow account for      Accounting            15/10/2015
            Purpose
                         the purpose of Leshi mobile        time                 16:14:09

                              phone investment

           Transaction

             Serial

            Number
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                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): NOTICE OF OBJECTION TO CLAIM
 [Claim 27] will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
 2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 April 3, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) April 3, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.

 United States Bankruptcy Court
 Central District of California
 Attn: Hon. Vincent Zurzolo
 Edward R. Roybal Federal Bldg./Courthouse
 255 East Temple Street, Suite 1360
 Los Angeles, CA 90012


                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___________, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 3, 2020      Nancy H. Brown                                                            /s/ Nancy H. Brown
 Date                      Printed Name                                                       Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

       Jerrold L Bregman ecf@bg.law, jbregman@bg.law
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Lei Lei Wang Ekvall lekvall@swelawfirm.com, lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
       Stephen D Finestone sfinestone@fhlawllp.com
       Richard H Golubow rgolubow@wghlawyers.com,
        pj@wcghlaw.com;jmartinez@wghlawyers.com;Meir@virtualparalegalservices.com
       Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
       Ben H Logan blogan@omm.com
       Robert S Marticello Rmarticello@swelawfirm.com,
        gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
       David W. Meadows david@davidwmeadowslaw.com
       John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
       Kelly L Morrison kelly.l.morrison@usdoj.gov
       Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
       Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
       Victor A Sahn vsahn@sulmeyerlaw.com,
        pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;cblair@ecf.in
        foruptcy.com;dlee@metallawgroup.com;dlee@ecf.inforuptcy.com
       Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
       Benjamin Taylor btaylor@taylorlawfirmpc.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
       Claire K Wu ckwu@sulmeyerlaw.com,
        mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
       Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
       David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                        Page 2                          F 3007-1.1.NOTICE.OBJ.CLAIM
